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     IN THE COURT OF CRIMINAL APPEALS
     RECEIVED                                   AT NASHVILLE,TENN.
         JUN 13 2018                APPEALED FROM
      Clerk it the Courts
   Rec'd By
                          Davidson County Criminal Court Divis i n

 THE HONORABLE,STEVE DOZIER,JUDGE,PRESIDING                                  (1
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 CRIMINAL COURT CLERK
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 DEFENDANT IS INDIGENT                                                                                     Y

 DEFENDANT IS AT WCCF



  CERTIFIED                                   STATE OF TENNESSEE
                                                                                                            APPEALED
  Transcript
                                                                                                                    TO
     OF                                                    VS.
                                                                                                                    OF
CAUSE                     ,_ci,           FREDERICK E.BRAXTON,#00332561
                                                                                                           Next Term,
                           z          j
                                      ...Lv12018-00443-CCA-R3-EC/9
                           c?,                                                                                 20

                           '11C.)             Execution No. 2007-A-732
                          LT-1
                                              COURT OF CRIMINAL APPEALS

JUDGMENT LOWER COURT

PETITION FOR WRIT OF ERROR CORAM NOBIS WAS DENIED AFTER A BEARING




                                                       ATTORNEYS
I. WESLEY KING,#24137, ASSISTANT DISTRICT ATTORNEY GENERAL,WASHINGTON SQ., SUITE 500,
                                                                                        222-2ND AVENUE NORTH

NASHVILLE,TN 37201-1649    615-862-5500

                                                        FOR STATE


GREGORY D. SMITH, #013420, 331 FRANKLIN STREET, SUITE 1, CLARKSVILLE, TN 37040
                                                                                                   931-647-1299

                                                      FOR DEFENDANT
                                      _...—
 Filed                day of         it
                                      " te...,              20 18

                                                                                                            Clerk Supreme Court
                                                                              By HEATHER BARR
         Case 3:20-cv-00251 Document 9-14 Filed 06/08/20 Page 1 of 102 PageID #: 869
                                                                              Deputy Clerk
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    TRANSCRIPT OF EVIDENCE AND EXHIBITS FILED UNDER SEPARATE
    COVERS




Case 3:20-cv-00251 Document 9-14 Filed 06/08/20 Page 2 of 102 PageID #: 870
              \Itntte IrT•             TERM,20               CRIMINAL COURT

STATE OF TENNESSEE


VS.                                                           NO.   200- -
LEONARD CARDELL HARRIS,Ct. 1
FREDERICK EDWARD BRAXTON,Cts. 1-2
  a.k.a. Frederick Frank Brown

PROSECUTOR Terrance Bradley                  CHARGE:      Ct. 1 Att. Murder —      e Degree
                                                          Ct. 2 Simple Poss.


                             WitT)before;Grand Jury:
                                     ohn          en
                                                                                FILED
                        The above witness(es) appeared; was/were duly
                        sworn by me, the foreperson, and gave
                        testimony before the Errand Jury i the a ve-         MAR 1 5 2007
                        styled cause this 61---day of
                        20                                                   DAVO C.TCP:4;ti-i-:X

                                                                        BY



             El     A               BILL        ❑       A NO                    BILL



                         Foreperso /./-4
                         Davidson unty Grand Jury


SUBPOENA THE FOLLOWING WITNES ES FOR THE STATE OF TENNESSEE:
COMPLAINT No(s): 2006-090683;2 6-090583;2006-149647
Terrance Bradley, MPD #00006916
James Williams, 703 North 9'h Street, Nashville, TN 37206
Kenneth Miller, 549 Clearview Road, Cottontown, TN 37048
Robert Henry, 1070 West Main Street, Hendersonville, TN 37075
Michael Windsor,MPD #00004884
Woodrow Ledford, MPD #00004925
Jason Smith, MPD #00008813
Michael Wilson, MPD #00008947




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                           INDICTMENT

                     State of Tennessee, Davidson County

                                           COUNT 1



         THE GRAND JURORS of Davidson County, Tennessee, duly impaneled and

  sworn, upon their oath, present that:

   FREDERICK EDWARD BRAXTON a.k.a. FREDERICK FRANK BROWN and
                  LEONARD CARDELL HARRIS



  on the 15th day of February, 2006, in Davidson County, Tennessee and before the

  finding of this indictment, did attempt to intentionally and with premeditation kill

  James Williams, in violation of Tennessee Code Annotated §39-13-202, and against the

  peace and dignity ofthe State of Tennessee.




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                                           COUNT 2



          THE GRAND JURORS of Davidson County, Tennessee, duly impaneled and

  sworn, upon their oath, present that:

      FREDERICK EDWARD BRAXTON a.k.a. FREDERICK FRANK BROWN

  on the 17th day of March, 2006, in Davidson County, Tennessee and before the finding

  of this indictment, knowingly did possess or casually exchange marijuana, a Schedule

  VI controlled substance, and the controlled substance was not obtained directly from, or

  pursuant to, a valid prescription or order ofa practitioner while acting in the course ofhis

  professional practice, and without any authorization under the law, in violation of

  Tennessee Code Annotated §39-17-418, and against the peace and dignity ofthe State of

  Tennessee.




                                                  VICTOR S. JOHNSON III
                                                  DISTRICT ATTORNEY GENERAL
                                                  TWENTIETH JUDICIAL DISTRICT


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                                          3 of 100
           IN THE CRIMINAL/CIRCUIT                             OZT OF                    D4/PSO
  C.o.se Number:        2-097-                -7
                                               - 32-               count#
                                                                                                             •/1/

                                                                                             Attorney for the State:
                                                                                                                            0      __COUNTY,TENNESSEE

                                                                                                                                               k       -as   kLul
  Judicial District:        20'8            Judicial Division:                               Counsel for Defendant:               LAG              r         t-ts



                                                         er-mk7la
  State of Tennessee                                                                                                  Retained NrAppointed ❑ Public Defender
  vs.                                                                                                                0Counsel Waived       ❑ Pro Se
  Defendant:                                                                                    Alias:
  Date of Birth:        t 7F/81                  Sex:       44    Race:                         SSN:
  Indictment Filing Date: 1.--
                           -/1/F-OA A4A7TO 4/                      TDOC #                                        State Control #
                                                                   State ID #                                    County Offender ID #

                                                                                  JUDGMENT

                                                                 AOriginal         0 Amended             0Corrected
 Comes the District Attorney General for the State and the defendant with counsel of record for entry ofjudgment.
  On the        I      13      day of                                         , 2.00g ,            the defendant:

   ❑ Pled Guilty     El Dismissed/Nolle Prosequi                              Indictment: Class(circlune)        I            C    D   E           ,X
                                                                                                                                                    ,z
                                                                                                                                                     Feny0 Misdemeanor
   0 Nolo Contendere ❑ Retired/Unapprehended Defendant                        Offense:            47*4-                 %Br'S/         r-e-c ./44,
   0Guilty Plea- Pursuant to 40-35-313                                        Amcndcd Charge:
                                                                              Offense Date:        2.                             Count*        04                  P5 ,47
   Is found:                g-Guilty            El Not Guilty                 Conviction Offense:    Atil                   Se-..buf p
   gJury Verdict            0Not Guilty by Reason of Insanity                 Is this conviction offense methamphetamine related? 0        'RI No
   0 Bench Trial                                                              TCA #:      3  9-         IO         Sentence Imposed Date:       I I 2-44 OR
                                                                              Conviction: Class(circle one)   14 AOC DE                   igFelony ❑ Misdemeanor
After considering the evidence, the entire record,& all factors in T.C.A. Title 40 Chapter 35, all of which are incorporated by reference herein, the Court's
                                                                                                                                                                     findings & rulings are:
                         Sentence Reform Act of 1989                                     Concurrent with:                          Pretrial Jail Credit Period(s):
  Offender Status(Check One)        Release Eligibility(Check One)
  D Mitigated                  El Mitigated 20%       ❑ Multiple Rapist 100%                                                       Fronr2J5.6,
  ❑ Standard                   0 Mitigated 30%        El Child Rapist 100%
  a/Multiple                   D Standard 30%         1:1 Repeat Violent 100%          Consecutive to:
                                                                                                                                   From i5.03
  A Persistent                 tgtMultiple 35%        ❑ Child Predator 100%
  ❑ Career                     Ei Persistent 45%                                                                                   From                             to
  1:1 Repeat Violent           ❑ Career 60%             D 1a Degree Murder
                               ❑ Violent 100%           CI Drug Free Zone
                                                        0Gang Related                                                              From                             to

  Sentenced To:
                         ,TDOC                        D County Jail              LI Workhouse
  Sentence Length:          19    Years            Months         Days            Hours            Weekends       El Life     OLife w/out Parole 0Death
      Mandatory Minimum Sentence Length:                39-17-417, 39-13-513, 39-13-514 in Drug Free Zone or              55-10-401 DUI 41h Offense
          or         39-17-1324 Possession/Employment of Fircann
      Period ofincarceration to be served prior to release on probation:            Months             Days           Hours               Weekends
      Minimum service prior to eligibility for work release, furlough, trusty status and rehabilitative programs:         % (Misdemeanor Only)
  Alternative Sentence:    D Probation 0 Diversion 1] Drug Court                        0 Community Based Alternative - Specify
                                   Years           Months           Days        Effective:

 Court Ordered Fees and Fines:                                                   Restitution: Victim Name
                      Criminal injuries Compensation Fund                                       Address
                      Sex Offender Tax
                      Court Costs                    Cost to be Paid by                         Total Amount $                              Per Month $
                      Fine Assessed             0Defendant         El State
                      Other:                                                     0 Unpaid Community Service:             Hours          Days                 Weeks           Months

                                 'Thc Defendant having been found guilty is rendered infamous and ordered to provide a biological specimen for
                                                                                                                                               the purpose ofDNA analysis.
                                    ❑ Pursuant to 39-13-521 the defendant is ordered to provide a biological specimen for the purpose of HIV testing.
  Special Conditions                      0Pursuant to 39-13-524 the defendant is sentenced to community supervision for life following sentence
                                                                                                                                                     expiration.




         Judge's Name                                                          Judge's Signature                                           Date o Entry f Judgment

                    Case   3:20-cv-00251
                      Attorney fo St Signature
                                               Document 9-14 Filed 06/08/20 Page 6 of 102 PageID #: 874
                                                             (optional)             4 of 1 00            Defendant's Attorney/Signature (optional)
CR-3419 (Rev. 1/08)                        le - Criminal Court Clerk   Canary -TN Dept. of Coneetion/SMS     Pink - AOC     Goldenrod — Jail                              RDA 1167
                                          MANDATE

                                  STATE OF TENNESSEE




          To the Honorable Judge ofthe Davidson County Criminal Court

         Whereas, in our Court ofCriminal Appeals, Middle Division at Nashville, it was
  adjudged and ordered in the cause of State of Tennessee vs. Leonard C. Harris & Frederick
  Braxton appealed to our said Court that the same be remanded theretoforfurther proceedings
  andfinal determination therein.

          These are, therefore, to require you, the Davidson County Criminal Court as aforesaid,
  that you proceed with the execution ofthis Judgment ofour said Court ofCriminal Appeals by
  suchfurther proceedings in your Court as shall effectuate the objects ofthis order to remand,
  and attain the ends ofjustice.

          Witness, Michael W. Catalano, Clerk ofsaid Court at office in Nashville.


                   Michael     Catalano, Clerk

                   By                                     ,Deputy Clerk




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         IN THE COURT OF CRIMINAL APPEALS OF TENNESSEE
                          AT NASHVILLE
                    Assigned on Briefs June 22,2010

       STATE OF TENNESSEE v. FREDERICK EDWARD BRAXTON
                 AND LEONARD CARDELL HARRIS

             Direct Appeal from the Criminal Court for Davidson County
                      No.2007-A-732      Steve R. Dozier, Judge
                                                                                FILED
                                                                               AUG 2 5 2011
                             No. M2009-01735-CCA-R3-CD                     Clerk of the Cowls


                                       JUDGMENT

       Came the Appellants,Frederick Edward Braxton and Leonard Cardell Harris, by and
through counsel,and also came the Attorney General on behalfofthe State,and this case was
heard on the record on appeal from the Criminal Court of Davidson County; and upon
consideration thereof, this Court is of the opinion that there is no reversible error in the
judgment of the trial court.

       It is, therefore,ordered and adjudged by this Court that thejudgment ofthe trial court
is affirmed, and the case is remanded to the Criminal Court of Davidson County for
execution of the judgment of that court and for collection of costs accrued below.

      Because it appears to this Court that Appellants, Frederick Edward Braxton and
Leonard Cardell Harris, are indigent, costs of this appeal will be paid by the State of
Tennessee.


                                                         Thomas T. Woodall, Judge
                                                         Jerry L. Smith, Judge
                                                         J. C. McLin, Judge




                                                                                                     that
                                                              s W.Catalano, Clerk, hereby certify
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  Case 3:20-cv-00251 Document 9-14 Filed 06/08/20 Page 8 of 102 PageID #: 876
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          IN THE COURT OF CRIMINAL APPEALS OF'TENNESSEE
                           AT NASHVILLE
                             Assigned on Briefs June 22,2010

        STATE OF TENNESSEE v. FREDERICK EDWARD BRAXTON
                  AND LEONARD CARDELL HARRIS

              Direct Appeal from the Criminal Court for Davidson County
                       No. 2007-A-732    Steve R.Dozier, Judge
                                                                                    FILED
                                                                                   AUG 26 2011
                               No. M2009-01735-CCA-R3-CD
                                                                                Clerk of the Coes

 The Defendants, Frederick Edward Braxton and Leonard Garde]] Harris, were indicted for
 attempted premeditated first degree murder. Additionally, Defendant Braxton was charged
 with possession of marijuana, which was severed as unrelated. Following a jury trial,
 Defendants were convicted of attempted second degree murder. Defendant Braxton was
 sentenced to serve nineteen years in confinement as a Range II offender, and Defendant
 Harris was sentenced to serve eleven years in confinement as a Range I offender. On appeal,
 both Defendants argue that(I)the evidence was insufficient to support the convictions, and
 that the trial court erred in denying their motion forjudgments of acquittal;(2)the trial court
 erred in precluding Defendants from questioning the victim about being previously shot in
 a home burglary and about the victim's prior arrest sixteen months before the shooting;(3)
their sentences are excessive; and(4) trial counsel were ineffective for failing to request a
jury instruction on the lesser-included offense ofreckless endangerment. DefendantBraxton
argues that the trial court erred in allowing the jail custodian ofrecords to testify in rebuttal
concerning Defendant Braxton's period ofconfinement in the Davidson Countyjail;(b)trial
counsel was ineffective for(i)failing to object to the sentence or request a continuance when
the State did not provide proper notice of intent to seek enhanced punishment or provide
certified copies ofthe convictions;(ii) failing to amend the original notice of alibi, filed
                                                                                              by
previous counsel, to include an additional witness; (iii) failing to investigate possible
defenses and alibi witnesses;(i.v.) failure to adequately meet with Defendant
                                                                                   Braxton and
prepare for trial. Defendant Harris argues that trial counsel was ineffective for asking the
victim about a prior altercation with Defendant Harris which opened the door to the
                                                                                        victim's
testimony about an earlier attempt by Defendant Harris to harm or kill the
                                                                                 victim. After
careful review, we affirm the judgments of the trial court.

 Tenn. R. App.P.3 Appeal as of Right; Judgment of the Criminal Court
                                                                                   Affirmed



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                             co                                     •
 THOMAS T. WOODALL,J., delivered the opinion ofthe Court,in which JERRY L.SMITH and
 J.C. McLIN,JJ.,joined.

 George J. Duzane and Dominic J. Leonardo, Nashville, Tennessee (on appeal), and Lee
 Sprouse and Ashley Preston, Nashville, Tennessee (at trial), for the appellant, Frederick
 Braxton.

 William E.Griffith,Nashville,Tennessee(at trial and on appeal),and Karl Pulley,Nashville,
 Tennessee (at trial), for the appellant, Leonard C. Harris.

 Robert E. Cooper, Jr., Attorney General and Reporter; Brent C. Cherry, Senior Counsel;
 Victor S.(Torry)Johnson,III, District Attorney General; J. Wesley King,Assistant District
 Attorney General; and Pamela Anderson, Assistant District Attorney General, for the
 appellee, State of Tennessee.

                                           OPINION

        State's Proof

        On February 15, 2006, the victim, James Williams, was working at East Nashville
Auto Sales located at 1413 Dickerson Pike. On that day, he noticed a car traveling down the
street with "one ofthe defendants' brother in it." The victim did not think anything about it
and continued "what[he] was doing at the time." He left work around 5:00 p.m. and drove
toward downtown Nashville on Dickerson Pike, a four-lane road, to pick up his girlfriend.
As he was driving in the left lane, the victim noticed "a green early nineties model - uh - -
Buick Century get behind [him] that[he]had seen before that[he]saw Mr. Harris in, maybe
three weeks before the shooting." The victim testified that he closed his sunroof"thinking
that if[he] shut the sun roof the car would be dark and they wouldn't know who was in it,
that they wouldn't open no fire on the car." He then moved into the right lane ofDickerson
Pike in an attempt to get to the interstate and lose the other vehicle. The victim testified that
when he stopped in traffic, the green car pulled up beside him with "two men hanging out
the car shooting." He recognized the two men as Defendant Braxton and Defendant Harris
whom he had known since the early 1990's, and their relationship was one of"bad blood."
Although there were four people in the vehicle, the victim could not identify the other two.
He said that Defendant Harris was in the front and Defendant Braxton was in the back. Both
men were on the passenger's side of the car.

        Upon realizing that he had been shot,the victim played dead and after the Defendants
left, he drove to the AM/PM Market on North First Street and asked a lady there to call 9-1-
1. He testified that he had been carrying a .40 caliber handgun at the time of the shooting

                                              -2-

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 that he tossed in a trash can before entering the market. The victim was then transported by
 ambulance to Vanderbilt Medical Center where he was immediately taken into surgery. The
 victim testified that one of the bullets struck him in the upper arm. He said:

        It went through the back and came out there. They had to put a metal plate
        right here...straight through in and out right here. It went through my — one
        bullet wentthrough my hand and lodged in my wrist, one in my finger and one
        in my mouth. And, it knocked my teeth out.

The victim testified that he had surgery on his finger because it was "hanging off," and the
bullet that entered his face is still lodged under his nose. He said that he lost six teeth, and
there were sixteen bullet holes in his car as a result of the shooting.

       The victim testified that he received a visit from Detective Bradley at the hospital
shortly after coming out ofsurgery,and he told Detective Bradley that he did not want to talk
about what happened. The victim said that he intended to handle the situation himself but
changed his mind after speaking with his mother who told him to think ofhis family and the
pain that he would cause them by taking matters into his own hands. The victim testified
that he spoke with Detective Bradley a second time and told him that Defendants Braxton
and Harris shot him. Detective Bradley later returned to the hospital with photographic line-
ups, and the victim identified each Defendant. The victim admitted that he had previously
been convicted of several criminal offenses. He further admitted that because he was a
convicted felon, he broke the law by possessing the 40-caliber handgun at the time of the
shooting.

      The victim testified that after one particular court appearance on August 18,2006,he
saw Defendant Harris outside the courthouse. He made eye contact with Defendant Harris
who said, "I'm gonna get you boy. So, be ready." He said that Defendant Harris then
walked down the drive talking to his family and making gun-like gestures.

        On an occasion prior to the shooting which is the subject of this case, the victim
testified that in October of2005, he arrived home around 1:30 or 2:00 a.m., and as he was
walking through the breezeway to his residence, Defendant Harris and another individual
opened fire on him. One of the bullets struck him in the foot. The victim testified that he
shot at a third man who ran from the side of the building. He then hid under a neighbor's
Jeep until Defendant Harris and the other men left. The victim testified that his sister called
police, and when they arrived, he told them that everything was fine and that he would
"handle it." He also told police that he did not know who shot at him. He said that he did
not want police searching his house because he had two firearms on his person, and there



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 were additional assault rifles in his home. The victim testified that he had driven by
 Defendant Harris' beauty shop prior to the incident.

         Kenneth Miller testified that he left work on February 15, 2006, and dropped a
 passenger off at Dunlap and Kyle Tire on Dickerson Road. As he was sitting at a traffic
 light, he heard gunshots nearby. Mr. Miller testified that he "located two cars in [his] side
 mirror going in the opposite direction. The one car pulled up next to the other car and - uh -
 they started firing again." He further testified:

        Uh - - when they fired again, I was watching in - - in my side mirror. Uh - -
        and, uh - I saw - - uh - - either a black sleeve, or a black arm, holding a black
        semi-automatic. I personally own a Tarurus(phonetic)[sic]nine[millimeter].
        And, it had the same style and size as that. And, I could - - I watched the
        hammer slide, ejecting the shells, and in the blink of an [eye], there was just
        pieces of that car were just exploding.

Mr. Miller stated that he saw the arm protruding out ofthe passenger's side of the car. He
then drove a short distance and called police. He was assured that officers were on the scene,
and he drove back and talked to an officer there. Mr. Miller testified that during the shooting
it sounded "like emptying a clip and reloading a clip and emptying it again." He said that
when the shooting "started, it started." Mr. Miller did not know the model of the car
involved in the shooting. He said that it was a "sedan-type" vehicle.

        Detective Michael Wilson ofthe Metropolitan-Nashville Police Department testified
that he was working as a patrolman assigned to the East Precinct Crime Suppression Unit on
February 15, 2006. He and Officer Jason Smith were standing on Joseph Avenue and
Evanston late that afternoon and heard multiple gunshots. It sounded as though two different
weapons were fired, and he could tell that the shots came from the Dickerson Road area.
Detective Wilson and Officer Smith got into their cars and drove south on Dickerson Road
to Cleveland Street. Detective Wilson testified that he pulled into the parking lot of the
AM/PM Marketand saw a small car parked in front ofthe gas pumps with blood inside it and
twelve to fifteen bullet holes in the car on the driver's side. He walked inside the market and
saw the victim, who was bleeding. One of the bullets had knocked out the victim's front
teeth. Detective Wilson was unable to get much information from the victim before he was
taken away by ambulance due to the trauma to his mouth.

       Belba Wilson, the victim's mother, testified that she went to Vanderbilt Medical
Center on February 15 or 16,2006,to see the victim. She did not remember ifthe victim said
who shot him,but he was talking about retaliation. Ms.Wilson told him to think of his kids
and not take matters into his own hands.

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        Officer Woodrow Ledford testified that he responded to the shooting on Dickerson
Road. He drove to the AM/PM Market and was then instructed to move further up
Dickerson Road around Dunlap and Kyle Tire to look for evidence. The area had businesses
along the entire street, and there were several parking lots. Because he was there around
5:00 p.m.,the area was"fairly congested" with traffic. Officer Ledford testified that the area
had two northbound and two southbound lanes, was two to three miles from downtown
Nashville, and was heavily populated. He said that there was not an actual entrance ramp to
the interstate from Dickerson Road, but it could be accessed from Spring Street.

       Officer Ledford testified that when he pulled into the parking lot ofDunlap and Kyle
Tire, a gentleman handed him "12 or so" spent shell casings that he had picked up. There
was also a mirror from a vehicle. Officer Ledford also picked up five or six shell casings
himself. He believed some of the casings were 40-caliber and some were smaller and
appeared to be nine-millimeter. Officer Ledford gave the shell casings to another officer.

        Officer Tommy Simpkins of the Metropolitan-Nashville Police Department,
Identification Section, testified that he was dispatched to the AM/PM Market on February
15, 2006, and viewed a black, four-door Toyota Corolla. There were several bullet strikes
in the vehicle, and he saw some projectile and projectile pieces. Officer Simpkins testified
that there were no shell casings inside the Corolla. The windows were up and for the most
part remained intact. There were holes on the front driver's door window and the rear
driver's side window, and a bullet was found in the door frame ofthe driver's side. Officer
Simpkins collected the victim's clothing, and a "slug" was retrieved from the trunk. He also
found a tooth from the victim on the ground outside of the car. Officer Simpkins testified
that he was given twelve spent shell casings by Officer Ledford. Seven ofthe casings were
forty-caliber and five were nine-millimeter.

        Detective Terrence Bradley testified that paramedics were treating the victim when
he arrived at the AM/PM Market, and he followed the ambulance to the hospital. He spoke
briefly with the victim who gave him a description of what happened. Detective Bradley
testified that the victim gave him the names ofDefendantBraxton and Defendant Harris. He
said that the victim was in a lot ofpain and did not want to talk any more. Detective Bradley
then put together a photographic line-up and showed it to the victim at the hospital. The
victim identified Defendant Braxton, but could not write because his hands were
immobilized. At that time,Detective Bradley had not located anything on Defendant Harris.
He later found Defendant Harris in the system and put together another line-up. The victim
identified Defendant Harris. Detective Bradley then obtained warrants on Defendants Harris
and Braxton.




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        On cross-examination, Detective Bradley testified that he did not recall asking the
 victim who shot him while he and the victim were at the market. He said that he stopped
 talking to the victim at the hospital because the victim became uncomfortable. He did not
 remember the victim saying that he wanted to take care of things himself, and he probably
 saw the victim three times at the hospital.

        Defendant Harris' Proof

        Willie Sweat,Defendant Harris' step-son,testified that he was living with his mother
and Defendant on February 15,2006. He said that he arrived home from school around 3:30
p.m. and saw Defendant Harris in the restroom vomiting. Mr. Sweat then walked into his
room and shut the door. He said that Defendant was at the house all night. Mr. Sweat
testified that he could remember the date because it was the day after Valentine's Day,and
they had all gone to Chili's to eat with a large group of people.

        On cross-examination, Mr. Sweat testified that Defendant Harris was wearing a
sleeveless t-shirt and underwear at the time. He said that his mother arrived home around
4:00 or 5:00 p.m. Mr. Sweat testified that he ate supper in his room, but saw Defendant
Harris get some soup. He had no idea what time it was. Mr. Sweat admitted that he did not
testify on Defendant Harris' behalf at the preliminary hearing. He further admitted that he
had never told police or anyone at the district attorney's office that Defendant Harris was at
home at the time ofthe shooting.

        Pamela Sweat Harris testified that she was working on February 15,2006,and arrived
home by 4:30 p.m. She said that Defendant Harris walked out of the kitchen complaining
that his stomach was hurting, and he told her that he had been vomiting. Ms. Harris testified
that Defendant Harris took some medication and walked upstairs. She said that he was at
home all night. Ms.Harris testified that she remembered the date because they had gone to
Chili's on Valentine's Day with a large group of people.

        On cross-examination, Ms.Harris testified that Defendant Harris was wearing a long
t-shirt with short sleeves andjeans when she got home. She said that she did not know when
Defendant.Harris was arrested,and she did not know when the preliminary hearing was held.
She also did not help him obtain legal counsel. Ms. Harris testified that she did not speak
with Defendant Harris' attorney before the preliminary hearing; however, she thought that
she told him at some point that Defendant Harris was at home with her at the time of the
shooting.

      Defendant Braxton's Proof



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       Derrica Christman testified that she was living in the Parkway Terrace Apartments in
February of 2006. She met Defendant Braxton in the summer of 2005, and he frequently
hung around the apartment complex. Ms. Christman testified that she remembered February
15, 2006, because it was the day after Valentine's Day, and her daughter had attended a
dance at Stratford High School. Her daughter only attended Stratford for one year. Ms.
Christman testified that her daughter was going to ask Defendant Braxton for a ride to the
dance, but Ms. Christman's brother took her instead. She said that the following day,
February 15, Defendant Braxton asked how the dance went.

       Ms. Christman testified that she saw Defendant Braxton and several others shooting
dice near her back porch "no later than" 5:15 on February 15, 2006. She was certain of the
time because her children usually arrived home from daycare between 5:15 and 6:00 p.m.,
and she had to go out and get them offthe bus.

        On cross-examination, Ms.Christman testified that four or five people usually played
 dice at her back porch, and Defendant Braxton was frequently there. She said that she and
 Defendant Braxton had a conversation about her daughter's dance on February 15,2006,and
 she saw him on February 13 and 14,but not February 11 and 12. Ms.Christman testified that
 she also saw Defendant Braxton on February 5 and 6,2006,and she remembered seeing him
in the area around her home on February 5. Ms. Christman said that she did not learn of the
shooting until April of2006 when she was trying to find out why Defendant Braxton was in
jail. At the time,she did not tell police or anyone at the district attorney general's office that
they had the wrong person. She said that she came forward in October of 2006 after
speaking with Defendant Braxton. Ms. Christman acknowledged that her apartment was
located near the 700 to 800 block of Dickerson Road.

       State's Rebuttal Proof

        On rebuttal, Derrica Christman was recalled as a witness. She testified that if
February 6,2006, was a weekday,she saw Defendant Braxton after 5:00 p.m. She also saw
him on February 13, 2006, between 5:00 and 5:15 walking from the building next door to
hers. He was wearing the same jacket that she saw him wearing on February 15, 2006. On
cross-examination,Ms.Christman said that she lastsaw Defendant Braxton eight days before
February 13, 2006, and she was not sure that she saw him on February 6, 2006. She was
certain that she saw him on February 13, 2006.

       Wayne Miller,Records Technician for the Davidson County Sheriffs Office,testified
that Defendant Braxton was in the custody of Sheriff's Office during February of2006. He
entered the facility at 2:12 p.m. on February 6,2006,and he left at 4:27 p.m. on February 13,
2006.

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        Alfred Gray,an investigator for the district attorney general's office, testified that he
 spoke with Ms. Christman concerning Defendant Braxton's case. Ms. Christman told him
 that she remembered Defendant Braxton being outside of her home on the night of the
 shooting. She remembered the incident because it happened the day after Valentine's Day,
 and Defendant Braxton had been released from jail the day before Valentine's Day. Ms.
 Christman did not mention anything about her daughter's dance. Investigator Gray indicated
 that Ms. Christman's residence at Parkway Terrace was located a little less than two miles
 from the intersection of Grace and Dickerson Road where the shooting took place.

                                           Analysis

 IL Sufficiency of the Evidence

       Both Defendants challenge the sufficiency ofthe evidence to support their convictions
for second degree murder because they assert that the convicting evidence does not show that
they "knowingly" attempted to kill the victim. They also argue that the trial court erred by
refusing to grant their motions for judgment of acquittal because the victim's testimony
contained "inaccuracies."

        When a defendant challenges the sufficiency of the convicting evidence, we must
review the evidence in a light most favorable to the prosecution in determining whether a
rational trier of fact could have found all the essential elements of the crime beyond a
reasonable doubt. Jackson v. Virginia,443 U.S. 307,319,99 S.Ct. 2781,2789, 61 L.Ed.2d
560(1979). Once a jury finds a defendant guilty, his or her presumption of innocence is
removed and replaced on appeal with a presumption of guilt. State v. Black, 815 S.W.2d
166, 175(Tenn. 1991). The defendant has the burden of overcoming this presumption, and
the State is entitled to the strongest legitimate view ofthe evidence along with all reasonable
inferences which may be drawn from that evidence. Id.; State v. Tuggle, 639 S.W.2d 913,
914 (Tenn_ 1982). The jury is presumed to have resolved all conflicts and drawn any
reasonable inferences in favor ofthe State. State v. Sheffield, 676 S.W.2d 542, 547(Tenn.
1984). Questions concerning the credibility of witnesses, the weight and value to be given
the evidence,and all factual issues raised by the evidence are resolved by the trier offact and
not this court. State v. Bland,958 S.W.2d 651,659(Tenn. 1997). These rules are applicable
to findings of guilt predicated upon direct evidence, circumstantial evidence, or a
combination ofboth direct and circumstantial evidence. State v. Matthews,805 S.W.2d 776,
779(Tenn. Crim. App. 1990).

        As for the trial court's denial ofDefendants' motions forjudgment ofacquittal, both
Defendants chose to present evidence in their defense, and therefore have waived the
                                                                                       right
to specifically appeal the denial oftheir motions forjudgement of acquittal. Finch v.
                                                                                      State,

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226 S.W.3d 307,317(Tenn. 2007); State v. Mathis,590 S.W.2d 449,453(Tenn. 1979). In
any event, this Court has noted that, "[i]n dealing with a motion for judgment of acquittal,
unlike a motion for new trial, the trial judge is concerned only with the legal sufficiency of
the evidence and not with the weight of the evidence." State v. Hall, 656 S.W.2d 60, 61
(Tenn. Crim. App. 1983). The standard for reviewing the denial or grant of a motion for
judgment ofacquittal is analogous to the standard employed when reviewing the sufficiency
ofthe convicting evidence after a conviction has been imposed. State v. Ball,973 S.W.2d
288,292(Tenn. Crim. App. 1998); State v. Adams,916 S.W.2d 471,473(Tenn. Crim. App.
1995). Thus, we will address Defendants' assertions that the evidence adduced at trial was
insufficient to support the convictions.

        Second degree murder is defined as "[a]knowing killing ofanother." T.C.A.§ 39-13-
210(a)(1). It is also a "result-of-conduct offense," and "[t]he statute focuses purely on the
result and punishes an actor who knowingly causes another's death." State v. Ducker, 27
S.W.3d 889, 896 (Term. 2000). Thus, as pertinent here, a person acts "knowingly" with
respect to the result of the person's conduct when the person is aware that the conduct is
reasonably certain to cause the result. Id. § 39-13-302(b). A person commits criminal
attempt when that person "[a]cts with intent to complete a course of action or cause a result
that would constitute the offense, under the circumstances surrounding the conduct as the
person believes them to be, and the conduct constitutes a substantial step toward the
commission of the offense." Id. § 39-12-101(a)(3). For conduct to be a "substantial step,"
a person's "entire course of action" must be "corroborative of the intent to commit the
offense ." Id. § 39-12-101(b). "Intent, which can seldom be proven by direct evidence, may
be deduced or inferred by the trier offact from the character ofthe assault, the nature ofthe
act and from all the circumstances of the case in evidence. State v. In/ow, 52 S.W.3d 101,
105(Tenn. Crim. App. 2000); see also State v. Holland, 860 S.W.2d 53, 59(Tenn. Crim.
App. 1993).

        Viewing the evidence in a light most favorable to the State, the proof shows that
Defendants Harris and Braxton knowingly shot into the victim's car numerous times with the
intent ofkilling him. The victim testified that he left work around 5:00 p.m. on February 15,
2006,and noticed "a green early nineties model - - uh - - Buick Century get behind [him]that
[he]had seen before that[he]saw Mr. Harris in, maybe three weeks before the shooting."
The victim moved into the right lane ofDickerson Pike in an attempt to get onto the interstate
and avoid the other vehicle; however, when he stopped his car in traffic,the green car pulled
up beside him with Defendant Braxton and Defendant Harris hanging out ofthe car shooting
from the passenger's side. Bullets penetrated the victim's vehicle and struck him in the left
upper arm,left lower arm,right hand, finger, and face. The bullet that struck the victim in
the face knocked out six ofhis teeth and remains lodged under his nose. There were sixteen
bullet holes in the victim's car as a result ofthe shooting. The victim spoke with Detective

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 Bradley and told him that Defendants Harris and Braxton shot him. He also identified them
 from a photographic line-up.

        The victim's testimony was corroborated by Kenneth Miller who testified that he was
sitting at a traffic light on Dickerson Road on February 15,2006,and heard nearby gunshots.
He looked into his side mirror and saw two cars pulled up next to each other. Mr. Miller
testified that he saw a black sleeve or arm protruding out of the passenger's side of one of
the cars holding a black semi-automatic handgun. He saw the weapon fired into the other
vehicle. He said,"And I could - - I watched the hammer slide, ejecting the shells, and in the
blink of an [eye], there was just pieces of that car were just exploding." Mr. Miller further
testified that during the shooting it sounded "like emptying a clip and reloading a clip and
emptying it again."

      Based on our review, we find that a rational trier of fact could conclude beyond a
reasonable doubtthat Defendants Harris and Braxton knowingly attempted to kill the victim.
Moreover,thejury resolved any inaccuracies or issues with credibility in favor of the State.

H. The Victim's Prior Criminal History

       Defendants both contend that the trial court erred in precluding them from questioning
the victim on cross-examination about(1)an incidentthat occurred twelve years earlier when
he was shot during a home burglary and (2)about his prior arrest for being in possession of
two pistols and a thirty-round magazine while wearing a bullet proof vest.

        Our supreme court has recognized that "[t]he Sixth Amendment and the Due Process
 Clause of the Fourteenth Amendment clearly guarantee a criminal defendant the right to
present a defense." State v. Brown, 29 S.W.3d 427, 432 (Tenn. 2000). A defendant's
constitutional right to confront the witnesses against him includes the right to conduct
meaningful cross-examination: State v. Wyrick, 62 S.W.3d 751, 770 (Tenn. Crim. App.
2001). Denial ofthe defendant's right to effective cross-examination is "`constitutional error
ofthe first magnitude' and may violate the defendant's right to a fair trial. State v. Hill,
598 S.W.2d 815,819(Tenn. Crim. App. 1980)(quoting Davis v. Alaska,415 U.S. 308,318,
94 S.Ct. 1105, 1112,39 L.Ed.2d 347(1974)). "The propriety,scope, manner and control of
the cross-examination of witnesses, however, rests within the sound discretion of the trial
court." State v. Dishman,915 S.W.2d 458,463 (Tenn. Crim. App. 1995); Coffee v. State,
188 Tenn. 1, 216 S.W.2d 702, 703 (1948). Furthermore, "a defendant's right to
confrontation does not preclude a trial court from imposing limits upon cross-examination
which take into account such factors as harassment, prejudice, issue confrontation, witness
safety, or merely repetitive or marginally relevant interrogation." State v. Reid, 882 S.W.2d
423,430(Term. Crim. App. 1994).

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       In State v. Brown, our supreme court set forth the necessary analysis when
determining whether the constitutional right to present a defense has been violated by the
exclusion of evidence. Brown, 29 S.W.3d at 433-434. Specifically, we must consider
"whether: (1) the excluded evidence is critical to the defense; (2) the evidence bears
sufficient indicia of reliability; and (3)the interest supporting exclusion of the evidence is
substantially important" Id. at 434.

        "[W]hether excluded evidence is critical to a defense is a fact-specific inquiry." State
 v. Flood, 19 S.W.3d 307, 317(Tenn. 2007)(citing Chambers v. Mississippi, 410 U.S. 284,
303, 93 S.Ct. 1038, 1049,35 L.Ed.2d 297(1973)). "Our supreme court has suggested that
for evidence to be considered critical to the defense,the evidence must have some probative
value and 'exclusion ofthe evidence would undermine an element ofa particular defense.'
State v. Cyntoia Denise Brown, No. M2007-00427-CCA-R3-CD, 2009 WL 1038275, at
(Tenn. Crim. App., at Nashville, Apr. 20, 2009),perm. to appeal denied (Tenn. Sept. 28,
2009)(quoting Flood, 219 S.W.3d at 317). Regarding the third Brown factor, the interests
supporting exclusion of the evidence, a criminal defendant's right to confront and cross-
examine witnesses against her or him is limited by Rule 402 of the Tennessee Rules of
Evidence in that neither party "may cross-examine a witness on matters that are irrelevant."
State v. Williams,929 S.W.2d 385,389(Tenn. Crim. App. 1996). As our supreme court has
observed, "the right to confront witnesses is satisfied if defense counsel receives wide
latitude at trial to cross-examine, because the confrontation clause only guarantees 'an
opportunity for effective cross-examination, not cross-examination that is effective in
whatever way, and to whatever extent, the defense may wish.' State v. Middlebrooks, 840
S.W.2d 317,332-33(Tenn. 1992),superceded by statute on other grounds as stated in State
v. Stout, 46 S.W.3d 689,705(Tenn. 2001).

       Relevant evidence is defined as"evidence having any tendency to make the existence
of any fact that is of consequence to the determination of the action more probable or less
probable than it would be without the evidence." Tenn. R.Evid.401. Under Tennessee Rule
of Evidence 402, irrelevant evidence is not admissible. Relevant evidence is generally
admissible but may be excluded if its probative value is substantially outweighed by the
danger of unfair prejudice. See id. 402, 403. A trial court's evidentiary ruling based on
relevance is reviewed on appeal for an abuse ofdiscretion. See State v. Dubose,953 S.W.2d
649,652(Tenn. 1997).

      In this case, prior to trial, Defendant Harris filed a "Motion in Limine/Notice ofthe
Defense Counsel's Intent to Introduce the Prior Criminal History of James Williams." The
motion listed seven "prior Convictions or Prior Bad Acts" including two for unlawful
possession ofa weapon and `Weapon commission ofOffense While Wearing a Body Vest."
The motion also contained the following statement: "This Notice is given pursuant [to]

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Tennessee Rules of evidence 609 and 405 for impeachment purposes and in order to
adequately defend Mr. Harris."

       At a pre-trial hearing on the motion,the State challenged the admissibility ofseveral
ofthe convictions and bad acts, and defense counsel agreed to remove the claims ofdomestic
assault, reckless endangerment,and one claim ofunlawful possession of a weapon because
they were not criminal convictions. Defense counsel also agreed that the claim of"Weapon
commission of Offense While Wearing a Body Vest" was not a conviction. Concerning the
admissibility of that prior act however, the following exchange took place at the hearing:

      THE COURT:                   Is this somehow still admissible?

      [DEFENSE COUNSEL]: Yes,it is, Your Honor. It goes to the Defendant's
                         reputation - -

      THE COURT:                  The Defendant's?

      [DEFENSE COUNSEL]: I'm sorry, the victim's reputation - - alleged
                         victim's reputation. And, also, I think it's
                         substantive proofin this matter that other people
                         tried to kill him, simply because I think it's
                         consistent with (indiscernible) that somebody
                         roams around the - - the city of Nashville - -

      THE COURT:                  Okay. You've thrown about five things, potential
                                  rules, out; one,you're saying that he had potential


     [DEFENSE COUNSEL]: Well - -

      THE COURT:                  - - potential what? What arc you - -

     [DEFENSE COUNSEL]: - - It just demonstrates to me, Your Honor, that
                        other people that, maybe, are unknown to the
                        State - -

      THE COURT:                  The fact that he's arrested for wearing a body
                                  vest?




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       [DEFENSE COUNSEL]: No, I think it's consistent with the fact that
                          somebody's attempting to kill him. And I just - -
                          it would just be estab - -

       THE COURT:                 Okay. Do you have proof of some third-party
                                  person that's after Mr. Williams?

       [DEFENSE COUNSEL]: I do not, Your Honor. And I'm - - of course, it's
                          our contention that Mr. Harris is certainly not one
                          of them. However,I mean,Ijust rest on the fact
                          that - -

       THE COURT:                 Okay. Well, then explain to me how an arrest for
                                  wearing - - carrying a weapon - - I don't even
                                  know what offense this is - - but you've got
                                  weapon, commission of offense while wearing a
                                  body vest, has some relevancy to whether or not
                                  there was an attempted murder perpetrated against
                                  him by Mr. Harris or Mr. Braxton.

      [DEFENSE COUNSEL]: Ijust think thatthat is conduct by the victim that's
                         consistent with the fact he's shooting - - he's
                         being shot at by other people,that he feels like it's
                         in his best interest to wear a bullet-proof - - or
                         body armor. That's - -

       THE COURT:                 I've not any proof about people shooting at him.
                                  Do you have that?

      [DEFENSE COUNSEL]: No, I don't.

       THE COURT:                 Do you wanna (sic) proffer - -

      [DEFENSE COUNSEL]: No,I do not, Your Honor.

Counsel for Defendant Braxton then argued that the victim's arrest in 2004 for being in
possession oftwo weapons,one with a thirty-round clip and with the serial number removed,
while wearing a "body vest" and him being previously shot in the back during a burglary
demonstrated that the victim "is a guy with enemies, who knows he has enemies; and it



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makes it more likely that it is someone else who shot him on February the fifteenth oftwo-
thousand six."

        Prior to the victim's testimony at trial, in a jury-out hearing, the victim testified
concerning his conviction in November of2004 ofbeing a felon in possession ofa weapon.
He admitted that when he was arrested, he was in possession oftwo handguns,one ofwhich
was a Glock with a thirty-round clip. He was also wearing a bullet-proof vest. The victim
testified that he was shot in the back twelve years earlier, which required surgery. He said
that neither Defendant Braxton nor Defendant Harris were involved in the shooting.
Counsel for Defendant Harris then stated to the trial court: "It's not character evidence that
I'm going for. It's taken - - uh - - as a whole, all the events, shows that Mr. Williams leads
a dangerous life style." Counsel further stated: "You don't go around wearing body armor
unless you think somebody is going to shoot you." The following exchange then took place
between the trial court and counsel for Defendant Harris:

       THE COURT:                  But, you're not arguing credibility purposes.
                                   You're wanting to introduce other things other
                                   than 609 convictions. You just said it's for
                                   substantive evidence.

      [DEFENSE COUNSEL]: Well, Judge, I - - I don't think there is any
                         question when it's a defendant the rules are
                         different. It would fall under 404(b) and,if those
                         convictions or different incidents were to go to
                         show - - go to show not propensity, but, - -

      THE COURT:                   Okay.

      [DEFENSE COUNSEL]: - - motive or - -

      THE COURT:                   That might be true. But, isn't it all character?

     [DEFENSE COUNSEL]: Under 404(b), would it be? I - -

      THE COURT:                  No. I mean, you're wanting to disparage the
                                  character of Mr. Williams.

     [DEFENSE COUNSEL]: I don't think that's what I'm trying to do. I
                        wouldn't put it that way. I'm trying to say that - -



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        THE COURT:                  So, you're not wanting to get up in closing
                                    arguments in front of the jury and say look at all
                                    this man's convictions. You think - - there are
                                    fifty people after him, we could assume. And,he
                                    wants to suddenly point his finger at my client.
                                    You're not wanting to argue that.

       [DEFENSE COUNSEL]: I don't think that goes to character, Judge. I think
                          it goes to who could have shot him.

       THE COURT:                   Okay. Who could have?

       [DEFENSE COUNSEL]: Someone else and that's all that's important.

       THE COURT:                   Based on his carrying weapons.

       [DEFENSE COUNSEL]: Well, I mean,if you put it that simply - -

       THE COURT:                   And, the convictions.

       [DEFENSE COUNSEL]: - - that wouldn't work. But, - - carrying weapons
                          convictions, being shot, wearing body armor.

      The trial court then held that evidence ofthe victim being shot twelve years earlier and
evidence of his possession of weapons while wearing body armor was not relevant:

      In terms of the proffer involving Mr. Williams and the body armor and want
       to get outside the fact of a conviction and get into the facts surrounding those
      convictions, I think the convictions speak for themselves, first of all, in terms
      of multiple, three I think, felony possessions of a weapon . . . aggravated
      assaults, attempted - - attempt to commit aggravated robbery ... give the jury
      what-ever view they might see of Mr. Williams through those convictions,
      speak for themselves, especially when the body armor issue that Mr. Sprouse
      is wanting to get into occurred sixteen months prior to this incident. It's not
      like it was six days or six months. It's sixteen months, which lessens the
      probative value what it is being offered for. I'm caught wearing body armor
      in 2004, therefore, somebody must be after me in 2006. I just don't see the
      relevancy ofthat, nor do I see the relevancy of asking Mr. Williams if he has
      ever been shot before, twelve years prior to this particular allegation being
      made.

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        Rule 404(a)ofthe Tennessee Rules ofEvidence generally provides that "[e]vidence
 ofa person's character or a trait of character is not admissible for the purpose of providing
 action in conformity therewith." Nonetheless, evidence of a victim's character may be
 admissible under certain circumstances. For example, under Rule 404(a), the defendant in
 a criminal case may offer "evidence of a pertinent trait of character" of the victim.
 "Evidence is called 'pertinent' when it is directed to the issues or matter in dispute, and
 legitimately tends to prove the allegations ofthe party offering it." Black's Law Dictionary
 1145(6th ed. 1990). In other words, to qualify as "pertinent," the character evidence must
 be relevant." Id.

       In the present case, we conclude that the trial court did not err in excluding evidence
ofthe victim being shot during a burglary twelve years prior to the shooting in this case nor
did the court err in excluding evidence concerning the victim's wearing a bullet-proof vest
sixteen months prior to the shooting. Although the trial court did not specifically state that
the probative value of this evidence was outweighed by its prejudicial effect, such was
implied in the court's ruling. Any connection between Defendants' claim that someone else
shot the victim and the victim being shot twelve years earlier and his wearing of a bullet-
proof vest sixteen months earlier is too tenuous for the evidence to be considered critical to
the defense. Defendants are not entitled to relief on this issue.

III.   Testimony Regarding Defendant Braxton's Prior Incarceration

       Defendant Braxton argues that the trial court erred in allowing Wayne Miller of the
Davidson County Sheriffs Office, Records Division, to testify in rebuttal that he was
checked into the Davidson County Jail at 2:12 p.m. on February 6, 2006, and that he was
released at 4:27 p.m. on February 13, 2006. He contends that the testimony "was unduly
prejudicial and its probative value was outweighed by its prejudicial effect and violated Rule
403 of the Tennessee Rules ofEvidence."

        As previously discussed, Tennessee Rule ofEvidence 401 provides that ""[r]elevant
evidence' means evidence having any tendency to make the existence of any fact that is of
consequence to the determination ofthe action more probable or less probable than it would
be without the evidence." Generally, relevant evidence is admissible, while irrelevant
evidence is inadmissible. Tenn.R.Evid.402. However,relevant evidence may be excluded
if its probative value is "substantially outweighed by the danger of unfair prejudice,
confusion ofthe issues, or misleading thejury." Tenn. R. Evid. 403. "The admissibility
                                                                                         of
evidence under Rule 403 of the Tennessee Rules of Evidence is a matter within the trial
court's discretion and will not be reversed on appeal absent an abuse of that discretion
                                                                                         ."
State v. Biggs, 218 S.W.3d 643, 667(Tenn. Crim. App. 2006)(citing State v. Dubose,
                                                                                       953
S.W.2d 649, 652(Tenn. 1997)). We also point out that rebuttal evidence"is that
                                                                                    which

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tends to explain or controvert evidence produced by an adverse party." Cozzolino v. State,
584 S.W.2d 765, 768 (Tenn. 1979). It is also within the trial court's sound discretion to
allow or reject rebuttal evidence. State v. Green, 613 S.W.2d 229, 234(Tenn. Crim. App.
1980).

       During the trial Derrica Christman, an alibi witness for Defendant Braxton,testified
during direct examination that she saw Defendant Braxton shooting dice on her back porch
no later than 5:15 p.m. on February 15,2006,the day that the victim was shot. During cross-
examination by the State, the following testimony was elicited from Ms. Christman:

       Q.     When was the last time you had seen [Defendant Braxton] prior to
              February 15th,2006?

       A.     February 14111.

       Q.     Okay. And,prior to February 14th?

       A.     February 13th.

       Q.     You had seen him on the thirteenth. Had you seen him on the twelfth?

       A.     No.

This was the extent of Ms. Christman's testimony during Defendant Braxton's proof which
dealt with when she had observed Defendant Braxton on February 5,6, or 13.

        After both Defendants had submitted their proof; the State called Ms. Christman as
a rebuttal witness to further testify as to when she had last seen Defendant Braxton prior to
February 15, 2006. Her entire testimony in rebuttal is as follows:

      [DIRECT EXAMINATION BY STAFF]

       Q.     Ms. Christman, uh - - the last time you testified was a little while ago,
              you mentioned that you saw Mr. Braxton on February 6th - - uh - - of
              2006, is that correct?

       A.     Uh - huh.

      Q.     Do you remember ifthat was in the morning,the afternoon or the night
             time?

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     A.    Had to be like in the evening, afternoon, evening.

     Q.    Okay. When you say the evening, what time would you put that to be
           the best of your memory?

     A.    Uh - - five or so, after five.

     Q.    And, it would be - - you base that time on the same thing, about when
           your children get home from school. So, on February 6", you would
           have seen him that evening after your children had been off the bus'?

     A.    If - -

     Q.    Is that a yes?

     A.    If that was a week day, then, yes.

     Q.    Okay. Well, do you remember what February 6'was?

     A.    No.

     Q.    But,to the best of your recollection it was around five o'clock,correct?

     A.   Yes.

     Q.   Okay. And, did you also say that you saw him on the thirteenth of
          February, —

     A.   Yes.

    Q.    - - of2006?

     A.   Uh-huh.

    Q.    And, about what time did you see him?

    A.    Uh - - it was .. . between five and five fifteen.

    Q.    And, what was he doing when you saw him on the thirteenth?


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     A.    He was coming from the next building beside my building.

     Q.    Okay. And, what was he wearing at the time?

     A.    He was - - uh - - either brown or green jacket with patches on it.

     Q.    Now, we're talking not on the fifteenth.       We're talking on the
           thirteenth.

     A.    Yeah.

     Q.    Okay. And, he was wearing that same outfit?

     A.    Uh-huh.

     Q.    Okay. And, - -

     A.    Same jacket at least.

     Q.    - - that would have been around five fifteen on - -
     A.    Yes.

     Q.   - - thirteenth of February, 2006?

     A.   Uh-huh.

     Q.   And,to your knowledge does he have any - - he doesn't live where you
          are, does he?

    A.    No.

    [CROSS EXAMINATION BY DEFENDANT BRAXTON'S COUNSEL]

    Q.    On cross-examination, your last cross-examination, uh - - you were
          asked when the last time you saw Mr. Braxton was previously to the
          thirteenth?

    A.    Yes.



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       Q.     Do you know when that was?

       A.     It was . ..it was more than a week. It was maybe ...

       Q.     Do you know when it was?

       A.     Maybe eight days before the thirteenth.

       Q.     Okay. Let me . . . do you remember specifically? Is there anything
              special about that day that would make you remember it?

       A.     Other than that was the last time I had seen him until I saw him a week
              or so later.

       Q.     Okay. So, you wouldn't swear by the fact that it was the sixth?

       A.     No. I'm not sure.

       Q.     Okay; thank you.

        In response to Ms. Christman's testimony, the State called Wayne Miller of the
Davidson County Sheriff's Office, Records Division. Counsel for Defendant Braxton
objected on the ground that while possibly relevant, Mr. Miller's testimony that Defendant
Bt nx ton was taken into the custody ofthe Davidson County Jail at 2:12 p.m. on February 6,
2006,and he was released on February 13,2006,at 4:27 p.m. should not have been admitted
because it was more prejudicial than probative. Specifically,the following colloquy occurred
between Defendant Braxton's counsel and the trial court:

      THE COURT: -                 The second time?

      [DEFENSE COUNSEL]: Yes, Your Honor, the second time. Uh - - but,
                         keep in mind —

      THE COURT:                  What did she say during her testimony when you
                                  called her?

      [DEFENSE COUNSEL]: What did she say during the tes - - when I called
                         her the first time?

      THE COURT:                  Uh - huh.

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       [DEFENSE COUNSEL]: During my direct?

        THE COURT:                   No,her full testimony.

       [DEFENSE COUNSEL]: During her cross-examination she said she had
                          seen him on February 6th, but, her testimony was
                          not clear .. . it was not precise. From - - -uh - -
                          my recollection of it, she - - uh - - was not - - - it
                          was February 4th or February 5th or February 6th,
                          she was not sure. And,that is not - -

       THE COURT:                    Is that what she said?

       [DEFENSE COUNSEL]: I don't know - - uh - - that is what I remember it
                          is. I'm not one hundred percent sure of that.

       THE COURT:                   Okay. I've got it that she saw Mr. Braxton on two
                                    five and two six in the area around her house.
                                    When she was called back by the State,she said it
                                    was February - - on February 6th,had to be in the
                                    evening after five p.m.

                                    Then,you got back up on recross and said,
                                    are you really wanting to swear that you
                                    saw - - that you saw him on two six? And,
                                    she said, well, I don't know,I'm not sure.

        The transcript reflects that Ms. Christman testified during Defendant Braxton's case-
in-chiefthat she saw Defendant Braxton "maybe February 5th or the 6th." (emphasis added).
This was the testimony the State was entitled to rebut in its rebuttal proof; the State was not
entitled to rebut the more "definitive" testimony ofseeing Defendant Braxton on February
6th during her testimony as a rebuttal
                                        witness for the State. This Court has explained:

      The phrase "rebuttal evidence" may be defined as evidence "which tends to
      explain or controvert evidence produced by an adverse party." Cozzolino v.
      State, 584 S.W.2d 765, 768 (Tenn. 1979). This phrase encompasses "[a]ny
      competent evidence which explains or is a direct reply to, or a contradiction
      of, material evidence introduced" by an adverse party. Nease v. State, 592
      S.W.2d 327, 331 (Tenn. Crim. App. 1979). Rebuttal evidence is properly
      admitted for the purpose of impeaching a witness through the use of a prior

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       inconsistent statement. Monts v. State, 218 Tenn. 31,57-58,400 S.W.2d 722,
       733-734 (1966); Gray v. State, 194 Tenn. 234, 247-248, 250 S.W.2d 86, 92
       (Tenn. 1952);Beasley v. State, 539 S.W.2d 820,824(Tenn. Crim. App. 1976).
       See Tenn. R. Evid. 613(b).

State v. Braden, 867 S.W.2d 750, 760(Tenn. Crim. App. 1993).

        We conclude that the trial court erred by overruling Defendant Braxton's objection
to Mr. Miller's testimony. In a close case this error, which allowed an employee of the
sheriff's office to testify as to the incarceration ofa defendant on obviously unrelated charges
prior to the commission of the offense for which the defendant is being tried, could result in
the necessity for granting a new trial. However,we are confident in concluding in this case
that the error was harmless. Defendant Braxton is not entitled to relief on this issue.

IV. Sentence Length

      In this case, Defendants argue that their sentences are excessive as to their attempted
second-degree murder convictions because the trial court erred in finding that they used a
deadly weapon during the commission of the offense.

       A trial court is mandated by the Sentencing Act to "impose a sentence within the
range ofpunishment." T.C.A.§ 40-35-210(c). A trial court, however,"is no longer required
to begin with a presumptive sentence subject to increase and decrease on the basis of
enhancement and mitigating factors." Carter, 254 S.W.3d, 335, 346 (Tenn. 2008).
Therefore, an appellate court is "bound by a trial court's decision as to the length of the
sentence imposed so long as it is imposed in a manner consistent with the purposes and
principles set out in sections-102 and-103 of the Sentencing Act." Id.

       In conducting a de novo review of a sentence, this Court must consider (a) the
evidence adduced at the trial and the sentencing hearing;(b)the presentence report;(c)the
principles of sentencing and arguments as to sentencing alternatives; (d) the nature and
characteristics ofthe criminal conduct involved;(e)evidence and information offered by the
parties on the enhancement and mitigating factors set forth in Tennessee Code Annotated
sections 40-35-113 and 40-35-114; (f) any statistical information provided by the
Administrative Office ofthe Courts as to Tennessee sentencing practices for similar offenses;
and (g)any statement the Defendant wishes to make in the Defendant's own behalf about
sentencing. T.C.A. § 40-35-210(b); see also Carter, 254 S.W.3d at 343; State v. Imfeld, 70
S_W_3d 698, 704(Tenn. 2002).




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       In Carter, the Tennessee Supreme Court clarified the 2005 changes in Tennessee
 sentencing law and stated:

       [A]trial court's weighing of various mitigating and enhancement factors has
       been left to the trial court's sound discretion. Since the Sentencing Act has
       been revised to render these factors merely advisory, that discretion has been
       broadened. Thus, even if a trial court recognizes and enunciates several
       applicable enhancement factors, it does not abuse its discretion if it does not
       increase the sentence beyond the minimum on the basis of those factors.
       Similarly, if the trial court recognizes and enunciates several applicable
       mitigating factors, it does not abuse its discretion if it does not reduce the
       sentence from the maximum on the basis ofthose factors. The appellate courts
       are therefore left with a narrower set ofcircumstances in which theymight find
       that a trial court has abused its discretion in setting the length ofa defendant's
       sentence.

Carter, 254 S.W.3d at 345-46.

        Thus,a trial court's"fail[ure]to appropriately adjust"a sentence in light ofapplicable,
but merely advisory, mitigating or enhancementfactors, is no longer an appropriate issue for
appellate review. Id.,254 S.W.3d at 345(citing State v. Banks,No.W2005-02213-CCA-R3-
DD, 2007 WL 1966039, at *48 (Tenn. Crim. App., at Jackson, July 6, 2007)(noting that
"[t]he 2005 amendment[to the Sentencing Act] deleted appellate review ofthe weighing of
the enhancement and mitigating factors, as it rendered the enhancement and mitigating
factors merely advisory, not binding, on the trial courts").

       The record reflects that the trial court considered the evidence presented at the trial
and the sentencing hearing. The court further considered the presentence report, the
principles of sentencing and the arguments as to sentencing alternatives, the nature and
characteristics of the offenses, the evidence offered by the parties on enhancement and
mitigating factors, and the potential for rehabilitation or treatment.

       As a range I offender convicted of a Class B felony, the applicable range of
punishment for Defendant Harris was no less than eight nor more than twelve years. T.C.A.
§ 40-35-112(a)(2). As a Range II offender convicted of a Class B felony, the range
                                                                                       of
punishment for Defendant Braxton was no less than twelve nor more than twenty years.
T.C.A. § 40-35-112(b)(2).

       The trial court applied enhancement factor(1)that both Defendants had a previous
history of criminal convictions or criminal behavior, in addition to those necessary
                                                                                     to

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establish the appropriate range. T.C.A.§ 40-35-114(1). The trial court found that Defendant
Harris had "three prior felonies, a felony cocaine case, a felony theft case and a felony
evading arrest case, and ten misdemeanor convictions, including a prior carrying a weapon
conviction." In addition to the convictions necessary to establish Defendant Braxton as a
Range 11 offender, he has "the prior 'E' felony . . . , and in addition six misdemeanor
convictions, non-driving misdemeanor convictions." The trial court also applied
enhancement factor(6)that extensive personal injury was inflicted upon the victim. T.C.A.
§ 40-35-114(6). At trial, the victim testified that after the shooting, he was transported by
ambulance to Vanderbilt Medical Center where he was immediately taken into surgery. He
said that one ofthe bullets struck him in the upper arm,which required a metal plate. A bullet
also went through his hand and lodged in his wrist, and one struck his finger and his face.
The victim testified that he had surgery on his finger because it was "hanging off," and the
bullet that entered his face is still lodged under his nose, and he lost six teeth.

        The trial court applied enhancement factor(8) that both defendants had a previous
 history of unwillingness to comply with release into the community. Defendant Harris had
 two prior probation violations, and Defendant Braxton had three. T.C.A. § 40-35-114(8).
 The trial court applied enhancement factor (9) that Defendants possessed and employed
firearms in the commission ofthe offense. T.C.A. § 40-35-114(9). Concerning this factor,
the court noted:"There is the enhancing factor as to both that a weapon was used, a firearm,
 multiple times,two different weapons according to the circumstantial proof...fired thirteen
or so plus times into Mr.William's car." The trial court applied enhancement factor(11)that
the offense involved the threat of death or serious bodily injury to other persons, in
Defendant Braxton's case, as he had been previously convicted of a felony that resulted in
death. T.C.A. § 40-35-114(11). The trial court pointed out that "there was a high risk of
injury to others there in the community when this shootout occurred, one sided shootout
occurred there in broad daylight with high traffic, including the witness, Mr. Miller, who
testified at the trial." The court further noted that Defendant Braxton had a prior
manslaughter conviction. Finally, the trial court applied enhancement factor (13) to
Defendant Braxton's sentence noting that he was on probation at the time of the offense.
T.C.A. § 40-35-114(13). The trial court did not find any applicable mitigating factors as to
either Defendant.

        Both Defendants argue that the trial court erred in finding thatthey employed firearms
during the commission of the offenses because they contend that it is an element of the
offense of attempted second degree murder. However, use of a deadly weapon is not an
essential element of that offense. See T.C.A. §§ 40-35-114, 39-13-210, and 39-12-101;
State v. Matthew Joseph Carter, No.E2009-00217-CCA-R3-CD,2010 WL 4324386(Tenn.
Crim. App. Nov.2,2010) no perm. app.filed.



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          The record clearly shows that the trial court followed the statutory sentencing
 procedure, made findings offacts that are adequately supported in the record, and gave due
 consideration to the principles that are relevant to sentencing. Based on our review, we
 conclude that the enhancement factors considered by the trial court adequately support the
 trial court's discretionary decision to impose a sentence ofeleven years for Defendant Harris
 and nineteen years for Defendant Braxton. Defendants are not entitled to reliefon this issue.

        Defendant Harris also seems to argue that he should not have been ordered to serve
 his sentence in confinement. However, he does not support his argument with appropriate
 references to the record or reasons why he should be granted relief. Therefore this issue is
 waived. Term. R. App. P. 27(a)(7)(A).

 VI. Ineffective Assistance of Counsel

        Both Defendants argue that they received ineffective assistance oftrial counsel in this
case. More specifically, both Defendants argue that their respective trial counsel was
ineffective for failing to request ajury instruction on the lesser-included offense ofreckless
endangerment. Defendant Braxton also argues that trial counsel was ineffective for (a)
failing to object to the sentence or request a continuance when the State did not provide
proper notice of intent to seek enhanced punishment or provide certified copies of his
convictions;(b)failing to amend the original notice ofalibi;(c)failing to investigate possible
defenses or alibi witnesses; and (e) failing to adequately meet and prepare for trial.
Defendant Harris contends that trial counsel was ineffective for asking the victim about a
prior altercation with Defendant Harris that "opened the door" to the victim's testimony
about an earlier attempt by Defendant Harris to harm or kill the victim.

        Claims ofineffective assistance ofcounsel are generally more appropriately raised in
a petition for post-conviction reliefrather than on direct appeal. See State v. Carruthers, 35
S.W.3d 516, 551 (Tenn. 2000). This Court has consistently "warned defendants and their
counsel ofthe dangers ofraising the issue ofineffective assistance oftrial counsel on direct
appeal because of the significant amount of development and fact finding such an issue
entails." Kendricks v. State, 13 S.W.3d 401,405(Tenn. Crim. App. 1999). Raising the issue
ofineffective assistance ofcounsel on direct appeal is "a practice fraught with peril." State
v. Thompson,958 S.W.2d 156, 161 (Term. Crim. App. 1997). This peril is two-fold. First,
ineffective assistance can rarely be established without an evidentiary hearing. See
Strickland v. Washington, 466 U.S. 668, 689-90, 694, 104 S.Ct. 2052, 2065, 2067, 80
L.Ed.2d 674(1984).Post-conviction procedures afford an evidentiary hearing to a Defendant
with colorable claims. See T.C.A. §§ 40-30-109(a),-110(2006). Second, raising the issue
in the direct appeal could result not only in losing on appeal,but also in barring the claimant
from raising the issue later in the post-conviction arena. T.C.A. §§ 40-30-106(f) & (h)

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(2006). A post-conviction claim for ineffective assistance of counsel will be dismissed
where that claim has previously been determined by another court. T.C.A. § 40-30-106(f).
"A ground for relief is previously determined if a court of competentjurisdiction has ruled
on the merits after a full and fair hearing. A full and fair hearing has occurred where the
petitioner is afforded the opportunity to call witnesses and otherwise present evidence,
regardless of whether the petitioner actually introduced any evidence." T.C.A. § 40-30-
106(h). However, because there is nothing barring a defendant from bringing an
ineffectiveness claim in a direct appeal, we will proceed with our analysis of each
Defendant's claims.

        Under Tennessee Code Annotated section 40-30-110(f)(2003), a defendant seeking
 post-conviction relief on the basis of ineffective assistance of counsel is required to prove
his or her allegations "by clear and convincing evidence." This same standard applies even
 when the claim ofineffective assistance ofcounsel is raised on direct appeal. State v. Burns,
6 S.W.3d 453,461 n. 5(Tenn. 1999)(citing State v. Anderson, 835 S.W.2d 600,607(Tenn.
Crim. App. 1992)). The factual findings entered by the trial court are conclusive unless the
defendant establishes that the evidence preponderates against those findings. Fields v. State,
40 S.W.3d 450,457(Tenn.2001). For a defendant to successfully overturn a conviction based
on ineffective assistance of counsel, the defendant must first establish that the services
rendered or the advice given was below "the range of competence demanded ofattorneys in
criminal cases." Baxter v. Rose,523 S.W.2d 930,936(Tenn. 1975). Second,the defendant
must show that the deficiencies "actually had an adverse effect on the defense." Strickland
v. Washington, 466 U.S. 668, 693, 104 S.Ct. 2052, 2067, 80 L.Ed.2d 674 (1984). The
defendant is not entitled to the benefit of hindsight; the defendant may not second-guess a
reasonably based trial strategy; and the defendant may not criticize asound, but unsuccessful,
tactical decision made after adequate preparation for the case. Adkins v. State, 911 S .W.2d
334,347(Tenn.Crim. App. 1994); Cooper v. State,847 S.W.2d 521,528(Tenn. Crim.App.
1992).

A. Failure to Request a Jury Instruction on the Lesser-Included Offense of Reckless
Endangerment.

       Defendant Braxton and Defendant Harris both contend that their respective trial
counsel was ineffective for failing to request a jury instruction on the misdemeanor offense
ofreckless endangerment as a lesser-included offense ofattempted premeditated first degree
murder.

       Initially, we note that each Defendant has the burden of proving that he or she was
prejudiced by an alleged deficiency on the part oftrial or appellate counsel. Strickland,466
U.S. at 687, 104 S.Ct. 2052,80 L.Ed.2d 674. In order to establish prejudice, each Defendant

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 mastshow that"there is a reasonable probability that,but for counsel's unprofessional errors,
 the result of the proceeding would have been different. A reasonable probability is a
 probability sufficient to undermine confidence in the outcome." Id., 466 U.S. at 694. A
 defendant is required to request in writing that the trial court instruct the jury on any
 specifically identified lesser included offense. T.C.A. § 40-18-110(a). In the absence of
 such a request, the trial court may charge the identified lesser included offense, but the
 defendant is not entitled to the charge. id. § 40-18-110(b). Reckless endangerment is a
 lesser included offense ofattempted first degree murder. See State v. Rush,50 S.W.3d 424,
 431-32 (Tenn. 2001). If it had been included in the jury charge, it would have been listed
 after aggravated assault.

        In this case, Defendants were indicted for the offense of attempted first degree
murder. The trial court instructed the jury on the indicted offense and the lesser included
offenses of facilitation of attempted first degree murder, attempted second degree murder,
facilitation of attempted second degree murder, attempted voluntary manslaughter,
facilitation ofattempted voluntary manslaughter, aggravated assault with a deadly weapon,
and aggravated assault with serious bodily injury. The jury convicted Defendants of
attempted second degree murder to the exclusion ofthe immediate lesser included offenses.
Harmless error may be shown where thejury convicts on the higher offense to the exclusion
of the immediately lesser offense, necessarily rejecting other lesser offenses. State v.
Williams,977 S.W.2d. 101,106(Tenn. 1998). Therefore, we conclude thatDefendants were
not prejudiced by trial counsels' failure to request jury instruction on the lesser included
offense ofreckless endangerment.

B. Failure to Object to the Sentence or request a Continuance When the State Did Not
Provide Proper Notice ofIntent to Seek Enhanced Punishment or Provide Certified Copies
ofDefendant Braxton's Convictions.

       In his motion for new trial, Defendant Braxton raised the following issue concerning
his sentence:

       Defendant was denied effective assistance of counsel when counsel failed to
       object to the State's failure to file a Notice of enhanced punishment and
       allowing certain convictions to be used against the Defendant at sentencing,
       by not requiring certified copies ofthose convictions to be used,and by failing
       to make a motion for a continuance.

The trial court, in its order denying Defendant Braxton's motion for new trial
                                                                                   held: "The
Court accredits the testimony oftrial counsel that he investigated all ofthe
                                                                             defendant's prior


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 convictions and believed they were valid. The Courtfinds the State had filed timely a notice
 of enhanced punishment."

         The record supports the trial court's finding. At the hearing on the motion for new
 trial, counsel for Defendant Braxton testified that the State had filed a notice of enhanced
 punishment but did not provide certified copies ofhis convictions at the sentencing hearing.
 Trial counsel admitted that he did not object to the hearing. He said:

          checked them out myself. I - - I suppose I - - I could have objected, there
        weren't any certified copies. And it is my understanding that,ifthat had been
        objected to,the - - itjust would've been continued for ten days,because, while
        we are entitled to notice, I don't necessarily know if it's like a gotcha (sic)
        thing, sort of,"You didn't give us notice, so I'm sorry."

Defendant Braxton has failed to show that he was prejudiced by trial counsel's failure to
object to his enhanced sentence or by failing to request a continuance. He is not entitled to
relief on this issue.

C. Failure to Amend the Original Notice ofAlibi

       Defendant Braxton next contends that trial counsel was ineffective for failing to
amend the notice of alibi filed by his previous counsel to include an additional witness,
Lateisha Martin. The trial court held that trial counsel made a tactical decision not to call
Ms. Martin and did not render ineffective assistance of counsel.

        Again, the evidence presented at the hearing on Defendant's Braxton's motion for
new trial supports the trial court's decision. At the hearing,trial counsel testified that it was
his understanding that all of the alibi witnesses that Defendant Braxton intended to call at
trial were listed on the notice filed by previous counsel. However,trial counsel admitted that
he was mistaken, and Ms. Martin was not listed on the notice. The following exchange then
took place:

       Q.     Did you have a bench conference regarding that particular witness?

       A.     I don'tremember ifwe had a bench conference or not. I know the issue
              was discussed. The State stood up and said,"Ifthis witness is going to
              be called for alibi witnesses, they are not listed, we've had no notice."




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           I don't believe Judge Dozier made a ruling on whether or not she would
           be allowed to testify. I think the issue wasjust kinda(sic)tabled. And
           I called Derrica Christman at that point; she was listed - -

     Q.    Who was listed - -

     A.    - - on the notice. After her testimony the issue was re-raised and - - as
           to whether or not she would be allowed to testify.

           And at that point I made the decision, based upon how Mr.
           Harris' alibi witnesses had testified, that, quite frankly, even I
           decided to press the issue and the Judge were to allow me to call
           her as an alibi, I was worried.

          And I thought Ms. Christman had done a good enough job that
          I just simply chose not to push the issue.

     Q.   Did you discuss that decision, not to call that particular witness, with
          Mr. Braxton?

     A.   I'm sure that we whispered at the table about it, that, you know,"This
          is why I'm not pushing the issue, and it's my fault that she wasn't listed
          on the notice. But, quite frankly, at this point I don't know if I'd call
          her anyway."

          But, no,there was no - - there was no recess, we didn't have an
          opportunity to, like, really get into it. Wejust whispered about
          it at the table.

    Q.    What was your understanding of Mr. Braxton's position on that?

          I don't - - I don'tremember him voicing strong objection to my position
          on it. I - I - - I don't remember that happening. I'm not saying it
          didn't, but I don't remember it happening.

          So, you don't recall if - - whether or not he - - that - - that - - in other
          words this was a tactical decision that you made, didn't - - didn't
          necessarily have to wait on the Court to rule on that, it was - -




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     A.     Lemme(sic) be clear. It was not a tactical decision to leave her offthe
            notice; and, if I had that to do over again, she would've been on the
            notice, without question.

            But at the time, when it came to - - to re-raise the issue, where
            I could've asked the Court,"Well,despite the fact that she's not
            on the notice, I wanna call her anyway," that's when I - - yes, I
            decided at that point that, quite frankly,even it I would,I did not
            want to - -

     Q.     Okay.

     A.     - - recall her.

     Q.     But - - and, so, it was a tactical decision to not push the issue.

     On cross-examination, trial counsel further testified:

     Q.    With regard to the second alibi witness, who was not called, you've
           indicated that you had decided during the trial, during watching Mr.
           Harris' alibi witnesses testify, that you did not want to call this second
           alibi witness anyway.

     A.    Yes, that's - - I mean, it was a toss-up; but, counting the fact that I'd
           left her off the notice and the fact that I was worried about conflicting
           testimony from the two ofthem,I decided that I was not going to push
           the issue with the Court.

           I don't know ifI'm muddling the issue or not.

    THE COURT:            (To the Witness) Worried about conflicting testimony
                          between anyone that may or may not could've been
                          called versus -

    THE WITNESS:          Derrica Christman.

    THE COURT:                - - the one that was called.

    THE WITNESS:          That's correct.



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         THE COURT:            Okay. Well,I mean, did you have some information, as
                               or after Ms. Christman was testifying, that - ifI can find
                               it here again(consulted file notes)- that Ms. Martin may
                               have some inconsistent information?

        THE WITNESS:           Not on any material facts. I spoke with them both
                               beforehand, and I was not about [to] put them on the
                               stand,ifI thought they were going to perjure themselves,
                               no.


        THE COURT:            Right.

        THE WITNESS:          I mean, the material facts - I could not discern any
                              inconsistencies between the two of them.

                              What I was speaking to more specifically is, when Mr.
                              Harris' alibi witnesses testified, there were several
                              questions about that they were wearing and that they had
                              to eat and whattime and what happened afterwards, quite
                              frankly, things that were immaterial to the case, but
                              nevertheless asked about, which they were dramatically
                              different on.

                              And - and I did not — I thought Ms. Christman had done
                              such an excellentjob testifying, that I didn't wanna run
                              the risk of messing up her testimony.

        Trial counsel clearly made a tactical decision not to call Ms. Martin at trial, and
Defendant Braxton has not presented any evidence to the contrary. Even iftrial counsel had
rendered deficient performance in failing to add Ms.Martin to the notice as an alibi witness,
Defendant Braxton has not demonstrated any prejudice since he did not call Ms. Martin to
testify at the hearing on his motion for new trial. See Pylant v. State, 263 S.W.3d 854,
                                                                                         869
(Tenn. 2008); Black v. State, 794 S.W.2d 752, 757-58(Tenn. Crim. App. 1190).

D.     Failure to Investigate Possible Defenses or Alibi Witnesses.

       Defendant Braxton argues that trial court was ineffective for failing to investigate any
possible defenses that he had to the offense or to investigate the alibi witnesses
                                                                                   provided to
him. As pointed out by the State, this issue was not raised in Defendant Braxton's
                                                                                        motion
for new trial or in his amended motion,and he may not raise the issue for the first
                                                                                    time in this

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 court. On direct appeal,our review is limited to the issues specifically raised in a motion for
 new trial. See Tenn. R. App. P. 3(e). "When an issue is raised for the first time on appeal,
 it is typically waived." State v. Maddin, 192 S.W.3d 558, 561 (Tenn. Crim. App. 2005);
 Tenn. R. App. P. 36(a)("relief may not be granted in contravention of the province of the
 trier of fact."). Therefore, this issue is waived.

 E.     Failure to Adequately Meet and Preparefor Trial.

       Finally, Defendant Braxton argues that trial counsel was ineffective for failing to
 adequately meet with him and prepare for trial. Again,as pointed out by the State,Defendant
 Braxton failed to raise this issue in his motion for new trial or in his amended motion.
 Therefore, the issue is waived. See Tenn. R. App. P. 3(e); 36(a); and State v. Maddin, 192
 S.W.3d 558, 561 (Tenn. Crim. App. 2005).

F. Opening the Door to the Victim's Testimony About an Earlier Attempt by Defendant
Harris to Harm or Kill the Victim.

        Defendant Harris argues that his trial counsel rendered deficient performance by
asking the victim about a prior altercation with Defendant Harris that "opened the door" to
the victim's testimony about an earlier attempt by Defendant Harris to harm or kill the victim.
At trial, the victim testified concerning the events surrounding the shooting on February 15,
2006. On cross-examination, trial counsel asked the victim about the shooting and
questioned him about his prior testimony at the preliminary hearing where the victim
indicated that he had no other altercations with Defendant Harris. After being cautioned by
the court, trial counsel ultimately asked the victim,"Have you had any other altercations
with Mr.Harris"to which the victim replied,"That's correct." Trial counsel then impeached
the victim by pointing to the record ofthe preliminary hearing in which the victim indicated
that had not had other altercations with Defendant Harris.

        The State then sought to question the victim about a previous altercation during which
Defendant Harris allegedly shot the victim in the foot. After a lengthy discussion out
                                                                                         ofthe
jury's presence, the trial court determined that the State would be allowed to question
                                                                                           the
victim aboutthe prior altercation. On redirect examination,the victim testified that
                                                                                     one night
in October of 2005, someone had been following him. He said:

       I was - - uh - - headed down Gallatin road going to McDonald's to get me
       something to eat. And, I rolled (phonetic) Mr. Harris, beauty shop, barber
       shop, whatever it was at the time, and - - uh - - I just noticed a car get behind
       me. I turned, the car turned. And,I not gonna say it was a chase, but, the car
       stayed pretty much behind me where I had to speed up to lose the car. And,

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        I finally side [sic] on a side street. And, I jumped out of the car and jumped
        in the bushes.

        The victim testified that two cars "kept circling the block," and he called a couple of
 friends to pick him up. He stayed at their house for a few hours and then drove home around
 12:45 a.m. The victim testified that he parked his car like he did every night. He then
 "checked the bushes", and as he walked up the breezeway, Defendant Harris and another
 individual opened fire on him. The victim said that although he had two handguns on him,
 he did not have a chance to return fire. He then realized that he had been shot in the foot.
 The victim testified that there was a third person "who ran on the side ofthe building and me
 and him exchanged gun-fire." He then hid under a neighbor's jeep until the three men left.

        The victim testified that one ofthe neighbors called police, and when they arrived, he
 did not tell them that he saw Defendant Harris or the other two individuals. He explained
 that he did not want to talk to police because he had two firearms on hirn, as well as several
 assault rifles in his home, and he did not want them to search his home.

        Concerning this issue, the trial court held:

        As to the defendant's allegations that trial counsel was ineffective in opening
       the door to a prior unproven altercation, the Court notes that trial counsel did
       ask this question. Before the witness could answer the question,"Have you
       had any other altercations with Mr. Harris," the Court asked counsel if he
       wanted to ask that question. Trial counsel said that he did wish to ask the
       question and the Court permitted him. Although the question opened the
       ability to question about other incidents in order to fill the conceptual void as
       to the bad blood between the defendant and the victim, much of this
       information was admissible ifbrought out by the State. This information also
       allowed information about the complaining witness and possible unfavorable
       demeanor seen by the jury. Even though potentially prejudicial, this was a
       tactical decision by trial counsel that may have had a valid defense motivation
       but certainly does not rise to the necessary level of effecting the outcome of
       the trial.

        The record supports the trial court's findings. Trial counsel was able to successfu
                                                                                            lly
impeach the victim's testimony at the preliminary hearing where he testified that
                                                                                    he had no
prior alterations with Defendant Harris. Furthermore, as pointed out by the
                                                                                    State, the
victim's testimony had no corroboration from any other witness,and the victim
                                                                                 admitted that
he was in possession oftwo guns during the shooting, and there were additional
                                                                                 assault rifles
in the house. When police arrived on the scene,the victim did not tell them who
                                                                                   shot at him

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because he did not want his own criminal activities discovered. Defendant Harris has not
shown that he was prejudiced by trial counsel's performance in this area. The proof
presented at trial was sufficient to support Defendant Harris's conviction for attempted
second degree murder. This issue is without merit.

                                    CONCLUSION

      For the foregoing reasons, the judgments of the trial court are affirmed.




                                                THOMAS T. WOODALL,JUDGE




                                                                                Clerk, hereuy catity tfiu-
                                                        !, Michael W. Catalano,             original
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                                                        filed I th
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Case 3:20-cv-00251 Document 9-14 Filed 06/08/20 Page 42 of 102 PageID #: D.0
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                             IN THE CRIMINAL COURT
                         FOR AAVIDSON COUNTY,TENNESSEE
                                  AT NASHVILLE
                                    DIVISON I

  FREDERICK E. BRAXT/                                    Case No.: 2007-A-732
      Petitioner                                         Judge Dozier

  VS


  STATE OF TENNESSEE
      Respondent

                         PETITION FOR WRIT OF CORAM NOBIS

           Comes now the Peta loner, Frederick E. Braxton, pursuant to Tenn. Code Ann. §

  40-26-105, and petitions ti s Honorable Court for a writ of coram nobis to address newly

  obtained and discovered ek Jdence/information, that could not have been litigated at the

  time of Petitioner's original trial, that proves the actual innocence of Petitioner in this

  matter. Petitioner would shi ,w unto the Court the following:

                                     I. RELEVANT FACTS

       1.1) Petitioner, Fredefldc E. Braxton, was charged with Attempted First Degree
            Murder for a dri-e-by, car-to-car, shooting of James Haywood Williams, Jr.
            [See, attached Af idavit of James Haywood, Jr., attached "Ex. A" at A-1 and
            Ex. A at Attachni nt 1, page 1-1]. A jury convicted Petitioner in a case heard
            by this Honorable Court. [Id].

       Lal In mid-October, 2 It 7, James Haywood Williams, Jr. came forward to admit he
           deliberately comn :- tted Aggravated Perjury in this identification of Petitioner as
           his assailant in ease No. 2007-A-732. [See, attached "Ex. Al. James
           Haywood Williams, Jr. was the sole eyewitness identifying Petitioner as a
           shooter in Case No,2007-A-732. [Ex. A at Attachment 1, pages 1-1 and 1-2].

                                            IL ISSUES

       2.1) The statute of limitations is tolled because the alleged victim's revelation of a
            false identification arose in October, 2017.

       2_21 Newly arising evi fence, that could not be litigated prior to this petition, proves
            actual innocence i 1 this case in regards to Petitioner.

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                         M. LEGAL BACKGROUND FOR CORAM NOBIS

      ID The whitehorse case on coram nobis within the past ten (10) years is State v.
         Vasques, 221 S.W.3d 514 (Tenn. 2007). Vasques sets a primer on how coram
         nobis applies to Tennessee cases. [Vasques, 221 S.W.3d at 525-528]. Counsel
         for Petitioner has a working knowledge of Vasques, as counsel was one of the
         lead counsels for aefendants at the Supreme Court level of Vasques. [Vasques,
         221 S.W.3d at 516]. Details on how coram nobis applies in this case will be
         discussed in "Part V: Merits of Coram Nobis Request" ofthis petition.

      3.2) The standard of review and granting a writ of coram nobis is that the jury "may
           have" reached a different result, not that the new evidence "would have"
           resulted in a different result. [Lowery v. State, 2013 WL 4767188 (Term. Crim.
           App. 09/04/2013), attached "Ex. B" at B-2 to B-3].'

                                  EV. STATUTE OF LIMITATIONS

      4.1) Later arising issues, which justify a tolling of the Tenn. Code Ann. §§ 40-26-
           105 and/or 27-7-103 statute of limitations, asks ifDue Process requires a tolling
           of the statute of limitations. [Harris v. State, 301 S.W.3d 141, 144 (Tenn.
           2010)]. This determination is a three-part test, which asks the following:

                      Ai When the limitations period would normally begin to run;
                      Ij) Did the newly discovered evidence actually arise after the statute of
                          limitations period expired; and

                      Li If the ground is "later-arising," determine if, under the circumstances
                         of the case, a strict application of the limitations period would
                         effective!),deny the petitioner a reasonable opportunity to present the
                         claim.

            [State v. Harris, 301 S.W.3d 141, 145 (Tenn. 2010)].

      4.2) In the case at hand, the sole eye witness that identified Petitioner has not only
           recanted his previous trial testify, that sole eyewitness has admitted, under oath,
           that he deliberately and knowingly gave false testimony that was the lynch-pin
           testimony leading,to Petitioner's original conviction. [See, attached "Ex. Al.
           These facts did not come to light until October, 2017. Fundamental Fairness
           and Due Process dictate that the procedural bar, such as the statute of
           limitations, should keep Petitioner from addressing this matter in open court.
           [See, Holliman v State, 2012 WL 3793143 (Tenn. Crim. App. 08/31/2012),




  I No T.R.A.P. 11.

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             attached "Ex. C" at page C-22 and Eblen v. State, 2013 WL 4677619 (Tenn.
             Crim. App. 08/28/2013), attached "Ex. D"at page D-2 to D-3].3

                            V. MERITS OF CORAM NOBIS REQUEST

        5.1) The purpose of the writ of coram nobis is to bring to the attention of the court
            some fact unkno wit to the court which, if known, would have resulted a
             difference judgment. [State ex rel. Carlson v State., 407 S.W.2d 165, 167(Tenn.
             1966). Accord, Pt'vne v. State, 493 S.W.3d 478,484-485(Tenn. 2016)].

        5.2) The standard of review on coram nobis cases require a "Reasonable
             Probability" that tie new evidence "may have resulted in a different judgment."
            [State v. Workman, 111 S.W.3d 221 S.W.3d 10, 17-18(Tenn. Crim. App. 2002)
             and Vasques, 221 i3.W.3d at 524-526].

        5.3) A petition for wit of coram nobis in a criminal case, which seeks relief on a
             ground of subsequently newly discovered evidence, should recite the following
             points:

                   211 The grot As and nature ofthe newly discovered evidence;

                   111 How/wh the new evidence would result in a differentjudgment;

                   fj Petitioner was "without fault in failing to present" the newly
                      discoveryd evidence at an earlier or the appropriate time; and

                   j) The reli.:=,fsought by Petitioner.

            [Payne, 493 S.W. id at 484-485]. Each of these points will be discussed in the
            next section.

       52fl The following Teague points are hereby respectfully asserted:

                       Ground./Nature of Newly Discovered Evidence:                        Sole
                       eyewitness/victim recants trial testimony that Petitioner shot at victim.
                       [See, Ex. A];

                   11). How/WIRy New Evidence Would Change Verdict: The sole
                        eyewitnr:cs/victim came forward in October, 2017 and admitted that he
                        knowing y lied under oath in his identification of Petitioner as being in
                        the car t*: at shot at said victim. [Ex. A];




  2 No T.R.A.P. 11.
  3 TR.A.P. 11 denied 01/14/2014.

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                   CZ Reason New Evidence Was Not Previously Presented: Victim did
                      not recant his testimony until October, 2017; and

                   PI Relief S iught: Case and conviction overturned and case dismissed
                      with prejadice.

                                      VI. CONCLUSION

      WHEREFORE,PREP'USES CONSIDERED; Petitioner respectfully prays for the

  Court to grant a writ of coram nobis and Case No. 2007-A-732 be dismissed with

  prejudice.

                           Th s is theLii ' day of November, 2017.

  Respectfully Submitted:-




  G _!'ry D. Sthith
                  .. -
  Attorney for Petratmer
  BPR #013420
  331 Franklin Street, Ste. 1
  Clarksville, TN 37040
  (931)647-1299


  STA IE OF TENNEr  m
  COUNTY OF 11 ote"

          1, Frederick E. Brixton, duly sworn, make oath that the facts stated in the
  foregoing are true to the bt.:t of my knowledge and belief, and is not made out of levity,
  or by collusion with the Respondent, but in sincerity and truth, for the causes mentioned
  therein knowing the penalty for Aggravated Perjury,(Tenn. Code Ann. § 39-16-703, D
  felony), and asserting the information in this petition is true to the best of my own
  personal knowledge and be,id.



                                                      Frederick E. Braxton

             SW      TO AND ;IJBSCRIBED before me,the undersigned Notary Public, on
  this the        day of November, 2017.



                                                                                         4
Case 3:20-cv-00251 Document 9-14 Filed 06/08/20 Page 46 of 102 PageID #: 914
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                                                   otary Public
                                                  My Commission Exp:


                            CERTIFICATE OF SERVICE

         I, Gregory D. Smith, do hereby certify that a copy of the foregoing has been
  mailed, postage prepaid in the U.S. Mail to the following on this the     fr'day of
  November,2017.

  Honorable Glenn R. Funk, Davidson County District Attorney
  222 Second Avenue, North
  Suite 500
  Nashville, TN 37201-1649




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                                 IN THE CRIMINAL COURT
                            FOP DAVIDSON COUNTY,TENNESSEE
                                      AT NASHVILLE
                                        DIVISON I

  FREDERICK E. BRAXT01•41                                  Case No.: 2007-A-732
       Petitioner                                          Judge Dozier

  vs

  STATE OF TENNESSEE
       Respondent

  State of Tennessee

  County of Davidson

                                            AFFIDAVIT

          James Haywood Wit,iams, Jr., an adult citizen of the United States, and resident of

  Davidson County, Tennessee. lifter being duly sworn according to law, and explained the penalty

  for Tenn. Code Ann. § 39-l6-"iO3, Aggravated Perjury, does hereby swear and state the following

  under oath:

                       Affiant is an adult citizen of the United States and resident of Davidson
                       County, Tennessee and Affiant was the alleged victim in the case of State of
                       Tennessee v. Frederick Edward Braxton, Davison Criminal No. 2007-A-732.
                       A copy of the appeal opinion for said case, CCA No. M2009-01735-CCA-
                       R3-CD, i' attached as "Attachment 1" to this affidavit.

                 2) Affiant 'v as the sole identifying witness in Frederick Edward Braxton's
                    Attemptei First Degree Murder conviction in Case No. 2007-A-732. [See,
                    Attachment 1 at I-I to 1-2]. This alleged crime occurred on February 15,
                    2006. [\ Itachment 1 at 1-1]. Frederick Edward Braxton was convicted on
                    Affiant's sole identification, corroborated by a second witness testifying he
                    heard gui4tots and saw an arm sticking out of a car shooting a gun, but the
                    witness eid not see the shooters' faces. [Attachment 1 at 1-5 to 1-6].
                    Frederick Edward Braxton was sentenced to nineteen (19) years to serve for
                    this crime . [Attachment 1 at 1-1].

                       Affiant, ,fter years of "bad karma," contacted the family of Frederick
                       Edward 1: raxton to beg forgiveness. The basis of this request for forgiveness
                       is that Affiant had knowingly and intentionally lied about identifying
                       Frederick Edward Braxton as the person who shot at Affiant on February 15,
                       2006. Affiant saw the shooters clearly, and neither person shooting at
                       Affiant as Frederick Edward Braxton. Affiant knew this fact prior to the
                       trial of C ase No. 2007-A-732, but affiant testified falsely at trial anyway.
                       Further, Affiant did not even see Frederick Edward Braxton in the car from


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                  which shots were fired at Affiant on February 15, 2006. The reasons Affiant
                  told police that Frederick Edward Braxton shot at Affiant was because
                  Affiant and Frederick Edward Braxton had "bad blood" between the two
                  men. Affiant is sorry he lied under oath.

             41 Affiant, at Affiant's request, met with Gregory D. Smith, counsel for
                Frederick Edward Braxton, on October 10, 2017 at 4:00 p.m. at the U.S.
                Courthouse Library, 8th Floor, Nashville, Tennessee. Affiant knew the
                interview was being recorded and would eventually become the basis for this
                affidavit. The only condition for this interview was the counsel bring Affiant
                a copy of Tenn. Code Ann. § 39-16-703 (Aggravated Perjury) and Tenn.
                Code Ann. § 40-2-101 (Statute of Limitations for Felonies), for Affiant's
                review. These two (2) statutes are "Attachment 2" and "Attachment 3" to
                this affidavit. Affiant reviewed both statutes prior to acknowledging that
                Affiant committed Aggravated Perjury at Frederick Edward Braxton's trial in
                Case No. 2007-A-732.

                  Affiant has not received, nor relied upon, legal advice from Gregory D.
                  Smith in making this affidavit. Affiant is fully aware that Gregory D. smith
                  solely represents Frederick Edward Braxton and has no affiliation, loyalty or
                  duty to Affiant and did not advise Affiant in any matter other than to say
                  Affiant could seek his own attorney or separate legal advice before signing
                  this affidavit.

             11 Affiant has received no promise, gift, money or any other inducement to sign
                this affidavit from Frederick Edward Braxton, nor any agent, representative,
                family member, associate or friend of Frederick Edward Braxton. Affiant
                has received nothing from any third party to sign this affidavit.

                  Affiant, knowing the penalty for Aggravated Perjury, hereby swears that
                  Affiant lied under oath in Court in Case No. 20074-A-732 regarding
                  Frederick Edward Braxton shooting at Affiant on February 15, 2006. The
                  reason Affiant is now coming forward to admit Affiant's own wrongdoing is
                  that Frederick Edward Braxton, an innocent name, has spent over a decade in
                  prison for a crime Frederick Edward Braxton did not commit. Affiant knew
                  Frederick Edward Braxton was innocent of the crime charged of Attempted
                  First Degree Murder in Case No. 2007-A-732 when Affiant testified against
                  Frederick Edward Braxton in Davison County Criminal Case No. 2007-A-
                  732. Affiant now apologizes to both the Court, Frederick Edward Braxton,
                  and the family of Frederick Edward Braxton for this wrong. Affiant wants to
                  now "make it right." That is the only reason Affiant came forward and
                  requested that this affidavit be prepared. Affiant will testify at a coram nobis
                  hearing on this matter consistent with this affidavit.

             n    The information in this affidavit is true and accurate to the best of Affiant's
                  own personal knowledge and belief and made with Affiant reviewed the
                  penalty for perjury set out in Tenn. Code Ann. § 39-16-703.

                 This is the     dayof CI)e•-74-1 ,b,
                                                    er                , 2017.




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                                        47 of 100                                           A
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                                                                      es Haywood Williams, Jr.
                                                                  Affiant

          I, James Haywood Williams, Jr., duly sworn, make oath that the facts stated in the
  foregoing affidavit is true to the best of my knowledge and belief, and is not made out of levity,
  or by collusion with any other party, but in sincerity and truth, for the causes mentioned therein
  knowing the penalty for Aggravated Perjury, (Tenn. Code Ann. § 39-16-703, D felony), and
  asserting the information contained herein is true to the best of my own personal knowledge and
  belief.



                                                                     es Haywood Williams, Jr.


         SWORNJO AND SUBSCRIBED before mc, the uudersigne                                        this the
        day of Oct&h/ be'
                        -    ,2017.

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    STATE of Tennessee v. Frederick Edward BRAXTON
             CCA, No. 2011 WL 3809773(Tenn. Crim. App. 8/26/2011)
                                        M2009-01735—CCA—R3—CD.
                                            T.R.A.P. n denied 1/10/2012

Direct Appeal from the Criminal Court for Davidson County, No.2007-A-732; Steve R. Dozier, Judge.


OPINION

THOMAS T.WOODALL,J.

*1 The Defendants, Frederick Edward Braxton and Leonard Cardell Harris. were indicted for attempted premeditated
first degree murder. Additionally, Defendant Braxton was charged with possession of marijuana, which was severed
as unrelated. Following a jury trial, Defendants were convicted of attempted second degree murder. Defendant
Braxton was sentenced to serve nineteen years in confinement as a Range II offender,and Defendant Harris was
sentenced to serve eleven years in confinement as a Range I offender. On appeal, both Defendants argue that (1) the
evidence was insufficient to support the convictions, and that the trial court erred in denying their motion for
judgments of acquittal;(2)the trial court erred in precluding Defendants from questioning the victim about being
previously shot in a home burglary and about the victim's prior arrest sixteen months before the shooting;(3) their
sentences are excessive; and (4) trial counsel were ineffective for failing to request a jury instruction on the lesser-
included offense of reddess endangerment. Defendant Braxton argues that the trial court erred in allowing the jail
custodian of records to testify in rebuttal concerning Defendant Braxton's period of confinement in the Davidson
County jail;(b) trial counsel was ineffective for (i)failing to object to the sentence or request a continuance when the
State did not provide proper notice of intent to seek enhanced punishment or provide certified copies of the
convictions;(ii) failing to amend the original notice of alibi, filed by previous counsel,to include an additional
witness;(iii) failing to investigate possible defenses and alibi witnesses;(1.v.) failure to adequately meet with
Defendant Braxton and prepare for trial. Defendant Harris argues that trial counsel was ineffective for asking the
victim about a prior altercation with Defendant Harris which opened the door to the victim's testimony about an
earlier attempt by Defendant Harris to harm or kill the victim. After careful review, we affirm the judgments of the
trial court.

State's Proof

On February 15, 2006,the victim, James Williams, was working at East Nashville Auto Sales located at 1413 Dickerson
Pike. On that day, he noticed a car traveling down the street with "one of the defendants' brother in it." The victim
did not think anything about it and continued "what[he] was doing at the time." He left work around 5:00 p.m.and
drove toward downtown Nashville on Dickerson Pike, a four-lane road, to pick up his girlfriend. As he was driving in
the left lane, the victim noticed "a green early nineties model—uh—Buick Century get behind [him] that[he] had seen
before that [he]saw Mr. Harris in, maybe three weeks before the shooting." The victim testified that he closed his
sunroof "thinking that if[he]shut the sun roof the car would be dark and they wouldn't know who was in it, that they
wouldn't open no fire on the car." He then moved into the right lane of Dickerson Pike in an attempt to get to the
interstate and lose the other vehicle. The victim testified that when he stopped in traffic, the green car pulled up
beside him with "two men hanging out the car shooting." He recognized the two men as Defendant Braxton and
Defendant Harris whom he had known since the early 1990's,and their relationship was one of"bad blood." Although
there were four people in the vehicle, the victim could not identify the other two. He said that Defendant Harris was in
the front and Defendant Braxton was in the back. Both men were on the passenger's side of the car.

*2 Upon realizing that he had been shot, the victim played dead and after the Defendants left, he drove to the AM /
PM Market on North First Street and asked a lady there to call 9-1-1. He testified that he had been carrying a .40
caliber handgun at the time of the shooting that he tossed In a trash can before entering the market.The victim was
then transported by ambulance to Vanderbilt Medical Center where he was immediately taken into surgery. The victim
testified that one of the bullets struck him in the upper arm. He said:




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 It went through the back and came out there. They had to put a metal plate right here ... straight through in and out
 right here. It went through my—one bullet went through my hand and lodged in my wrist, one in my finger and one in
 my mouth. And,it knocked my teeth out.

The victim testified that he had surgery on his finger because it was "hanging off," and the bullet that entered his face
is still lodged under his nose. He said that he lost six teeth,and there were sixteen bullet holes in his car as a result of
the shooting.

The victim testified that he received a visit from Detective Bradley at the hospital shortly after coming out of surgery,
and he told Detective Bradley that he did not want to talk about what happened. The victim said that he intended to
handle the situation himself but changed his mind after speaking with his mother who told him to think of his family
and the pain that he would cause them by taking matters into his own hands. The victim testified that he spoke with
Detective Bradley a second time and told him that Defendants Braxton and Harris shot him.Detective Bradley later
returned to the hospital with photographic lineups, and the victim identified each Defendant. The victim admitted that
he had previously been convicted of several criminal offenses. He further admitted that because he was a convicted
felon, he broke the law by possessing the 40-caliber handgun at the time of the shooting.

The victim testified that after one particular court appearance on August 18. 2006, he saw Defendant Harris outside
the courthouse. He made eye contact with Defendant Harris who said, "I'm gonna get you boy. So, be ready." He said
that Defendant Harris then walked down the drive talking to his family and making gun-like gestures.

On an occasion prior to the shooting which is the subject of this case, the victim testified that in October of 2005, he
arrived home around 1:30 or 2:00 a.m., and as he was walking through the breezeway to his residence, Defendant
Harris and another individual opened fire on him. One of the bullets struck him in the foot. The victim testified that he
shot at a third man who ran from the side of the building. He then hid under a neighbor's Jeep until Defendant Harris
and the other men left. The victim testified that his sister called police, and when they arrived, he told them that
everything was fine and that he would "handle it." lie also told police that he did not know who shot at him. He said
that he did not want police searching his house because he had two firearms on his person,and there were additional
assault rifles in his home.The victim testified that he had driven by Defendant Harris' beauty shop prior to the
incident

*3 Kenneth Miller testified that he left work on February 15, 2006,and dropped a passenger off at Dunlap and Kyle
Tire on Dickerson Road. As he was sitting at a traffic light, he heard gunshots nearby. Mr. Miller testified that he
"located two cars in [his] side mirror going in the opposite direction.The one car pulled up next to the other car and-
uh -they started firing again." He further testified:

Uh—when they fired again, I was watching in—in my side mirror. Uh—and, uh—1 saw—uh—either a black sleeve, or a
black arm, holding a black semi-automatic. I personally own a Tarurus (phonetic)(sic] nine [millimeter]. And,it had
the same style and size as that. And, I could—I watched the hammer slide, ejecting the shells, and in the blink of an
[eye], there was just pieces of that car were just exploding.

Mr. Miller stated that he saw the arm protruding out of the passenger's side of the car. He then drove a short distance
and called police. He was assured that officers were on the scene, and he drove back and talked to an officer there. Mr.
Miller testified that during the shooting it sounded "like emptying a clip and reloading a clip and emptying it again."
He said that when the shooting "started, it started." Mr. Miller did not know the model of the car involved in the
shooting. He said that it was a "sedan-type" vehicle.

Detective Michael Wilson of the Metropolitan-Nashville Police Department testified that he was working as a
patrolman assigned to the East Precinct Crime Suppression Unit on February 15, 2006_ He and Officer Jason Smith
were standing on Joseph Avenue and Evanston late that afternoon and heard multiple gunshots. It sounded as though
two different weapons were fired, and he could tell that the shots came from the Dickerson Road area. Detective
Wilson and Officer Smith got into their cars and drove south on Dickerson Road to Cleveland Street. Detective Wilson
testified that he pulled into the parking lot of the AM/PM Market and saw a small car parked in front of the gas
pumps with blood inside it and twelve to fifteen bullet holes in the car on the driver's side. He walked inside the
market and saw the victim, who was bleeding. One of the bullets had knocked out the victim's front teeth. Detective
Wilson was unable to get much information from the victim before he was taken away by ambulance due to the
trauma to his mouth.




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Beiba Wilson,the victim's mother,testified that she went to Vanderbilt Medical Center on February 15 or 16, 2006,to
see the victim. She did not remember if the victim said who shot him, but he was talking about retaliation. Ms. Wilson
told him to think of his kids and not take matters into his own hands.

Officer Woodrow Ledford testified that he responded to the shooting on Dickerson Road. He drove to the AM/PM
Market and was then instructed to move further up Dickerson Road around Dunlap and Kyle Tire to look for evidence.
The area had businesses along the entire street, and there were several parking lots. Because he was there around 5:00
p.m., the area was "fairly congested" with traffic. Officer Ledford testified that the area had two northbound and two
southbound lanes, was two to three miles from downtown Nashville, and was heavily populated. He said that there
was not an actual entrance ramp to the interstate from Dickerson Road. but it could be accessed from Spring Street.

*4 Officer Ledford testified that when he pulled into the parking lot of Dunlap and Kyle Tire, a gentleman handed him
"12 or so" spent shell casings that he had picked up.There was also a mirror from a vehicle. Officer Ledford also
picked up five or six shell casings himself. He believed some of the casings were 40-caliber and some were smaller and
appeared to be nine-millimeter. Officer Ledford gave the shell casings to another officer.

Officer Tommy Simpkins of the Metropolitan-Nashville Police Department, Identification Section,testified that he
was dispatched to the AM/PM Market on February 15, 2006, and viewed a black,four-door Toyota Corolla. There were
several bullet strikes in the vehicle, and he saw some projectile and projectile pieces. Officer Simpkins testified that
there were no shell casings inside the Corolla. The windows were up and for the most part remained intact. There were
boles on the front driver's door window and the rear driver's side window,and a bullet wasfound in the door frame
of the driver's side. Officer Simpkins collected the victim's clothing, and a "slug" was retrieved from the trunk. He
also found a tooth from the victim on the ground outside of the car. Officer Simpkins testified that he was given
twelve spent shell casings by Officer Ledford. Seven of the casings were forty-caliber and five were nine-millimeter.

Detective Terrence Bradley testified that paramedics were treating the victim when he arrived at the AM/PM Market,
and he followed the ambulance to the hospital. He spoke briefly with the victim who gave him a description of what
happened. Detective Bradley testified that the victim gave him the names of Defendant Braxton and Defendant Harris.
He said that the victim was in a lot of pain and did not want to talk any more. Detective Bradley then put together a
photographic line-up and showed it to the victim at the hospital. The victim identified Defendant Braxton, but could
not write because his hands were immobilized. At that time, Detective Bradley had not located anything on Defendant
Harris. He later found Defendant Harris in the system and put together another line-up. The victim identified
Defendant Harris. Detective Bradley then obtained warrants on Defendants Harris and Braxton.

On cross-examination. Detective Bradley testified that he did not recall asking the victim who shot him while he and
the victim were at the market. He said that he stopped talking to the victim at the hospital because the victim became
uncomfortable. He did not remember the victim saying that he wanted to take care of things himself, and he probably
saw the victim three times at the hospital.

Defendant Harris' Proof

Willie Sweat, Defendant Harris'step-son, testified that he was living with his mother and Defendant on February 15,
2006. He said that he arrived home from school around 3:30 p.m. and saw Defendant Harris in the restroom vomiting.
Mr. Sweat then walked into his room and shut the door. He said that Defendant was at the house all night. Mr. Sweat
testified that he could remember the date because it was the day after Valentine's Day,and they had all gone to Chili's
to eat with a large group of people.

*5 On cross-examination, Mr.Sweat testified that Defendant Harris was wearing a sleeveless t-shirt and underwear at
the time. He said that his mother arrived home around 4:00 or 5:00 pan. Mr.Sweat testified that he ate supper in his
room, but saw Defendant Harris get some soup. He had no idea what time it was. Mr.Sweat admitted that he did not
testify on Defendant Harris' behalf at the preliminary hearing. He further admitted that he had never told police or
anyone at the district attorney's office that Defendant Harris was at home at the time of the shooting.

Pamela Sweat Harris testified that she was working on February 15, 2006, and arrived home by 4:30 p.m. She said that
Defendant Harris walked out of the kitchen complaining that his stomach was hurting, and he told her that he had
been vomiting. Ms. Harris testified that Defendant Harris took some medication and walked upstairs. She said that he
was at home all night. Ms. Harris testified that she remembered the date because they had gone to Chili's on
Valentine's Day with a large group of people.



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On cross-examination, Ms. Harris testified that Defendant Harris was wearing a long t-shirt with short sleeves and
jeans when she got home.She said that she did not know when Defendant Harris was arrested, and she did not know
when the preliminary hearing was held.She also did not help him obtain legal counsel. Ms. Harris testified that she did
not speak with Defendant Harris' attorney before the preliminary hearing: however,she thought that she told him at
some point that Defendant Harris was at home with her at the time of the shooting.

Defendant Braxton's Proof

Derrica Christman testified that she was living in the Parkway Terrace Apartments in February of 2006. She met
Defendant Braxton in the summer of 2005. and he frequently hung around the apartment complex. Ms. Christman
testified that she remembered February 15, 2006, because it was the day after Valentine's Day, and her daughter had
attended a dance at Stratford High School. Her daughter only attended Stratford for one year. Ms. Christman testified
that her daughter was going to ask Defendant Braxton for a ride to the dance, but Ms.Christman's brother took her
instead. She said that the following day, February 15, Defendant Braxton asked how the dance went.

Ms. Christman testified that she saw Defendant Braxton and several others shooting dice near her back porch "no
later than" 5:15 on February 15, 2006. She was certain of the time because her children usually arrived home from
daycare between 5:15 and 6:00 p.m ., and she had to go out and get them off the bus.

On cross-examination, Ms. Christman testified that four or five people usually played dice at her back porch, and
Defendant Braxton was frequently there. She said that she and Defendant Braxton had a conversation about her
daughter's dance on February 15, 2006,and she saw him on February 13 and 14, but not February 11 and 12. Ms.
Christman testified that she also saw Defendant Braxton on February 5 and 6, 2006,and she remembered seeing him
in the area around her home on February 5. Ms.Christman said that she did not learn of the shooting until April of
2006 when she was trying to find out why Defendant Braxton was in jail. At the time, she did not tell police or anyone
at the district attorney general's office that they had the wrong person. She said that she came forward in October of
2006 after speaking with Defendant Braxton. Ms.Christman acknowledged that her apartment was located near the
700 to 800 block of Dickerson Road.

State's Rebuttal Proof

*6 On rebuttal, Derrica Christman was recalled as a witness. She testified that if February 6, 2006, was a weekday,she
saw Defendant Braxton after 5:00 p.m.She also saw him on February 13, 2006, between 5:00 and 5:15 walking from
the building next door to hers. He was wearing the same jacket that she saw him wearing on February 15, 2006. On
cross-examination, Ms. Christman said that she last saw Defendant Braxton eight days before February 13, 2006,and
she was not sure that she saw him on February 6, 2006. She was certain that she saw him on February 13,2006.

Wayne Miller, Records Technician for the Davidson County Sheriff's Office. testified that Defendant Braxton was in
the custody of Sheriff's Office during February of 2006. He entered the facility at 2:12 p.m.on February 6, 2006, and
he left at 4:27 p.m. on February 13, 2006.

Alfred Gray, an investigator for the district attorney general's office, testified that he spoke with Ms. Christman
concerning Defendant Braxton's case. Ms. Christman told him that she remembered Defendant Braxton being outside
of her home on the night of the shooting.She remembered the incident because it happened the day after Valentine's
Day,and Defendant Braxton had been released from jail the day before Valentine's Day. Ms.Christman did not
mention anything about her daughter's dance. Investigator Gray Indicated that Ms.Chrishnan's residence at Parkway
Terrace was located a'little less than two miles from the intersection of Grace and Dickerson Road where the shooting
took place.

Analysis

I. Sufficiency of the Evidence

Both Defendants challenge the sufficiency of the evidence to support their convictions for second degree murder
because they assert that the convicting evidence does not show that they "knowingly" attempted to kill the victim.
They also argue that the trial court erred by refusing to grant their motions for judgment of acquittal because the
victim's testimony contained "Inaccuracies."




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When a defendant challenges the sufficiency of the convicting evidence, we must review the evidence in a light most
favorable to the prosecution in determining whether a rational trier of fact could have found all the essential elements
of the crime beyond a reasonable doubt.Jackson v. Virginia, 443 U.S. 307,319,99 S.Ct. 2781,2789,61 L.Ed.2d 560
(1979). Once a jury finds a defendant guilty, his or her presumption of innocence is removed and replaced on appeal
with a presumption of guilt. State v. Black,815 S.W.2d 166,175 (Tenn.1991). The defendant has the burden of
overcoming this presumption, and the State is entitled to the strongest legitimate view of the evidence along with all
reasonable inferences which may be drawn from that evidence. Id.; State v. Tuggle,639 S.W.2d 913. 914 (Tenn.1982).
The jury is presumed to have resolved all conflicts and drawn any reasonable inferences in favor of the State. State v.
Sheffield,676 S.W.2d 542,547(Tenn.1984). Questions concerning the credibility of witnesses, the weight and value to
be given the evidence, and all factual issues raised by the evidence are resolved by the trier of fact and not this court.
State v. Bland,958 S.W.2d 651,659(Tenn.1997).These rules are applicable to findings of guilt predicated upon direct
evidence, circumstantial evidence, or a combination of both direct and circumstantial evidence. State v. Matthews,805
S.W.2d 776, 779(Tenn.Crim.App.1990).

*7 As for the trial court's denial of Defendants' motions for judgment of acquittal, both Defendants chose to present
evidence in their defense, and therefore have waived the right to specifically appeal the denial of their motions for
judgement of acquittal. Finch v. State, 226 S.W.3d 307, 317(Tenn.2007); State v. Mathis, 590 S.W.2d 449,453
(Tenn.1979). In any event, this Court has noted that, "Iiin dealing with a motion for judgment of acquittal, unlike a
motion for new trial, the trial judge is concerned only with the legal sufficiency of the evidence and not with the
weight of the evidence." State v. Hall, 656 S.W.2d 60, 61 (Tenn.Crim.App.1983).The standard for reviewing the denial
or grant of a motion for judgment of acquittal is analogous to the standard employed when reviewing the sufficiency
of the convicting evidence after a conviction has been imposed. State v. Bail, 973 S.W.2d 288,292
(Tenn.Crim.App.1998); State v. Adams,916 S.W.2d 471, 473 (Tenn.Crim.App.1995). Thus, we will address Defendants'
assertions that the evidence adduced at trial was insuffident to support the convictions.

Second degree murder is defined as "(a] knowing killing of another." T.C.A.3 39-13-210(a)(1). It is also a ""result-of-
conduct offense," and "RIhe statute focuses purely on the result and punishes an actor who knowingly causes
another's death." State v. Ducker,27 S.W.3d 889, 896 (Tenn.2000). Thus, as pertinent here,a person acts "knowingly"
with respect to the result of the person's conduct when the person is aware that the conduct is reasonably certain to
cause the result. Id. 5 39-13-302(b). A person commits criminal attempt when that person "(a)cts with intent to
complete a course of action or cause a result that would constitute the offense, under the circumstances surrounding
the conduct as the person believes them to be, and the conduct constitutes a substantial step toward the commission
of the offense." Id.9 39-12-101(a)(3). For conduct to be a "substantial step," a person's "entire course of action" must
be "corroborative of the intent to commit the offense." Id. 9 39-12-101(b)."Intent, which can seldom be proven by
direct evidence, may be deduced or inferred by the trier of fact from the character of the assault, the nature of the act
and from all the circumstances of the case in evidence. State v. Inlow. 52 S.W.3d 101, 105 (Tenn.Crim.App.2000); see
also State v. Holland,860 S.W.2d 53,59(Tenn.Crim.App.1993).

Viewing the evidence in a light most favorable to the State, the proof shows that Defendants Harris and Braxton
knowingly shot into the victim's car numerous times with the intent of killing him. The victim testified that he left
work around 5:00 p.m.on February 15, 2006,and noticed "a green early nineties model—uh—Buick Century get
behind [him]that[110 had seen before that [he] saw Mr. Harris in, maybe three weeks before the shooting." The
victim moved into the right lane of Dickerson Pike in an attempt to get onto the interstate and avoid the other vehicle;
however,when he stopped his car in traffic, the green car pulled up beside him with Defendant Braxton and
Defendant Harris hanging out of the car shooting from the passenger's side. Bullets penetrated the victim's vehicle
and struck him in the left upper arm,left lower arm, right hand,finger, and face. The bullet that struck the victim in
the face knocked out six of his teeth and remains lodged under his nose.There were sixteen bullet holes in the
victim's car as a result of the shooting.The victim spoke with Detective Bradley and told him that Defendants Harris
and Braxton shot him. He also identified them from a photographic line-up.

*8 The victim's testimony was corroborated by Kenneth Miller who testified that he was sitting at a traffic light on
Dickerson Road on February 15,2006,and heard nearby gunshots. He looked Into his side mirror and saw two cars
pulled up next to each other. Mr. Miller testified that he saw a black sleeve or arm protruding out of the passenger's
side of one of the cars holding a black semi-automatic handgun. He saw the weapon fired into the other vehicle. He
said,"And I could—I watched the hammer slide, ejecting the shells, and in the blink of an (eye], there was just pieces




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of that car were just exploding." Mr. Miller further testified that during the shooting it sounded "like emptying a clip
and reloading a clip and emptying it again."

Based on our review, we find that a rational trier of fact could conclude beyond a reasonable doubt that Defendants
Harris and Braxton knowingly attempted to kill the victim. Moreover,the jury resolved any inaccuracies or issues with
credibility in favor of the State.

H. The Victim's Prior Criminal History

Defendants both contend that the trial court erred in preduding them from questioning the victim on cross-
examination about(1) an incident that occurred twelve years earlier when he was shot during a home burglary and (2)
about his prior arrest for being in possession of two pistols and a thirty-round magazine while wearing a bullet proof
vest.

Our supreme court has recognized that"Mile Sixth Amendment and the Due Process Clause of the Fourteenth
Amendment clearly guarantee a criminal defendant the right to present a defense." State v. Brown,29 S.W.3d 427.
432(Tenn.2000). A defendant's constitutional right to confront the witnesses against him includes the right to
conduct meaningful cross-examination. State v. Wyrick,62 S.W.3d 751. 770(Tenn.Crim.App.2001). Denial of the
defendant's right to effective cross-examination is"'constitutional error of the first magnitude'"and may violate the
defendant's right to a fair trial. State v. Hill, 598 S.W.2d 815,819(Tenn.Crim.App.1980)(quoting Davis v. Alaska.415
U.S. 308,318,94 S.Ct. 1105, 1112, 39 LEd.2d 347(1974))."The propriety, scope, manner and control of the cross-
examination of witnesses, however, rests within the sound discretion of the trial court." State v. Dishman,915 S.W.2d
458,463(Tenn.Crim.App.1995); Coffee v. State, 188 Tenn.1, 216 S.W.2d 70Z,703(1948). Furthermore,"a defendant's
right to confrontation does not predude a trial court from imposing limits upon cross-examination which take into
account such factors as harassment, prejudice,issue confrontation, witness safety, or merely repetitive or marginally
relevant interrogation." State v. Reid,882 S.W.2d 423,430(Tenn.Crim.App.1994).

In State v. Brown, our supreme court set forth the necessary analysis when determining whether the constitutional
right to present a defense has been violated by the exclusion of evidence. Brown,29 S.W.3d at 433-434. Spedfically,
we must consider "whether:(1) the excluded evidence is critical to the defense;(2) the evidence bears sufficient
indicia of reliability; and (3) the interest supporting exclusion of the evidence is substantially important." Id. at 434.

*9 "[W]hether excluded evidence is critical to a defense is a fact-specific inquiry." State v. Flood, 19 S.W.3d 307, 317
(Tenn.2007)(citing Chambers v. Mississippi, 410 U.S. 284, 303,93 S.Ct 1038, 1049, 35 LEd.2d 297(1973))."Our
supreme court has suggested that for evidence to be considered critical to the defense, the evidence must have some
probative value and 'exclusion of the evidence would undermine an element of a particular defense.'"State v.
Cyntoia Denise Brown. No. M2007-00427-CCA-R3-CD,Z009 WL 1038275, at(Tenn.Crlm.App., at Nashville, Apr. 20,
2009), perm. to appeal denied (Tenn.Sept. 28, 2009)(quoting Flood, 219 S.W.3d at 317). Regarding the third Brown
factor, the interests supporting exclusion of the evidence, a criminal defendant's right to confront and cross-examine
witnesses against her or him is limited by Rule 402 of the Tennessee Rules of Evidence in that neither party "may
cross-examine a witness on matters that are irrelevant." State v. Williams, 929 S.W.2d 385, 389(Tenn.Crim.App.1996).
As our supreme court has observed,"the right to confront witnesses is satisfied if defense counsel receives wide
latitude at trial to cross-examine, because the confrontation dause only guarantees'an opportunity for effective
cross-examination, not cross-examination that is effective in whatever way,and to whatever extent, the defense may
wish.'"State v. Middlebrooks,840 S.W.2d 317, 332-33(Tenn.1992), superceded by statute on other grounds as stated
in State v. Stout, 46 S.W.3d 689. 70S (Tenn.2001).

Relevant evidence is defined as "evidence having any tendency to make the existence of any fact that is of
consequence to the determination of the action more probable or less probable than it would be without the
evidence." Tenn. R.Evid.401. Under Tennessee Rule of Evidence 402, irrelevant evidence is not admissible. Relevant
evidence is generally admissible but may be excluded if its probative value is substantially outweighed by the danger
of unfair prejudice. See id.402,403. A trial court's evidentiary ruling based on relevance is reviewed on appeal for an
abuse of discretion. See State v. Dubose,953 S.W.2d 649,652 (Tenn.1997).

In this case, prior to trial, Defendant Harris filed a "Motion in Limine/Notice of the Defense Counsel's Intent to
Introduce the Prior Criminal History of James Williams." The motion listed seven "prior Convictions or Prior Bad
Acts" including two for unlawful possession of a weapon and "Weapon commission of Offense While Wearing a Body




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Vest." The motion also contained the following statement:"This Notice is given pursuant [to] Tennessee Rules of
evidence 609 and 405 for impeachment purposes and in order to adequately defend Mr. Harris."

At a pre-trial hearing on the motion,the State challenged the admissibility of several of the convictions and bad acts,
and defense counsel agreed to remove the claims of domestic assault, reckless endangerment,and one claim of
unlawful possession of a weapon because they were not criminal convictions. Defense counsel also agreed that the
daim of "Weapon commission of Offense While Wearing a Body Vest" was not a conviction. Concerning the
admissibility of that prior act however,the following exchange took place at the hearing:

*10 THE COURT: Is this somehow still admissible?

[DEFENSE COUNSEL]:Yes, it is, Your Honor. It goes to the Defendant's reputation—

THE COURT:The Defendant's?

[DEFENSE COUNSEL]:I'm sorry, the victim's reputation—alleged victim's reputation. And,also, I think it's substantive
proof in this matter that other people tried to kill him,simply because I think it's consistent with (indiscernible) that
somebody roams around the—the city of Nashville—

THE COURT: Okay. You've thrown about five things, potential rules, out one, you're saying that he had potential

(DEFENSE COUNSEL]:Well

THE COURT: potential what? What are you

[DEFENSE COUNSEL]:—It just demonstrates to me, Your Honor, that other people that maybe. are unknown to the
State—

THE COURT:The fact that he's arrested for wearing a body vest?

[DEFENSE COUNSEL]: No, I think it's consistent with the fact that somebody's attempting to kill him. And I just—it
would just be estab—

THE COURT: Okay. Do you have proof of some third-party person that's after Mr.Williams?

[DEFENSE COUNSEL]: I do not, Your Honor. And I'm—of course, it's our contention that Mr. Harris is certainly not one
of them. However, I mean, I just rest on the fact that—

THE COURT: Okay. Well, then explain to me how an arrest for wearing—carrying a weapon—I don't even know what
offense this is—but you've got weapon, commission of offense while wearing a body vest, has some relevancy to
whether or not there was an attempted murder perpetrated against him by Mr. Harris or Mr. Braxton.

[DEFENSE COUNSEL]:I just think that that is conduct by the victim that's consistent with the fact he's shooting—he's
being shot at by other people, that he feels like It's in his best interest to wear a bullet-proof—or body armor.That's—

THE COURT: I've not any proof about people shooting at him. Do you have that?

[DEFENSE COUNSEL]: No, I don't.

THE COURT: Do you wanna (sic) proffer—

[DEFENSE COUNSEL]: No,I do not, Your Honor.

Counsel for Defendant Braxton then argued that the victim's arrest in 2004 for being in possession of two weapons.
one with a thirty-round dip and with the serial number removed, while wearing a "body vest" and him being
previously shot in the back during a burglary demonstrated that the victim "is a guy with enemies, who knows he has
enemies; and it makes It more likely that it is someone else who shot him on February the fifteenth of two-thousand
six."

Prior to the victim's testimony at trial, In a jury-out hearing, the victim testified concerning his conviction in
November of 2004 of being a felon in possession of a weapon. He admitted that when he was arrested, he was In
possession of two handguns, one of which was a Mock with a thirty-round dip. He was also wearing a bullet-proof



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vest. The victim testified that he was shot in the back twelve years earlier, which required surgery. He said that neither
Defendant Braxton nor Defendant Harris were involved in the shooting. Counsel for Defendant Harris then stated to
the trial court:"It's not character evidence that I'm going for. It's taken—uh—as a whole,all the events, shows that
Mr. Williams leads a dangerous life style." Counsel further stated:"You don't go around wearing body armor unless
you think somebody is going to shoot you." The following exchange then took place between the trial court and
counsel for Defendant Harris:

*11 THE COURT: But, you're not arguing credibility purposes. You're wanting to introduce other things other than 609
convictions. You just said it's for substantive evidence.

[DEFENSE COUNSEL]: Well, Judge,      don't think there is any question when it's a defendant the rules are different. It
would fall under 404(b)and,if those convictions or different incidents were to go to show—go to show not
propensity, but,—

THE COURT: Okay.

[DEFENSE COUNSEL]:—motive or—

THE COURT: That might be true. But,Isn't it all character?

[DEFENSE COUNSEL]: Under 404(b), would it be? I—

THE COURT: No. I mean, you're wanting to disparage the character of Mr. Williams.

[DEFENSE COUNSEL]: I don't think that's what I'm trying to do. I wouldn't put it that way. I'm trying to say that—

THE COURT:So, you're not wanting to get up in closing arguments in front of the jury and say look at all this man's
convictions. You think—there are fifty people after him, we could assume. And, he wants to suddenly point his finger
at my dient. You're not wanting to argue that.

[DEFENSE COUNSEL]: I don't think that goes to character, Judge. I think it goes to who could have shot him.

THE COURT:Okay. Who could have?

[DEFENSE COUNSEL]:Someone else and that's all that's Important.

THE COURT: Based on his carrying weapons.

[DEFENSE COUNSEL]: Well, I mean,if you put It that simply—

THE COURT: And, the convictions.

[DEFENSE COUNSEL]:—that wouldn't work_ But,—carrying weapons convictions, being shot, wearing body armor.

The trial court then held that evidence of the victim being shot twelve years earlier and evidence of his possession of
weapons while wearing body armor was not relevant:

In terms of the proffer involving Mr. Williams and the body armor and want to get outside the fact of a conviction and
get into the facts surrounding those convictions, I think the convictions speak for themselves,first of all, in terms of
multiple, three I think,felony possessions of a weapon aggravated assaults, attempted--attempt to commit
aggravated robbery ... give the jury what-ever view they might see of Mr. Williams through those convictions, speak
for themselves, especially when the body armor issue that Mr.Sprouse is wanting to get into occurred sixteen months
prior to this Incident. it's not like it was six days or six months. It's sixteen months, which lessens the probative value
what it is being offered for. I'm caught wearing body armor in 2004, therefore, somebody must be after me in 2006. I
just don't see the relevancy of that, nor do I see the relevancy of asking Mr. Williams if he has ever been shot before,
twelve years prior to this particular allegation being made.

Rule 404(a)of the Tennessee Rules of Evidence generally provides that "[elvidence of a person's character or a trait of
character is not admissible for the purpose of providing action in conformity therewith." Nonetheless, evidence of a
victim's character may be admissible under certain drcumstances. For example, under Rule 404(a), the defendant in a
criminal case may offer "evidence of a pertinent trait of character" of the victim."Evidence is called 'pertinent' when



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it is directed to the issues or matter in dispute,and legitimately tends to prove the allegations of the party offering
it." Black's Law Dictionary 1145 (6th ed.1990). In other words, to qualify as "pertinent." the character evidence must
be relevant." Id.

*12 In the present case, we conclude that the trial court did not err in excluding evidence of the victim being shot
during a burglary twelve years prior to the shooting in this case nor did the court err in excluding evidence concerning
the victim's wearing a bullet-proof vest sixteen months prior to the shooting. Although the trial court did not
specifically state that the probative value of this evidence was outweighed by its prejudicial effect, such was implied
in the court's ruling. Any connection between Defendants' claim that someone else shot the victim and the victim
being shot twelve years earlier and his wearing of a bulletproof vest sixteen months earlier is too tenuous for the
evidence to be considered critical to the defense. Defendants are not entitled to relief on this issue.

III. Testimony Regarding Defendant Braxton's Prior Incarceration

Defendant Braxton argues that the trial court erred in allowing Wayne Miller of the Davidson County Sheriffs Office,
Records Division,to testify in rebuttal that he was checked into the Davidson County Jail at 2:12 p.m.on February 6,
2006,and that he was released at 4:27 pan. on February 13, 2006. He contends that the testimony "was unduly
prejudicial and its probative value was outweighed by its prejudicial effect and violated Rule 403 of the Tennessee
Rules of Evidence."

As previously discussed, Tennessee Rule of Evidence 401 provides that"'[r]elevant evidence" means evidence having
any tendency to make the existence of any fact that is of consequence to the determination of the action more
probable or less probable than it would be without the evidence." Generally, relevant evidence is admissible, while
irrelevant evidence is inadmissible. Tenn. R. Evid.402. However, relevant evidence may be excluded if its probative
value is "substantially outweighed by the danger of unfair prejudice, confusion of the issues, or misleading the jury."
Tenn. R. Evid.403."The admissibility of evidence under Rule 403 of the Tennessee Rules of Evidence is a matter within
the trial court's discretion and will not be reversed on appeal absent an abuse of that discretion." State v. Biggs, 218
S.W.3d 643,667 (Tenn.Crim.App.2006)(citing State v. Dubose, 953 S.W.2d 649,652(Tenn.1997)). We also point out
that rebuttal evidence "is that which tends to explain or controvert evidence produced by an adverse party."
Cozzolino v. State, 584 S.W.2d 765, 768 (Tenn.1979). It is also within the trial court's sound discretion to allow or
reject rebuttal evidence. State v.Green, 613 S.W.2d 229, 234(Tenn.Crim.App.1980).

During the trial Derrica Christman, an alibi witness for Defendant Braxton, testified during direct examination that
she saw Defendant Braxton shooting dice on her back porch no later than 5:15 p.m. on February 15.2006,the day that
the victim was shot. During cross-examination by the State,the following testimony was elicited from Ms. Christman:

*13 Q. When was the last time you had seen [Defendant Braxton] prior to February 15th 2006?

A. February 14th.

Q.Okay. And, prior to February 14th?

A. February 13th.

Q. You had seen him on the thirteenth. Had you seen him on the twelfth?

A. No.

This was the extent of Ms. Christman's testimony during Defendant Braxton's proof which dealt with when she had
observed Defendant Braxton on February 5,6, or 13.

After both Defendants had submitted their proof, the State called Ms. Christman as a rebuttal witness to further
testify as to when she had last seen Defendant Braxton prior to February 15,2006. Her entire testimony in rebuttal is
as follows:

[DIRECT EXAMINATION BY STATE]

Q. Ms. Christman, uh—the last time you testified was a little while ago, you mentioned that you saw Mr. Braxton on
February 6th—uh—of 2006,is that correct?




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A. Uh—huh.

Q. Do you remember if that was in the morning,the afternoon or the night time?

A. Had to be like in the evening, afternoon, evening.

Q. Okay. When you say the evening, what time would you put that to be the best of your memory?

A. Uh—five or so, after five.

Q. And,it would be—you base that time on the same thing, about when your children get home from school. So, on
February 6th you would have seen him that evening after your children had been off the bus?

A. If—

Q.Is that a yes?

A. If that was a week day, then, yes.

Q. Okay. Well, do you remember what February 6th was?

A. No.

Q. But, to the best of your recollection it was around five o'dock, correct?

A. Yes.

Q. Okay. And, did you also say that you saw him on the thirteenth of February,—

A. Yes.

Q. —of 2006?

A. Uh-huh.

Q. And,about what time did you see him?

A. Uh—it was.- between five and five fifteen.

Q. And, what was he doing when you saw him on the thirteenth?

A. He was coming from the next building beside my building.

Q.Okay. And,what was he wearing at the time?

A. He was—uh—either brown or green jacket with patches on it.

Q. Now,we're talking not on the fifteenth. We're talking on the thirteenth.

A. Yeah.

Q.Okay. And, he was wearing that same outfit?

A. Uh-huh.

Q.Okay. And.—

A.Same jacket at least.

Q. —that would have been around five fifteen on—

A.Yes.

Q.—thirteenth of February,2006?




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A. Uh-huh.

Q. And,to your knowledge does he have any—he doesn't live where you are, does he?

A. No.

[CROSS EXAMINATION BY DEFENDANT BRAXTON'S COUNSEL]

Q. On cross-examination, your last cross-examination, uh—you were asked when the last time you saw Mr. Braxton
was previously to the thirteenth?

A. Yes.

Q.Do you know when that was?

A. It was ... it was more than a week. It was maybe ...

Q. Do you know when it was?

A. Maybe eight days before the thirteenth.

Q.Okay. Let me     do you remember specifically? Is there anything special about that day that would make you
remember it?

*14 A. Other than that was the last time I had seen him until I saw him a week or so later.

Q. Okay. So, you wouldn't swear by the fact that it was the sixth?

A. No. I'm not sure.

Q. Okay:thank you.

In response to Ms. Christman's testimony, the State called Wayne Miller of the Davidson County Sheriff's Office,
Records Division. Counsel for Defendant Braxton objected on the ground that while possibly relevant, Mr. Miller's
testimony that Defendant Braxton was taken into the custody of the Davidson County Jail at 2:12 p.m. on February 6.
2006,and he was released on February 13, 2006,at 4:27 p.m.should not have been admitted because it was more
prejudicial than probative. Specifically,the following colloquy occurred between Defendant Braxton's counsel and the
trial court:

THE COURT:The second time?

[DEFENSE COUNSEL]: Yes,Your Honor, the second time. Uh—but,keep in mind—

THE COURT: What did she say during her testimony when you called her?

[DEFENSE COUNSEL]: What did she say during the tes—when I called her the first time?

THE COURT: Uh—huh.

[DEFENSE COUNSEL]: During my direct?

THE COURT: No, her full testimony.

[DEFENSE COUNSEL]: During her cross-examination she said she had seen him on February 6th but, her testimony was
not clear ... it was not precise. From--uh—my recollection of it, she—uh—was not—it was February 4th or February
5th or February 6th she was not sure. And, that is not—

THE COURT:Is that what she said?

[DEFENSE COUNSEL]: I don't know—uh—that is what I remember it is. I'm not one hundred percent sure of that.

THE COURT:Okay. I've got It that she saw Mr. Braxton on two five and two six in the area around her house. When
she was called back by the State. she said it was February—on February 6th had to be in the evening after five p.m.




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Then, you got back up on recross and said, are you really wanting to swear that you saw—that you saw him on two
six? And,she said, well, I don't know, I'm not sure.

The transcript reflects that Ms. Christman testified during Defendant Braxton's case-in-chief that she saw Defendant
Braxton "maybe February 5th or the 6th."(emphasis added).This was the testimony the State was entitled to rebut in
its rebuttal proof; the State was not entitled to rebut the more "definitive" testimony of seeing Defendant Braxton on
February 6th during her testimony as a rebuttal witness for the State. This Court has explained:

The phrase "rebuttal evidence" may be defined as evidence "which tends to explain or controvert evidence produced
by an adverse party." Cozzolino v. State, 584 S.W.2d 765,768 (Tenn.1979). This phrase encompasses "[a]ny
competent evidence which explains or is a direct reply to, or a contradiction of, material evidence introduced" by an
adverse party. Nease v.State,592 S.W.2d 327,331(Tenn.Crim.App.1979). Rebuttal evidence is properly admitted for
the purpose of impeaching a witness through the use of a prior inconsistent statement. Monts v. State, 218 Tenn.31,
57-58,400 S.W.2d 722,733-734(1966); Gray v. State, 194 Tenn.234, 247-248, 250 S.W.2d 86,92 (Tenn.1952); Beasley
v. State, 539 S.W.2d 820,824(Tenn.Crim.App.1976).See Tenn. R. Evid.613(b).

*15 State v. Braden,867 S.W.2d 750,760(Tenn.Crim.App.1993).

We condude that the trial court erred by overruling Defendant Braxton's objection to Mr. Miller's testimony. hi a
close case this error, which allowed an employee of the sheriff's office to testify as to the incarceration of a defendant
on obviously unrelated charges prior to the commission of the offense for which the defendant is being tried, could
result in the necessity for granting a new trial. However, we are confident in concluding in this case that the error was
harmless. Defendant Braxton is not entitled to relief on this issue.

IV. Sentence Length

In this case, Defendants argue that their sentences are excessive as to their attempted second-degree murder
convictions because the trial court erred in finding that they used a deadly weapon during the commission of the
offense.

A trial court is mandated by the Sentencing Act to "impose a sentence within the range of punishment." T.C.A. 6 40-
35-210(c). A trial court, however,"Is no longer required to begin with a presumptive sentence subject to increase and
decrease on the basis of enhancement and mitigating factors." Carter, 254 S.W.3d, 335, 346(Tenn.2008). Therefore,
an appellate court is "bound by a trial court's decision as to the length of the sentence imposed so long as it is
imposed in a manner consistent with the purposes and principles set out in sections-102 and-103 of the Sentencing
Act." Id.

In conducting a de novo review of a sentence, this Court must consider(a)the evidence adduced at the trial and the
sentencing hearing;(b)the presentence report(c) the principles of sentencing and arguments as to sentencing
alternatives;(d)the nature and characteristics of the criminal conduct involved;(e) evidence and Information offered
by the parties on the enhancement and mitigating factors set forth in Tennessee Code Annotated sections 40-35-113
and 40-35-114;(f) any statistical information provided by the Administrative Office of the Courts as to Tennessee
sentencing practices for similar offenses;and (g)any statement the Defendant wishes to make in the Defendant's own
behalf about sentencing. T.C.A. § 40-35-210(b); see also Carter, 254 S.W.3d at 343;State v. Imfeld, 70 S.W.3d 698, 704
(Tenn.2002).

In Carter,the Tennessee Supreme Court clarified the 2005 changes in Tennessee sentencing law and stated:

[Al trial court's weighing of various mitigating and enhancement factors has been left to the trial court's sound
discretion. Since the Sentencing Act has been revised to render these factors merely advisory, that discretion has been
broadened. Thus, even if a trial court recognizes and enunciates several applicable enhancement factors, it does not
abuse its discretion if it does not increase the sentence beyond the minimum on the basis of those factors. Similarly, if
the trial court recognizes and enunciates several applicable mitigating factors, it does not abuse its discretion if it
does not reduce the sentence from the maximum on the basis of those factors. The appellate courts are therefore left
with a narrower set of circumstances in which they might find that a trial court has abused its discretion in setting the
length of a defendant's sentence.

*16 Carter,254 S.W.3d at 345-46.




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Thus,a trial court's "faillure] to appropriately adjust" a sentence in light of applicable. but merely advisory,
mitigating or enhancement factors, is no longer an appropriate issue for appellate review. Id., 254 S.W.3d at 345
(citing State v. Banks, No. W2005-02213-CCA-R3-DD, 2007 WL 1966039, at *48 (Tenn.Crim.App., at Jackson, July 6,
2007)(noting that "(t]he 2005 amendment (to the Sentencing Act] deleted appellate review of the weighing of the
enhancement and mitigating factors, as it rendered the enhancement and mitigating factors merely advisory, not
binding, on the trial courts").

 The record reflects that the trial court considered the evidence presented at the trial and the sentencing hearing. The
 court further considered the presentence report,the principles of sentencing and the arguments as to sentencing
 alternatives, the nature and characteristics of the offenses, the evidence offered by the parties on enhancement and
 mitigating factors, and the potential for rehabilitation or treatment.

As a range I offender convicted of a Class B felony,the applicable range of punishment for Defendant Harris was no
less than eight nor more than twelve years. T.C.A. 5 40-35-112(a)(2). As a Range II offender convicted of a Class B
felony, the range of punishment for Defendant Braxton was no less than twelve nor more than twenty years. T.C.A.
40-35-112(b)(2).

The trial court applied enhancement factor(1) that both Defendants had a previous history of criminal convictions or
criminal behavior, in addition to those necessary to establish the appropriate range.T.C.A.§ 40-35-114(1). The trial
court found that Defendant Harris had "three prior felonies,a felony cocaine case, a felony theft case and a felony
evading arrest case,and ten misdemeanor convictions, induding a prior carrying a weapon conviction." In addition to
the convictions necessary to establish Defendant Braxton as a Range II offender, he has "the prior 'E' felony ..,and in
addition six misdemeanor convictions, non-driving misdemeanor convictions." The trial court also applied
enhancementfactor(6) that extensive personal injury was inflicted upon the victim. T.C.A. § 40-35-114(6). At trial, the
victim testified that after the shooting, he was transported by ambulance to Vanderbilt Medical Center where he was
immediately taken into surgery. He said that one of the bullets struck him in the upper arm, which required a metal
plate. A bullet also went through his hand and lodged in his wrist, and one struck his finger and his face. The victim
testified that he had surgery on his finger because it was "hanging off," and the bullet that entered his face is still
lodged under his nose,and he lost six teeth.

The trial court applied enhancement factor (8) that both defendants had a previous history of unwillingness to comply
with release into the community. Defendant Harris had two prior probation violations, and Defendant Braxton had
three. T.C.A. § 40-35-114(8). The trial court applied enhancement factor (9)that Defendants possessed and employed
firearms in the commission of the offense. T .C.A. § 40-35-114(9). Concerning this factor, the court noted:"There is
the enhancing factor as to both that a weapon was used, a firearm, multiple times,two different weapons according
to the circumstantial proof ... fired thirteen or so plus times into Mr.William's car." The trial court applied
enhancement factor (11) that the offense involved the threat of death or serious bodily injury to other persons,in
Defendant Braxton's case, as he had been previously convicted of a felony that resulted in death. T.C.A.§ 40-35-
114(11). The trial court pointed out that"there was a high risk of injury to others there in the community when this
shootout occurred, one sided shootout occurred there in broad daylight with high traffic, including the witness, Mr.
Miller, who testified at the trial." The court further noted that Defendant Braxton had a prior manslaughter
conviction. Finally, the trial court applied enhancement factor (13) to Defendant Braxton's sentence noting that he
was on probation at the time of the offense. T.C.A.§ 40-35-114(13). The trial court did not find any applicable
mitigating factors as to either Defendant.

*17 Both Defendants argue that the trial court erred in finding that they employed firearms during the commission of
the offenses because they contend that it is an element of the offense of attempted second degree murder. However,
use of a deadly weapon is not an essential element of that offense. See T.C.A. 65 40-35-114,39-13-210, and 39-12-101;
State v. Matthew Joseph Carter, No. E2009-00217-CCA-R3-CD, 2010 WL 4324386(Tenn.Crim.App. Nov.2, 2010) no
perm.app.filed.

The record dearly shows that the trial courtfollowed the statutory sentencing procedure, made findings of facts that
are adequately supported in the record, and gave due consideration to the principles that are relevant to sentencing.
Based on our review, we conclude that the enhancement factors considered by the trial court adequately support the
trial court's discretionary decision to impose a sentence of eleven years for Defendant Harris and nineteen years for
Defendant Braxton. Defendants are not entitled to relief on this issue.




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Defendant Harris also seems to argue that he should not have been ordered to serve his sentence in confinement.
However. he does not support his argument with appropriate references to the record or reasons why he should be
granted relief. Therefore this issue is waived.Tenn. R.App. P.27(a)(7)(A).

VI. Ineffective Assistance of Counsel

Both Defendants argue that they received ineffective assistance of trial counsel in this case. More specifically, both
Defendants argue that their respective trial counsel was ineffective for failing to request a jury instruction on the
lesser-included offense of reckless endangerment. Defendant Braxton also argues that trial counsel was ineffective for
(a)failing to object to the sentence or request a continuance when the State did not provide proper notice of intent to
seek enhanced punishment or provide certified copies of his convictions;(b)failing to amend the original notice of
alibi;(c) failing to investigate possible defenses or alibi witnesses; and (e)failing to adequately meet and prepare for
trial. Defendant Harris contends that trial counsel was ineffective for asking the victim about a prior altercation with
Defendant Harris that "opened the door" to the victim's testimony about an earlier attempt by Defendant Harris to
harm or kill the victim.

Claims of ineffective assistance of counsel are generally more appropriately raised in a petition for post-conviction
relief rather than on direct appeal.See State v. Carruthers,35 S.W.3d 516, 551 (Tenn.2000). This Court has consistently
"warned defendants and their counsel of the dangers of raising the issue of ineffective assistance of trial counsel on
direct appeal because of the significant amount of development and fact finding such an issue entails." Kendricks v.
State. 13 S.W.3d 401,405(Tenn.Crim.App.1999). Raising the issue of ineffective assistance of counsel on direct appeal
is "a practice fraught with peril." State v. Thompson,958 S.W.2d 156, 161 (Tenn.Crim.App.1997). This peril is two-fold.
First, ineffective assistance can rarely be established without an evidentiary hearing. See Strickland v. Washington.
466 U.S.668,689-90,694,104 S.Ct. 2052, 2065, 2067,80 L.Ed.2d 674(1984). Post-conviction procedures afford an
evidentiary hearing to a Defendant with colorable daims. See T.C.A. 45 40-30-109(a),-110(2006). Second, raising the
issue in the direct appeal could result not only in losing on appeal, but also in barring the claimant from raising the
issue later in the post-conviction arena. T.C.A. §8 40-30-106(f)&(h)(2006). A post-conviction claim for ineffective
assistance of counsel will be dismissed where that daim has previously been determined by another court. T.C.A.§ 40-
30-106(f)."A ground for relief is previously determined if a court of competentjurisdiction has ruled on the merits
after a full and fair hearing. A full and fair hearing has occurred where the petitioner is afforded the opportunity to
call witnesses and otherwise present evidence, regardless of whether the petitioner actually introduced any evidence:"
T.C.A.§ 40-30-106(h). However, because there is nothing barring a defendantfrom bringing an ineffectiveness claim
in a direct appeal, we will proceed with our analysis of each Defendant's claims.

*18 Under Tennessee Code Annotated section 40-30-110(f)(2003),a defendant seeking post-conviction relief on the
basis of ineffective assistance of counsel is required to prove his or her allegations "by clear and convincing
evidence." This same standard applies even when the claim of ineffective assistance of counsel is raised on direct
appeal. State v. Burns,6 S.W.3d 453,461 n.5(Tenn:1999)(citing State v. Anderson,835 S.W.2d 600,607
(Tenn.Crim.App.1992)). The factual findings entered by the trial court are condusive unless the defendant establishes
that the evidence preponderates against those findings. Fields v. State,40 S.W.3d 450,457(Tenn.2001). For a
defendant to successfully overturn a conviction based on ineffective assistance of counsel, the defendant must first
establish that the services rendered or the advice given was below "the range of competence demanded of attorneys
in criminal cases." Baxter v. Rose,523 S.W.2d 930,936(Tenn.1975). Second,the defendant must show that the
deficiencies "actually had an adverse effect on the defense." Strickland v. Washington,466 U.S.668, 693,104 S.Ct.
2052,2067,80 L.Ed.2d 674(1984). The defendant Is not entitled to the benefit of hindsight the defendant may not
second-guess a reasonably based trial strategy;and the defendant may not criticize a sound, but unsuccessful, tactical
decision made after adequate preparation for the case. Adkins v. State, 911 S.W.2d 334, 347(Tenn.Crim.App.1994);
Cooper v. State,847 S.W.2d 521,528 (Tenn.Crim.App.1992).

A. Failure to Request a Jury Instruction on the Lesser-Included Offense of Reckless Endangerment.

Defendant Braxton and Defendant Harris both contend that their respective trial counsel was ineffective for failing to
request a jury instruction on the misdemeanor offense of reckless endangerment as a lesser-included offense of
attempted premeditated first degree murder.

Initially, we note that each Defendant has the burden of proving that he or she was prejudiced by an alleged deficiency
on the part of trial or appellate counsel. Strickland,466 U.S. at 687, 104 S.Ct. 2052,80 L.Ed.2d 674. In order to




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establish prejudice, each Defendant must show that "there Is a reasonable probability that, but for counsel's
unprofessional errors, the result of the proceeding would have been different. A reasonable probability is a
probability sufficient to undermine confidence in the outcome." id.,466 U.S. at 694. A defendant is required to
request in writing that the trial court instruct the jury on any specifically identified lesser induded offense. T.C.A. §
40-18-110(a). In the absence of such a request, the trial court may charge the identified lesser induded offense, but
the defendant is not entitled to the charge. Id. 6 40-18-110(b). Reckless endangerment is a lesser included offense of
attempted first degree murder. See State v. Rush, SO S.W.3d 424,431-32(Tenn.2001). If it had been included in the
jury charge, it would have been listed after aggravated assault.

*19 In this case, Defendants were indicted for the offense of attempted first degree murder. The trial court instructed
thejury on the indicted offense and the lesser induded offenses of facilitation of attempted first degree murder,
attempted second degree murder,facilitation of attempted second degree murder, attempted voluntary
manslaughter,fadlitation of attempted voluntary manslaughter, aggravated assault with a deadly weapon, and
aggravated assault with serious bodily injury. The jury convicted Defendants of attempted second degree murder to
the exdusion of the immediate lesser included offenses. Harmless error may be shown where the jury convicts on the
higher offense to the exdusion of the immediately lesser offense, necessarily rejecting other lesser offenses. State v.
Williams,977 S.W.2d 101,106(Tenn.1998). Therefore, we conclude that Defendants were not prejudiced by trial
counsels'failure to requestjury instruction on the lesser induded offense of reckless endangerment.

B. Failure to Object to the Sentence or request a Continuance When the State Did Not Provide Proper Notice of Intent
to Seek Enhanced Punishment or Provide Certified Copies of Defendant Braxton's Convictions.•

In his motion for new trial, Defendant Braxton raised the following issue concerning his sentence:

Defendant was denied effective assistance of counsel when counsel failed to object to the States failure to file a
Notice of enhanced punishment and allowing certain convictions to be used against the Defendant at sentencing, by
not requiring certified copies of those convictions to be used, and by failing to make a motion for a continuance.

The trial court, in its order denying Defendant Braxton's motion for new trial held:"The Court accredits the testimony
of trial counsel that he investigated all of the defendant's prior convictions and believed they were valid. The Court
finds the State had filed timely a notice of enhanced punishment."

The record supports the trial court's finding. At the hearing on the motion for new trial, counsel for Defendant
Braxton testified that the State had filed a notice of enhanced punishment but did not provide certified copies of his
convictions at the sentencing hearing. Trial counsel admitted that he did not object to the hearing. He said:

I checked them out myself. I—I suppose I—I could have objected, there weren't any certified copies. And it is my
understanding that, if that had been objected to,the—itjust would've been continued for ten days, because, while we
are entitled to notice, 1 don't necessarily know if It's like a gotcha (sic) thing, sort of,"You didn't give us notice, so I'm
sorry."

Defendant Braxton has failed to show that he was prejudiced by trial counsel's failure to object to his enhanced
sentence or by failing to request a continuance. He Is not entitled to relief on this issue.

C. Failure to Amend the Original Notice of Alibi

Defendant Braxton next contends that trial counsel was Ineffective for failing to amend the notice of alibi filed by his
previous counsel to include an additional witness, Lateisha Martin.The trial court held that trial counsel made a
tactical decision not to call Ms. Martin and did not render ineffective assistance of counsel.

*20 Again, the evidence presented at the hearing on Defendant's Braxton's motion for new trial supports the trial
court's decision. At the hearing, trial counsel testified that it was his understanding that all of the alibi witnesses that
Defendant Braxton intended to call at trial were listed on the notice filed by previous counsel. However, trial counsel
admitted that he was mistaken,and Ms. Martin was not listed on the notice. The following exchange then took place:

Q. Did you have a bench conference regarding that particular witness?

A. I don't remember if we had a bench conference or not. I know the issue was discussed. The State stood up and said,
"If this witness is going to be called for alibi witnesses, they are not listed, we've had no notice." I don't believe Judge




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Dozier made a ruling on whether or not she would be allowed to testify. I think the issue was just kinda (sic) tabled.
And I called Derrica Christman at that point;she was listed—

Q. Who was listed—

A. —on the notice. After her testimony the issue was re-raised and—as to whether or not she would be allowed to
testify.

And at that point I made the decision, based upon how Mr. Harris' alibi witnesses had testified, that, quite frankly,
even I decided to press the issue and the Judge were to allow me to call her as an alibi, I was worried.

And I thought Ms.Christman had done a good enough job that I just simply chose not to push the issue.

Q. Did you discuss that decision, not to call that particular witness, with Mr. Braxton?

A. I'm sure that we whispered at the table about it, that, you know,"This is why I'm not pushing the issue, and it's my
fault that she wasn't listed on the notice. But, quite frankly, at this point I don't know if I'd call her anyway."

But, no,there was no—there was no recess, we didn't have an opportunity to, like, really get into it. We just
whispered about it at the table.

Q. What was your understanding of Mr. Braxton's position on that?

A.I don't—I don't remember him voicing strong objection to my position on it. 1-11—I don't remember that
happening. I'm not saying it didn't, but I don't remember it happening.

Q. So, you don't recall If—whether or not he—that—that—in other words this was a tactical decision that you made,
didn't—didn't necessarily have to wait on the Court to rule on that, it was—

A. Legume (sic) be dear. It was not a tactical decision to leave her off the notice; and,if I had that to do over again, she
would've been on the notice, without question.

But at the time, when it came to—to re-raise the Issue, where I could've asked the Court,"Well, despite the fact that
she's not on the notice, I wanna call her anyway," that's when l—yes, I decided at that point that, quite frankly, even it
I would, I did not want to--

Q. Okay.

A. —recall her.

Q. But—and,so, it was a tactical decision to not push the issue.

On cross-examination, trial counsel further testified:

*21 Q. With regard to the second alibi witness, who was not called, you've indicated that you had decided during the
trial, during watching Mr. Harris' alibi witnesses testify, that you did not want to call this second alibi witness anyway.

A. Yes, that's—I mean,it was a toss-up; but, counting the fact that I'd left her off the notice and the fact that I was
worried about conflicting testimony from the two of them, I decided that I was not going to push the issue with the
Court.

I don't know If I'm muddling the issue or not.

THE COURT:(To the Witness) Worried about conflicting testimony between anyone that may or may not could've
been called versus—

THE WITNESS: Derrica Christman.

THE COURT:—the one that was called.

THE WITNESS:That's correct




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THE COURT: Okay. Well, I mean, did you have some information, as or after Ms. Christman was testifying, that—if I
can find it here again (consulted file notes)—that Ms. Martin may have some inconsistent information?

THE WITNESS: Not on any material fads. I spoke with them both beforehand,and I was not about[to) put them on
the stand, if I thought they were going to perjure themselves, no.

THE COURT: Right.

THE WITNESS: I mean,the material facts—I could not discern any inconsistencies between the two of them.

What I was speaking to more specifically is, when Mr. Harris' alibi witnesses testified,there were several questions
about that they were wearing and that they had to eat and what time and what happened afterwards, quite frankly,
things that were immaterial to the case, but nevertheless asked about, which they were dramatically different on.

And—and I did not—I thought Ms.Christman had done such an excellent job testifying, that I didn't wanna run the
risk of messing up her testimony.

Trial counsel dearly made a tactical decision not to call Ms. Martin at trial, and Defendant Braxton has not presented
any evidence to the contrary. Even if trial counsel had rendered deficient performance in failing to add Ms. Martin to
the notice as an alibi witness, Defendant Braxton has not demonstrated any prejudice since he did not call Ms. Martin
to testify at the hearing on his motion for new trial. See Pylant v. State, 263 S.W.3d 854,869(Tenn.2008); Black v.
State, 794 S.W.2d 752,757-58 (Tem.Crim.App.1190).

D. Failure to Investigate Possible Defenses or Alibi Witnesses.

Defendant Braxton argues that trial court was ineffective for failing to investigate any possible defenses that he had
to the offense or to investigate the alibi witnesses provided to him. As pointed out by the State, this issue was not
raised in Defendant Braxton's motion for new trial or in his amended motion, and he may not raise the issue for the
first time in this court. On direct appeal, our review is limited to the issues specifically raised in a motion for new trial.
See Tenn. R.App.P.3(e)."When an issue is raised for the first time on appeal, it is typically waived ." State v. Maddin,
192 S.W.3d 558, 561 (Tenn.Crim.App.2005); Tenn. R.App. P. 36(a)("relief may not be granted in contravention of the
province of the trier of fact."). Therefore,this issue is waived.

E. Failure to Adequately Meet and Prepare for Trial.

*22 Finally, Defendant Braxton argues that trial counsel was ineffective for failing to adequately meet with him and
prepare for trial. Again, as pointed out by the State, Defendant Braxton failed to raise this issue in his motion for new
trial or in his amended motion.Therefore, the issue is waived. See Tenn. R.App. P. 3(e); 36(a): and State v. Maddin,
192 S.W.3d 558, 561 (Tenn.Crim.App.2005).

F. Opening the Door to the Victim's Testimony About an Earlier Attempt by Defendant Harris to Harm or Kill the
Victim.

Defendant Harris argues that his trial counsel rendered deficient performance by asking the victim about a prior
altercation with Defendant Harris that "opened the door" to the victim's testimony about an earlier attempt by
Defendant Harris to harm or kill the victim. At trial, the victim testified concerning the events surrounding the
shooting on February 15, 2006.On cross-examination, trial counsel asked the victim about the shooting and
questioned him about his prior testimony at the preliminary hearing where the victim indicated that he had no other
altercations with Defendant Harris. After being cautioned by the court, trial counsel ultimately asked the victim,
"Have you had any other altercations with Mr. Harris" to which the victim replied,"That's correct." Trial counsel then
impeached the victim by pointing to the record of the preliminary hearing in which the victim indicated that had not
had other altercations with Defendant Harris.

The State then sought to question the victim about a previous altercation during which Defendant Harris allegedly
shot the victim in the foot. After a lengthy discussion out of the jury's presence, the trial court determined that the
State would be allowed to question the victim about the prior altercation. On redirect examination, the victim testified
that one night in October of 2005,someone had been following him. He said:

I was—uh--headed dOwn Gallatin road going to McDonald's to get me something to eat. And, I rolled (phonetic) Mr.
Harris, beauty shop, barber shop, whatever it was at the time, and--4111-4 just noticed a car get behind me. I turned,



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                                 •                                                   •
the car turned. And, I not gonna say it was a chase, but, the car stayed pretty much behind me where I had to speed up
to lose the car. And, I finally side [sic] on a side street. And, I jumped out of the car and jumped in the bushes.

The victim testified that two cars "kept circling the block," and he called a couple of friends to pick him up. He stayed
at their house for a few hours and then drove home around 12:45 a.m.The victim testified that he parked his car like
he did every night. He then "checked the bushes", and as he walked up the breezeway, Defendant Harris and another
individual opened fire on him. The victim said that although he had two handguns on him, he did not have a chance to
return fire. He then realized that he had been shot in the foot. The victim testified that there was a third person "who
ran on the side of the building and me and him exchanged gun-fire." He then hid under a neighbor's jeep until the
three men left.

*23 The victim testified that one of the neighbors called police, and when they arrived, he did not tell them that he
saw Defendant Harris or the other two individuals. He explained that he did not want to talk to police because he had
two firearms on him,as well as several assault rifles In his home,and he did not want them to search his home.

Concerning this issue, the trial court held:

As to the defendant's allegations that trial counsel was ineffective in opening the door to a prior unproven altercation,
the Court notes that trial counsel did ask this question. Before the witness could answer the question,"Have you had
any other altercations with Mr. Harris," the Court asked counsel if he wanted to ask that question. Trial counsel said
that he did wish to ask the question and the Court permitted him. Although the question opened the ability to
question about other incidents in order to fill the conceptual void as to the bad blood between the defendant and the
victim, much of this information was admissible if brought out by the State. This information also allowed
information about the complaining witness and possible unfavorable demeanor seen by the jury. Even though
potentially prejudicial, this was a tactical decision by trial counsel that may have had a valid defense motivation but
certainly does not rise to the necessary level of effecting the outcome of the trial.

The record supports the trial court's findings. Trial counsel was able to successfully impeach the victim's testimony at
the preliminary hearing where he testified that he had no prior alterations with Defendant Harris. Furthermore, as
pointed out by the State, the victim's testimony had no corroboration from any other witness, and the victim admitted
that he was In possession of two guns during the shooting, and there were additional assault rifles in the house. When
police arrived on the scene, the victim did not tell them who shot at him because he did not want his own criminal
activities discovered. Defendant Harris has not shown that he was prejudiced by trial counsel's performance in this
area.The proof presented at trial was sufficient to support Defendant Harris's conviction for attempted second
degree murder. This issue is without merit.

CONCLUSION

For the foregoing reasons, the judgments of the trial court are affirmed.




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                                                                                                                        r--13
            39-16-703
                          •                        CRIMINAL       OFFENSES
                                                                                   •                          688

            August 1, 2004, be 811*Ct to the provisions of          Penalty for Class E felony, * 40-35-111.
            title 40, chapter 39, part 2, created by that act..     Penitentiary officer or employee violating
               The sentencing commission terminated June          oath, § 41-1-103.
            30, 1995. Sentencing Commission Comments                Privilege tax on production of special nuclear
            have been retained, but do riot reflect 1995 or       material, perjured return, § (17-4-1107.
            subsequent legislation.
                                                                  Section to Section References.
            Cross-References,                                       This section is referred to in ** 3-17-104,
                      false statement in revenue report,          3-17.111, 8-8-102, 39-16-703, 39.17-1351, 40-
            § 9-2-111.                                            28-122; 40-35-311, 40-39-203, 40-39-204, 50-6-
              County board of equalization, false swearing.       904, 55-10-491, 62-5.1181. 62-9-102, 67-1-1802.
            before, § 67-5-1404.
              Disfranchisement on conviction, § 40-20.-           Rule Reference.
            112.                                                    This section is referred to in the text of and
              Expense account.for state and county officers,      appendix to Rule 24 of the Rules of the Su.
            false oath, § 8-20-111.                               preine Court of Tennessee.
              Gift tax, false return as perjury, § 67-8-110.      Textbook s.
              Heirship affidavits, false swearing, § 30-2-          Tennessee Jurisprudence, 20 Tenn, Joris.,
            712-                                                  Perjury, ** 2, 3.
              Judge of general sessions court,, false state-
            ment in revenue report, § 9-2-111.                    Attorney General Opinions.
              Legislative committee, perjury before, § 3-3--        T.C.A. § 39.16.704 does not apply to perjury,
            120.                                                  even though simple perjury has been held to be
              National guard, false oath to statement in          a lesser included offense of aggravated perjury,
            enlistment contract., § 58-1-222.                     OM;02-120 (10/28/02).
              Optometry board, false swearing before,               A jury may still convict a defendant of simple
            § 63-8-112.                                           perjury, even if it is persuaded that the def.en-
              Penalty for CI atifi A misdemeanor, § 40-35-        dant has snide an effective retraction, OAC
            111.                                                  02 120 (10/28/02).

                                                 NOTES TO )ECISIONS

            1. Evidence.                                          enhanced unanimity instruction was war
              Because under T.C.A. § 39-16-707 the pros-          ranted; therefore, the appellate court erred by
            ecutor was not required to prove which of the         reversing defendant's perjury conviction. State
            two statements made by defendant during his           v. Buford, 216 53.W.3d 323, 2007 Tenn. 1,EXIS
            prior murder trial was false, the state was           315 (Tenn. 2(107).
            relieved of any election requirement, and no




            Collateral References.                                  Determination of materiality of allegedly per-
              Acquittal as bar to a prosecution of accused        jurious testimony in prosecution under 18
            fbr perjury committed at trial. 89 A,L.lt.3d                    §§ 1621, 1622. 22 A.L.R. Fed. :379.
            1098.                                                    Materiality of testimony forming basis of
               Administrative requirement, oath taken in          perjury charge as question for court or jury in
            pursuance of, as predicate for criminal offense       state trial. 27 A.I.R.41.1) 948.
            of perjury. 108 A.L.R. 1240.                            Perjury conviction as affected by notary's
              Admissibility in criminal case, on issue of         nonobservance of formalities for administra-
            defendant's guilt, of evidence that third person      tion of oath to afliarit. 80 A.L.R.3d 278.
            has attempted to influence a witness not to             Perjury or false swearing as contempt. 89
            testify or to testify falsely. 79 A.L.R.3d 1156.      A L.R.2d 1258.
               Admissihility, in subornation of perjury pros •      Recantation as defense in perjury proser:u -
            mullion, of evidence of alleged perjurer's Idea of    Lion. 64 A.L.1(.2i1 27(1.
            guilty to charge of perjury. 63 A.L.R.20 825.            Recantation by prosecuting witness in sex
              Conviction of perjury where one or more of          crime 55 ground for new trial. 51 A.L.R.3d 907.
            elements is established solely by circumstantial        Statement of belief or opinion as perjury. 60
            evidence. 88 A.L.R.2d 852.                            A.L.R.2d '/91.

            39-1.6-703. Aggravated perjury.
              (a) A person commits an offense who, with intent to deceive;
                (1) Commits perjury as defined in § 39-16-702;


                                                                                                         2- I


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               689             om,ENSES AGAINST ADMINISTRATION DV GOVERNMENT
                                                                                                         39-16-704
                   (2) The false statement is made during or in connection with
                                                                                    an official
                  proceeding; and
                   (3) The false statement is material.
                 (h) It is no defense that the person mistakenly believed the state
                                                                                    ment to be
4.               (c) Aggravated perjury is a Class D felony.
0-

              History.                                              have been retained, but do not reflect 1995 or
                Acts 1989, di. 591, § I.                            subsequent legislation.
              Sentencing Commission Comments. This
                                                                    Cross-References.
              section enhances the penalty for perjury when:
                                                                      Penalty for Class 1) felony, § 40-35-111.
              the Use statement is made in an official pro-
                                                                   Section to Section References.
              Compiler's Notes.                                      This section is referred to in §§ 3-17-104,
                The sentencing comniission terminated June         3-17-    40-1-105, 54-5-904, 55-10-491, 62-5-
              30. 1995. Sentencing Commission Comments             381.

Y.
It.                                               NOTES TO DECISIONS

                                 Analysis                          not legally sufficient to support a conviction for
Ir
              1. Materiality of Statement.                         making a false representation of fact. State
                                                                                                                   v.
              2. Evitlence.                                        Forbes, 918 S.W.2(1 431, 1995 Tenn. Crim. App.
                                                                   I.,EXtti 996 (Tenn.(;rim. App. 1995).
              I. Materiality of Statement.                            Because under T.C.A. § 39-16-707 the pros-
                The state sufficiently established the materi-    ecutor was not required to prove which of the
              ality of the conflicting statements given by the
                                                                  two statements made by clefendluit during his
             deliinduntunder oath before trial and at trial
                                                                  prior mnrder trial was false, the state was
             regarding the identity of the perpetrator of a
                                                                  relieved of any election requirement, and no
             burglary where the state had no other evidence
             regarding the identity of tire perpetrator. State    enhanced unanimity instruction was war-
             v. Cutshaw, 967 S.W.2d :132, 1997 Tenn. Crini.       ranted; therefore, the appellate court erred by
             App. LEXIS 1.2:37                                    reversing defendant's perjury conviction. State
                                         Crim. App. 19971.
                                                                  v. Butbril, 216 S.W.3d 323, 2007 'num.
             2. I41videnee.                                                                                  f:PAIS
                                                                  315 (1Qinn. 2007),
                Proof that defendant told a "halfitruth" was


             3946-704. Retraction.
              It is a defense to prosecution for aggravated
                                                                 perjury that the person
rt          retracted the false statement befhre completion
                                                            of the testimony at the official
            proceeding during which the aggravated perjur
                                                            y was committed.
            History.
                                                                 Section to Suction References.
              Acts 1989, rh. 591, § 1.
9                                                                  This section is referred to in § 39-16-707.
            Sentencing Commission Comments. The
            retraction defense extends only to aggravated         Attorney General Opinions.
            perjury.                                                ICA § 39-16-704 does not apply to perjury,
                                                                 even though simple perjury hue been held
            Compiler's Notes.                                                                                to be
                                                                 a lesser included offense of'aggravated
              The sentencing commission terminated                                                        perjury,
5                                                    June        ()AG 02-120 (10/28/02).
            30, 1995. Sentencing Commission Comme
                                                      nts          A jury may still convict a defendant ofsimple
            have been retained, but do not reflect
                                                   1995 or       perjury, even if it is persuaded that the
            subsequent legislation.                                                                        defen-
                                                                 diuit has made an effective retraction, (JAG
            Cross-References.                                    02-120 (10/28/02).
              Inconsistent statements, § 39-16-707.



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                                                                                                             40-2-101
                                                ,IMITATION OF PROSECUTIONS

                                                                    any defendant following arrest
                        (M) Conducting initial appearances for
ant                                                                      conducted pursuant to the
                      for a crime involving domestic abuse when
                      requirements imposed by § 36-3-602(c); and
                                                                         by the constitution, statute,
                        (N) Any other judicial duty not prohibited
                                                                   judge.
                      or applicable rules, when requested by a
a te;                                          e magi stra te is carry ing out one(1)of the duties of
                      (7) If the domestic abus
                                                                      failure to appear before the
                    the office under this subsection (h), the
                                                                      shall subject the defendant or
it to               magistrate constitutes failure to appear and
                                                                   .
                    respondent to arrest and forfeiture of bond
or a                  (8) If the appointed dome  stic  abus e  magi strate is absent or unavailable
                                                               authority to appoint special, substi-
antic               for any reason, the magistrate has the
                                                                        the duties of this section. A
   of               tute, or temporary magistrates to carry out
                                                                     licensed to practice law in the
                    substitute magistrate shall be an attorney,
                                                                   ofthe appointing domestic abuse
                    courts ofthis state, a resident of the county
                                                                        s of age. An order of appoint-
11 he                magistrate, and not less than thirty (30) year
                                                                    y magistrate shall be for a fixed
have                 ment for a special, substitute, or temporar
                                                                         ng and filed with the fourth
r the                period of time and shall be reduced to writi
                     circuit court, clerk.
                                                               may also accept appointment by the
 shall                 (9) The domestic abuse magistrate
                                                                       a special master to the fourth
re all               judge of the fourth circuit court to serve as
                                                                         judge. The appointment may
   the               circuit court for any purpose established by the
                                                                        appointment to the position of
:e the               be made by the judge at the same time as the
                                                                     during the magistrate's term.
 same                domestic abuse magistrate, or at any time
                                                                           The 2016 amendment added the last sen-
                   Iiistory.
Ea- the              Acts 19'78, ch. 933, § 4; 1979, ch. 15, §
                                                                    1;   tence in (0(6); and deleted (f){7)(11), which read:
                                                                                                                      coun-
lo this            1980, . ch.  781, §  1; 1981,  ch.  209, §§  1,  2;   "Subdivision (f)(7)(A) shall not apply in
                   T.c.A.-, § 40-120; Acts 1991, ch.  444, § 1; 1993,    ties having a population of not less than sixty-
des of                                                                   six thousand two hundred (66,200) nor more
                   ch. 241, § 57; 1998, ch. 984, § 1; 2001, ch. 316,                                                      ed
                   §§ 1, 2; 2004, ch. 685, § 1; 2009, ch. 503,
                                                                 § 1;    than sixty-six thousand three hundr
                                                                                                                           s
                   2010, eh. 989, §§ 1, 2; 2012, ch. 890, § 1; 2012,     (66,300), according to the '2010 federal censu
                                                                   ch.
                   ch, 1052, §§ 1, 3; 2013, ch. 236, § 33; 2016,         or any subsequent federal census."
                   531,  §§  2, 3;201 7, ch. 222, § 1.                     The 2017 amendment added (h).
                   Anaendments,                                          Effective Dates.
                     The 2013 amendment substituted "criminal              Acts 2013, ch. 236, § 94. April 19, 2013.
                   justice committee of the house of representa-           Acts 2016, ch. 531, § 4. February, 1, 2016.
                                                                of
                   tives" for "judiciary committee of the house            Acts 2017, ch. 222, § 3. April 28, 2017.
                   representatives" in 40(1)(D )(id).

                                                            CHAPTER 2
                                        LIMITATION OF PROSECUTIONS
                    Section
                    40-2-101. Felonies.
                    40-2-104. Commencement of'prosecution.

                    40-2-101. Felonies.
                                                                     shed for an offense punishable
                      (a)A person may be prosecuted, tried and puni
                    with death or by imprisonment in the     penit entia ry during life, at any time
                    after the offense is committed.
                                                                              n:
                      (b) Prosecution for a felony offense shall begin withi

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                                                          kw An €,Jr- 3
          Case 3:20-cv-00251 Document 9-14 Filed 06/08/20 Page 71 of 102 3-
                                                                         PageID
                                CRIMINAL PROCEDURE                                   10
40-2401.

     (1) Fifteen (15) years for a Class A felony;
     (2) Eight (8) years for a Class B felony;
     (3) Four (4) years for a Class C or Class 1) felony; and
      (4) Two (2) years for a Class E felony.                                                   30-7
                                                                            under the
   (c) Notwithstanding subsections (a) and (b), offenses arising                                e
 revenue laws of the      state  shall he commence   d  within   the  three  (3) years
                 commissio  n of the offense, except that the  period  of limitation  of     . co
 following the
 prosecution shall be six (6) years in the following instances:                                that
                                                                                      of
      (1) Offenses involving the defrauding or attempting to defraud the state                 § 39-
    Tennessee or any agency of the state, whether      by  conspiracy   or not,  and  in
                                                                                                becomeE
    any manner;                                                                                (i)(1) A
      (2) The offense of willfully attempting in any manner to evade or defeat
    any tax or the payment of a tax;                                                            criminal
                                                                                      or
      (3) The offense of willfully aiding or abetting, or procuring, counseling                 from the al
    advising, the preparatio   n or presentati on under, or  in connection   with,  any
                                                                                                  (2) A pet
    matter arising under the revenue laws of the state, or a false or fraudulent                committee'
                                                                                       is
    return, affidavit, claim or document, whether or not the falsity or fraud                   that con_i±a
                                                                       or  required   to
    with the knowledge or consent of the person authorized                                      five (25.1yea
    present the return, affidavit, claim or document; and
                                                                                               (j) A persoc
      (4) The offense of willfully failing to pay any tax, or make any return at
                                                                                             ted against a
    the time or times required by law or regulation.
                                                                              contrary,      under § 39-1;
   (d) Notwithstanding the provisions of subdivision (h)(3) to the
                                       arson  as  prohibited   by  §  39-14-301    shall     than twenty-fi
  prosecution fir the offense of
  commence within eight (8)      years from  the date the offense   occurs.                  of age.
    (e) Prosecutions for any offense committed against a child prior to July 1,                (k)(1) A pet
  1997, that constitutes a criminal offense under § 39-2-601 [repealed], § 39-2-               committed
  603 (repealed], § 39-2-604 [repealed], § 39-2-606 (repealed', § 39-2-607 [re-                criminal offi
  pealed], § 39-2-608 [repealed], § 39-2-612 [repealed', § 39-4-306 [repealed',                years from t
  § 39-4-307 [repealed], § 39-6-1137 [repealed], or § 39-6-1138 [repealed], or                   (2) A per
  under §§ 39-1.3-502 3943-505,§ 39-15-302 or § 39-17-902 shall commence                       committed
  no later than the date the child attains the age of majority or within four (4)              criminal offi
  years after the commission of the offense, whichever occurs later; provided,                 date the chi]
                                                                                     ent
  that pursuant to subsection (a), an offense punishable by life imprisonm                       (3)(A) A p
  may be prosecuted at any time after the offense      has  been   committed   .                 committed
                                                                                        of
    (f) For offenses committed prior to November 1, 1989, the limitation                        2015, that
  prosecution in effect at that time shall    govern.                                           ten (10) yt
    (g)(1)Prosecutions for any offense committed against a child on or after July                 (B) A p,
     1, 1997, that constitutes a criminal offense under § :39-17-902 shall com-                 committed
     mence no later than the date the child reaches twenty-one(21) years of age;                criminal
     provided, that if subsection (a) or(b) provides a longer period of time within             from the d
     which prosecution may be brought than this subsection (g), the applicable               (OW Notwit
     provision of subsection (a) or (h) shall prevail.                                       person may I
       (2) Prosecutions for any offense committed against a child on or after July           offense of ag,/
     1, 1.997, but prior to June 20, 2006, that constitutes a criminal offense under         hy § 39-13-5
     §§ 39-13-502 ---- 39-13-505, § 39-13-522 or § 39-15-302 shall commence no               rape of a chili
     later than the date the child reaches twenty-one (21) years of age; provided,           of the offeust
     that if subsection (a) or (b) provides a longer period of time within which                 (A) The
     prosecution may be brought than this subsection (g), the applicable provision             attorney gi
     of subsection (a) or (b) shall prevail_                                                     (B) The




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       10                11                       LIMITATION OF PROSECUTIONS                      40-2-101

                           (h)(1) A person may be prosecuted, tried and punished for any offense
                           committed against a child on or after June 20, 2006, that constitutes a
                           criminal offense under § 39-13-504, § 39-13-505, § 3943-527 or § 39-15-
                           302, no later than twenty-five (25) years from the date the child becomes
ider the                   eighteen (1.8) years of age.
3) years                     (2) A person may be prosecuted, tried and punished for any offense
tation of                  committed against a child on or after June 20,2006, but prior to July 1, 2014,
                           that constitutes a criminal offense under § 39-13-602, § 39-13-503 or
  state of                 § 39-13-522 no later than twenty-five (25) years from the date the child
t, and in                  becomes eighteen (18) years of age.
                           (i)(1) A person may be prosecuted, tried and punished for any offense
ir defeat                  committed against a child on or after July 1, 2007, that constitutes a
                           criminal offense under § 39-13-532, no later than twenty-five (25) years
seling or
                           from the date the child becomes eighteen (18) years of age.
cith, any
                              (2) A person may be prosecuted, tried and punished for any offense
audulent
 fraud is                   committed against a child on or after July 1, 2007, but prior to July 1., 201.4,
faired to                   that constitutes a criminal offense under § 39-13-531, no later than twenty-
                           five (25) years from the date the child becomes eighteen (18) years of age.
return at                  (j) A person may be prosecuted, tried and punished for any offense commit-
                         ted against a child on or after July 1, 2012, that constitutes a criminal offense
contrary,                under § 39-17-902, § 39-17-1003, § 39-17-1004, or § 39-17-1005, no later
101 shall                than twenty-five(25) years from the date the child becomes eighteen (18)years
                         of age.
la, July 1,                (k)(1) A person may be prosecuted, tried and punished for any offense
LI 39-2-                   committed against a child on or after July 1, 2013, that constitutes a
1-4507 [re-                 criminal offense under § 39-13-309 or § 39-13-529, no later than fifteen(15)
mealed),                    years from the date the child becomes eighteen (18) years of age.
iniEd], or                    (2) A person may be prosecuted, tried, and punished for any offense
immanence                   committed against a child on or after July 1, 2013, that constitutes a
  itur (4)                  criminal offense under § 39-13-514 no later than ten (10) years from the
        ed,                 date the child becomes eighteen (18) years of age.
        ent                   (3)(A) A person may be prosecuted, tried, and punished for any offense
                              committed against a child on or after July 1, 2013, but prior to July 1,
         f                    2015, that constitutes a criminal offense under § 39-13-515 no later than
                              ten (10) years from the date the child becomes eighteen (18) years of age.
     fly                        (B) A person may be prosecuted, tried, and punished for any offense
     =-                       committed against a child on or after July 1, 2015, that constitutes a
                              criminal offense under § 39-13-51.5 no later than twenty-five (25) years
                              from the date the child becomes eighteen (18) years of age.
                           (l)(1) Notwithstanding subsections (b), (g), (h) and (i) to the contrary, a
                            person may be prosecuted, tried and punished for an act that constitutes the
                            offense of aggravated rape, as prohibited by § 39-13-502, rape, as prohibited
                            by § 39-13-503, rape of a child as prohibited by § 39-13-522 or aggravated
                            rape of a child as prohibited by § 39-13-531 at any time after the commission
                            of the offense if:
                                (A) The victim notifies law enforcement or the office of the district
                              attorney general of the offense within three (3) years of the offense; and
                                (B) The offense is committed:


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            (i) On or after July 1, 2014; or                                                                     120,
                                                                                                                 2012J-
            (ii) Prior to July 1, 2014, unless prosecution for the offense is barred                                1
          because the applicable time limitation set out in this section for                                     before -mat-
          prosecution of the offense expired prior to July 1, 2014.                                              tions,
                                                                                                                DNA cater;
       (2) Ifsubdivision M(Il)does not apply to the specified offenses, prosecution                             liunitatjom;
     shall be commenced within the times otherwise provided by this section.                                    State V. al
    (m) A person may he prosecuted, tried, and punished for any offense                                         ()rim. Apr.._ I
                                                                                                                5, 2012).
   committed against a child on or after July 1, 2016, that constitutes the offense
   of aggravated statutory rape under § 39-1.3-506(c), no later than fifteen (15)                               established 1
                                                                                                                son who re
   years from the date the child becomes eighteen (1.8) years of age.
                                                                                                                cause detErs
     (n) Notwithstanding subsection (b), prosecutions for any offense committed                                 sense under
   on or after July 1, 2016, that constitutes the offense of aggravated child abuse,                            clear unders
                                                                                                                issuing an a
   or aggravated child neglect or endangerment, under § 39-15-402, shall com-
                                                                                                               issued was i
   mence by the later of:                                                                                      tion for aggi
       (1) Ten (10) years after the child reaches eighteen (18) years of age; or                               ion. State v.
                                                                                                               (3rim. App. 1.
       (2) The time within which prosecution must be commenced pursuant to                                     7, 2013), ap
     subsection (b).                                                                                           Thou. LEXLS
                                                                                                                  Defendant
   History.                                            13-522 or § 39.15-302" for "§§ :39-13-502 -             commit first
     Code 1932, §§ 11481-11483; Acts 1977, ch.         39-13-505, § 39-13-522, § 39-15-302 or § 39-
   62, § 1; T.G.A.(orig. ed.), §§ 40-201 -- 40-2.03;   17-902"; in (h), added (2) and substituted
                                                       "criminal offense under § 39-13504, § 39-137
                                                                                                               40-2-102_
   Acts [985, ch. 478, § 21; 1990, ch, 980, § 17;
   1997, ch, 214, §§ I, 2; 1998, ch. 962, § 1; 2006,   505," for "criminal offense under §§ 39-13-602
   ch. 927, § 1; 2007,ch. 594, § 5; 2012, ch. 1027,       39-13-506, § 39-13-522," in (1); in (i), added       Attorney GI
                                                       (2) and deleted "§ 39-13-531 or" preceding                Retired 1.111:
   § 1; 2013, ch. 416, § 1; 2014, ch. 836, §§ I, 2;
                                                       "§ 89-13-532"; and added (1).                           Tenn. AG LE
   2015, ch. 310, § 1; 2016, ch. 958,§ 1; 2016,ch.
   1032, § 1.                                            The '2015 amendment, in (k), deleted "or
                                                       § 39-13-515" following "§ 39-15-514" in (2) and
   Compiler's Notes,                                   added (3).
     Pursuant to Article III, Section 18 of the          The 2016 amendment. by ch. 958 added (in).
   Constitution of Tennessee, Acts '2014, ch. 836        The 2016 amendment by ch. 1032 ;aided (n).
   took effect on April '28, 2014.
                                                       Effective Dates.                                       J.        Indian)
   Amendments.                                           Acts 2013, ch. 416, § 3. July 1, 2(313.              9.        Tolling
     The 2013 amendment added (k).                       Acts 2014, ch. 836, § 4. April 28, 2014. [See        11.       Case 'Pi
     The 2014 amendment, designated former (g)         the Compiler's Notes.]                                 12.       Case. Ni
   as present (g)(2) and added (gXC; in (g)(2),          Acts 2015, ch. 310, § 2. July 1, 2015.
   inserted "but prior to June 20, 2006," and            Acts 2016, ch. 958, § 2. July 1, 2016,                1. lndietmc
   substituted "§§ 39-13-502 - 39-13-505, § 39-          Acts 2016, ch. [032, § 2. July 1, 2016.                 Trio] court
                                                                                                              indictment cl
                                       NOTES TO DECISIONS                                                      meaner vend;
                                                                                                               14-408 on the
                       A   NA1YSLS                     Crini. App. LEXIS 17(Tenn. Crim.App, Jan. 11,          statute of lime
                                                                                                              cause the
                                                       2017).
                                                                                                              amended the
   3.    Allegations of Indictment.                                                                           limitations wi
   10.   Statute of Limitations.                       10. Statute of Limitations.
                                                                                                              dictinent, date
                                                          Prosecution for attempted aggravated rape           to defend agE
   3. Allegations of Indictment.                       was properly and timely commenced with in              property salon
      It was no error to let the State amend an        the eight-year statute of limitations for at-         second indict,
   indictment to allege a new ground for tolling       tempted aggravated rape, T.C.A. § 40-2-               against the ch
   the statute of limitations applicable to second-    101(b)(1)-(2), by the filing of the "John Doe"        longing to arc
   degree murder bemuse(1)defendant consented          arrest warrant because The "John Doe" desig-          S.W.3d , 201
   to the amendment, and,(2)if defendant did not       nation in the warrant, coupled with the de-           .Tenn. Crim. A
   consent, jeopardy had not attached, no new          tailed DNA profile of the assailant, identified
   crime was charged, and defendant's substantial      defendant with "reasonable certainty" as re-          9. Tolling Si
   right was not prejudiced, as the State could        quired by the Fourth Amendment,Tenn. Const,              Driving and
   have obtained a superseding indictment. State       art.. I, § 7, T.C.A, § 40-6-208, and 'Rum. R.         aismissed aged
   v. Hollingsworth, - S,W3d ---, 2017 Thrin.          Crini. P. 4(c)(1)(13). State v. Burdick, 395 S.W.3d   'ailed to coma




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                                        LOWERY v. STATE,
                    2013 WL 4767188(Tenn. Crim. App. 9/4/2013)
                             CCA No. E2012-01613—CCA—R3—PC.

 OPINION
 NORMA McGEE OGLE, J.
 *1 The petitioner, John Lowery, appeals the Knox County Criminal Court's summary dismissal of his petition fora writ of error coram
 nobis. He asserts that newly discovered evidence, namely two witnesses' recantation of their identification of the petitioner as the
 shooter and a previously unknown witness who said the petitioner was not at the scene of the crime, warranted a new trial on his
 convictions of premeditated first degree murder and attempted first degree murder. Upon review, we reverse the judgment of the
 coram nobis court and remand for an evidentiary hearing.
 I. Factual Background
 The record reveals that on May 6, 1998, a Knox County Criminal Court Jury found the petitioner guilty of premeditated first degree
 murder and attempted first degree murder. The petitioner received consecutive sentences of life and twenty-five years, respectively.
 On direct appeal, this court summarized the proof adduced at trial as follows:
 At approximately 6:40 a.m. on October 8, 1996, William Boatwright and his cousin, Vincent Hartsell, went to Kirk's Market in
 Knoxville to purchase food items. Boatwright went inside the market, while Hartsell remained in the car. After Boatwright made his
 purchase, he walked outside, and Jay Harris, who was standing outside, called him to the side of the building so that they could
 converse. After Boatwright spoke with Harris for a few seconds, he heard a gunshot. When he turned around, he saw the [petitioner]
 running towards him carrying a handgun. As Boatwright attempted to reenter the store, the [petitioner] shot him in the chest.
 Boatwright went inside the store and crawled behind the counter, and the [petitioner] went inside after him, firing his gun. However,
 because the store employee began screaming, the [petitioner] fled the scene. Boatwright remained in the store for several minutes
 and then went outside to check on Hartsell, who had been shot in the neck while waiting in the car.
 Malik Hardin, a friend of Boatwright and Hartsell, witnessed the shooting while sitting in his car in the Kirk's Market parking tot.
 Boatwright got into Hardin's car and drove to a relative's home, while Hardin stayed with Hartsell until the police arrived.
 Boatwright was subsequently transported to the hospital, where he told the police that "J.B." shot Hartsell and him. The police
 compiled a photographic lineup, and Boatwright identified the [petitioner] as the shooter. Hardin also viewed the photographic lineup
 and identified the [petitioner] as the man who shot Boatwright and Hartsell.
 The next day, Hartsell, who was sixteen (16) years of age, died as a result of a gunshot wound to the neck.
 Investigating officers recovered a .45 caliber bullet behind the counter in the store as well as a .45 caliber shell casing in front of the
 store counter. The police also discovered a bullet hole in the counter. Another .45 caliber bullet casing was found in the car where
 Hartsell was shot, and officers found an "eight ball" of crack cocaine by the right passenger door. Don Carman, a TBI forensic
firearms examiner, examined the bullet casings and determined that the casing found in the store and the casing found in the car
 were fired from the same weapon.
*2 James Bowman,a friend of[the petitioner's] family, gave a statement to police officers shortly after the incident. In his statement,
 Bowman told officers that,just prior to the shooting, he brought his stepdaughter to Kirk's Market so that she could purchase a drink
 before school. While his stepdaughter was inside the market, the [petitioner] got into Bowman's car and began telling Bowman that
 he had been robbed earlier that morning. Suddenly, a car pulled beside them, and the [petitioner] told Bowman that the men who
robbed him were in the car. The [petitioner] then got out of the car and told his brother, Fred Lowery, and his cousin, Jay Harris,
"[t]hat's it, boys, right here." When the [petitioner], Fred Lowery and Harris surrounded the building, Bowman left with his
stepdaughter. Bowman dropped his stepdaughter off at school, and when he drove past Kirk's Market on his way home, Boatwright
and Hartsell had been shot.
The state also presented the testimony of Mary Santos, who had previously been romantically involved with the [petitioner's] uncle,
Walter Lowery. Santos testified that Walter hired the [petitioner] and the victim, Vincent Hartsell, to sell drugs for him. She stated
that in fate Spring or early Summer 1996,the [petitioner] and Walter were angry with Hartsell over a botched drug sale, Santos
testified that, on several occasions, the [petitioner]stated that he would kill Hartsell in retaliation.
The [petitioner] presented an alibi defense at trial. Fred Lowery, Jay Harris and Greg Moore testified that they were at Kirk's Market
during the shooting on October 8. None of these witnesses saw the person who shot Boatwright and Hartsell, but all testified that
the [petitioner] was not present during the shooting. In addition, Tamera McMillan, the [petitioners] neighbor, testified that the
[petitioner] was at her home during the time of the shooting.

State v. John Bradley Lowery, No. E1998-00034—CCA—R3—CD,2000 WL 748103, at *1-2(Tenn.Crim.App. at Knoxville, June 12,
2000)(footnotes omitted). This court affirmed the petitioner's convictions and sentences. Id. at *1. On August 23, 2000, the
petitioner filed a Rule 11 application for permission to appeal to the supreme court, which was denied on February 20, 2001.
More than a decade later, on September 14, 2011, the petitioner filed a petition for a writ of error coram nobis and an accompanying
memorandum of law in support of the petition. He asserted that on September 16, 2010, Hardin signed a sworn affidavit in which he
"admitted that he did not believe he was making a correct identification, and only made the identification at the time because he
feared police action and the officer pointed to the Petitioner's photograph in the photolgraphic] array." The petitioner maintained that
the photographic array used by police was unduly suggestive and that the identification was the result of coercive police action. The
petitioner also asserted that the State had violated Brady v. Maryland, 373 U.S. 83,87(1963), by failing to reveal an exculpatory
statement by a witness, Loretta Turner. In support, the petitioner asserted that on August 17, 2011, Turner executed a sworn
affidavit, saying that she
*3 was present at the time of the shooting. She was interviewed by police and was asked if the Petitioner was in the store at the time
of the shooting. Turner indicated that the Petitioner was not present to the officer, but was not contacted further. Turners statement
was never provided to the defense despite representing exculpatory evidence which was requested [on] August 15, 1997. In
addition, she was never contacted by defense counsel and was unaware that there had been a trial until well after the Petitioner was
convicted.




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  The petitioner asserted that if his trial counsel "had conducted proper interviews of the witnesses, he would have discovered that
  Turner was present and that she would have testified that the Petitioner was not at the store at all that day."' The petitioner
  maintained that the foregoing two witnesses had provided newly discovered evidence establishing the petitioners actual innocence
  and warranting the Issuance of a writ of error coram nobis. The State did not file a response to the petition.
  On May 22, 2012, the petitioner filed an amended petition for a writ of error coram nobis and an amended memorandum of law in
 support of the motion. He said that in addition to the affidavits sworn to by Hardin and Turner, he had °recently made contact" with
  Boatwright, who signed an affidavit on April 5, 2012,"stating that the incriminating testimony he provided at[the petitioner's] trial
  was false and that he was forced to provide that testimony by the investigating police officers, leading to the conviction of an
  innocent man." The petitioner attached Boatwright's affidavit to his amended petition. The petitioner said that Boatwright had "called
 the Petitioner by name in his identification despite having never known him and admitted that he had discussed the Petitioners
  identity with someone before the identification before eventually recanting his testimony." The State filed no response to the
 amended petitions.
 On June 27, 2012, the coram nobis court filed an order, dismissing the petition. The court noted that the petitioner had supplied two
  affidavits as newly discovered evidence. The court noted that Hardin's affidavit was dated twelve years after the trial. The court
 found that it was not newly discovered evidence because Hardin 'does not completely recant his testimony, he was available for
 cross examination, and the certainty and reliability of his identification testimony were certainly available for petitioner to attack." The
 trial court also stated that Turners affidavit, which was dated thirteen years after the trial, did not contain newly discovered evidence.
 The court explained, "Neither her affidavit nor the petition establish why petitioner could not have known this person was at the
 scene of the crime and therefore a potential witness. A general Brady motion does not relieve a defendant of the duty to diligently
 investigate a case." The court stated:
 Petitioner fails to show that the introduction of the contents of the affidavits into evidence would have produced a different result at
 trial. Witness Bowman testified that before the shooting the petitioner told him that he, the petitioner, had spotted the men who
 robbed him. Victim Boatwright identified petitioner as the perpetrator and the certainty and reliability of his identification were
 available for attack by the defense. Petitioner introduced other witnesses to present the defense of alibi. The jury did not believe his
 witnesses and did believe the state's witnesses.
 *4 Petitioner seeks to bolster his argument by complaining of ineffective assistance of counsel. The effectiveness of trial counsel is
 not newly discovered evidence.
 On appeal, the petitioner challenges the coram nobis court's summary dismissal of his petition.
 IL Analysis
 Tennessee Code Annotated section 40-26-105 provides:
 There is hereby made available to convicted defendants in criminal cases a proceeding in the nature of a writ of error coram nobis,
 to be governed by the same rules and procedure applicable to the writ of error coram nobis in civil cases, except insofar as
 inconsistent herewith.... Upon a showing by the defendant that the defendant was without fault in failing to present certain evidence
 at the proper time, a writ of error coram nobis will lie for subsequently or newly discovered evidence relating to matters which were
 litigated at the trial if the judge determines that such evidence may have resulted in a different judgment, had it been presented at
the trial.
 Generally, a decision whether to grant a writ of error coram nobis rests within the sound discretion of the trial court. See State v..
 Hart, 911 S.W.2d 371,375(Tenn.Crim.App.1995).
 Initially, we note that on appeal, the State asserts that the petitioner's claim was barred by the statute of limitations. The record
reveals that the petitioners petition for a writ of error coram nobis was filed well-outside the one-year statute of limitations.
Tenn.Code Ann.§ 27-7-103. However, the State did not file a response to the petition and therefore did not raise the untimeliness
of the petition as an affirmative defense in the lower court. See Harris v. State, 102 S.W.3d 587, 593(Tenn.2003)(stating that ''the
State bears the burden of raising the bar of the statute of limitations as an affirmative defense"). Additionally, the coram nobis court
did not deny the petition on this basis. Therefore, we will not affirm the dismissal of the petition due to untimeliness.
The writ of error coram nobis, now codified in Tennessee Code Annotated section 40-26-105, is a post-conviction mechanism that
has a long history in the common law and the State of Tennessee. See, e.g., State v. Vasques, 221 S.W.3d 514, 524-26
(Tenn.2007). The writ "is an extraordinary procedural remedy ... [that] fills only a slight gap into which few cases fall.' State v. Mixon,
983 S.W.2d 661,672 (Tenn.1999).
 Our supreme court has outlined the procedure that a court
 considering a petition for a writ of error coram nobis is to follow:
(TJhe trialjudge must first consider the newly discovered evidence
and be "reasonably well satisfied" with its veracity. If the defendant is
"without fault"in the sense that the exercise of reasonable diligence
 would not have led to a timely discovery of the new information, the
trialjudge must then consider both the evidence at trial and that
offered at the coram nobis proceeding in order to determine whether
the new evidence may have led to a different result.
*5 Vasques, 221 S.W.3d at 527. In determining whether the new
information may have led to a different result, the question before the
court is"`whether a reasonable basis exists for concluding that had


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 the evidence been presented at trial, the result of the proceeding
 might have been different.'
" Id. (quoting State v. Roberto Vasques, No. M2004-00166—CCA—R3—CD,2005 WL 2477530, at "13(Tenn.CrimApp. at Nashville,
Oct. 7, 2005)).
The petitioner's petition for coram nobis relief is based on claims of recanted testimony and a newly discovered witness. Recanted
testimony may be considered newly discovered evidence under certain circumstances. See Mixon, 983 S.W.2d at 672. This court
has concluded that a trial court should only grant a writ of error coram nobis upon the basis of newly discovered recanted testimony
if:
(1) the trial court is reasonably well satisfied that the testimony given by the material witness was false and the new testimony is
true;(2)the defendant was reasonably diligent in discovering the new evidence, or was surprised by the false testimony, or was
unable to know of the falsity of the testimony until after the trial; and (3) the jury might have reached a different conclusion had the
truth been told.
State v. Ratliff, 71 S.W.3d 291,298 (Tenn.Crim.App.2001)(emphasis added)(citing Mixon,983 S.W.2d at 673 n. 17).
The coram nobis court found that "Petitioner fails to show that the introduction of the contents of the affidavits into evidence would
have produced a different result at trial." As we have noted, the proper standard to be applied is whether the jury "may have"
reached a different result. This court has previously stated,"While this appears at first glance to be a matter of mere semantics, the
difference in the analysis of the situation under a 'would have' standard is definitively more burdensome for a coram nobis petitioner
than would be the case under a 'may have' standard."

 Margo Freshwater v. State, No. W2006-01758—CCA-0T—CO,2008 WL 4560242, at "9(Tenn.Crim.App. at Jackson, Oct. 8, 2008).
 Therefore, requiring a petitioner to show that the new evidence would have resulted in a different verdict is not the correct standard
to use in denying coram nobis relief. See Johnson v. Stale, 370 S.W.3d 394,698-99(Tenn.2011); Vasques, 221 S.W.3d at 527-28.
 Accordingly, we must conclude that the trial court applied the wrong standard when dismissing the petition.
 Moreover, the coram nobis court dismissed the petition without a hearing. Our supreme court has previously cautioned that "[c]oram
 nobis claims are singularly fact-intensive [allegations that] are not easily resolved on the face of the petition and often require a
 hearing." Harris v. State, 102 S.W.3d 587,592-93(Tenn.2003). "However, a petitioner is not automatically entitled to an evidentiary
 hearing by simply filing a petition for writ of error coram nobis. Instead, the petition must demonstrate that the petitioner is entitled to
the extraordinary relief that the writ provides." Phedrek Davis v. State, No. M2011-01366—CCA—R3—CO,2012 WL 3017806, at *3
(Tenn.Crim.App. at Nashville, July 23, 2012)(internal quotations and citations omitted). Leaving to the coram nobis court to decide
whether the petitioner is entitled to the issuance of a writ of error coram nobis, we conclude that the petitioner nevertheless made a
sufficient threshold showing of newly discovered evidence to warrant a hearing.
111. Conclusion
*6 In sum, we conclude that the coram nobis court erred by summarily dismissing the petition and by applying the wrong standard.
Accordingly, we reverse the judgment of the court and remand for an evidentiary hearing.
Footnotes
1 A claim ofineffective assistance of counsel is not an appropriate ground for relief pursuant to a writ of error coram nobis. See
Daniel tee Draper v. State, No. E2009-00952—CCA—R3—PC, 2010 WL 5343193, at *5(Tenn.Crim.App. at Knoxville, Dec. 21,
2010).




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                                   HOLLIMAN v. STATE,
                    2012 WL 3793143(Tenn. Crim.App.8/31/2012)
                                            CCA No. W2011-01071—CCA—R3—CO.
   OPINION
   ROGER A. PAGE, J.
   *1 A Shelby County jury convicted petitioner, Brenda Holliman, of first degree murder and conspiracy to commit first degree murder.
   The trial court sentenced her to life imprisonment without the possibility of parole. Subsequently, she filed the instant petition for a
   writ of error coram nobis, claiming that a co-defendant recanted statements he made at his guilty plea hearing and that the
   recantation constitutes newly discovered evidence. The coram nobis court summarily dismissed the petition based on the statute of
   limitations. Following our review, we reverse the judgment of the coram nobis court and remand the matter for an evidentiary
   hearing.
   I. Procedural History
   Following an unsuccessful direct appeal to this court, State v. Brenda Holliman, No. W2003-01736—CCA—R3—CD,2005 WL 819735
  (Tenn.Crim.App. April 8, 2005), perm. app. denied(Tenn. Oct. 24, 2005), petitioner filed a timely petition for post-conviction relief .'
   While the post-conviction petition was pending, petitioner filed this petition for a writ of error coram nobis on March 26, 2010.
   In her petition for a writ of error coram nobis, petitioner raises for the first time a claim of newly discovered evidence based on the
   recantation of her co-defendant James Rodney Mills. On August 24, 2009, a reporter from a Memphis television channel interviewed
   Mills. During the interview, Mills recanted statements he made at his guilty plea hearing implicating petitioner in the first degree
   murder and conspiracy to commit first degree murder. He stated that he exaggerated petitioner's involvement to avoid the death
   penalty. Petitioner amended her petition in June 2010 to include a sworn statement from Mills to that effect.
   In the statement, Mills said that he and co-defendant Faglier met with petitioner and told her they were going to kill her husband, and
  they would kill her if she did not "go along" with their plan. He further stated that after he and Faglier killed petitioner's husband, they
  told her that if she made any mistakes when she spoke with police, one of them would kill her before police could arrest them both.
   He said that when he was indicted, members of the district attorney general's office and his attorney told him he would receive the
  death penalty for his crimes. For that reason, he said whatever "they" wanted him to say. He accused Faglier of lying about
   petitioner's involvement to save himself. Finally, he stated that petitioner is lucky to be alive because Faglier wanted to kill her when
  they did not receive the insurance money.
  The State defended the petition by raising the one-year statute of limitations. The State argued that the judgment denying
  petitioner's motion for new trial was entered on March 28, 2003; therefore, the one-year statute began to run on April 28, 2003, and
  expired on April 28, 2004. Petitioner responded that the statute of limitations should be tolled in the interest of due process.
  The coram nobis court held a hearing on the petition on August 10, 2010. The sole issue argued during the hearing was the
  timeliness of petitioner's filing, i.e., whether the court should toll the applicable one-year statute of limitations. The court took the
  matter under advisement, during which time petitioner filed a pleading entitled 'Statement in Support of Tolling Statute of Limitations
 for Petition for Relief Under Writ of Error Coram Nobis" on November 15, 2010. The coram nobis court entered an order dismissing
 the petition on April 8, 2011. This appeal follows.
  II. Analysis
  A. Standard of Review
 '2 The decision to grant or deny a petition for writ of error coram nobis on its merits is left to the sound discretion of the trial court.
 Harris v. State, 301 S.W.3d 141, 144(Tenn.2010)(citing State v. Vasques, 221 S.W.3d 514, 527-28(Tenn.2007)). A trial court
 abuses its discretion when it applies incorrect legal standards, reaches an illogical conclusion, bases its decision on a clearly
 erroneous assessment of the evidence, or employs reasoning that causes an injustice to the complaining party. State v. Ruiz, 204
 S.W.3d 772, 778(Tenn.2006)(citing Howell v. State, 185 S.W.3d 319, 337 (Tenn.2006)). The writ of error coram nobis is an
 "extraordinary procedural remedy ... into which few cases fall." State v. Mixon, 983 S.W.2d 661,672(Tenn.1999). Our legislature
 has limited the relief available through the writ:
 The relief obtainable by this proceeding shall be confined to errors dehors the record and to matters that were not or could not have
 been litigated on the trial of the case, on a motion for new trial, on appeal in the nature of a writ of error, on writ of error, or in a
 habeas corpus proceeding. Upon a showing by the defendant that the defendant was without fault in failing to present certain
 evidence at the proper time, a writ of error coram nobis will lie for subsequently or newly discovered evidence relating to matters
 which were litigated at the trial if the judge determines that such evidence may have resulted in a different judgment, had it been
 presented at the trial.
 Tenn.Code Ann.§ 40-26-105(b)(Supp.2011). To demonstrate she is entitled to coram nobis relief, petitioner must clear several
 procedural hurdles.
 First, the petition for writ of error coram nobis must relate:(1) the grounds and the nature of the newly discovered evidence;(2) why
the admissibility of the newly discovered evidence may have resulted in a different judgment had the evidence been admitted at the
 previous trial; (3)the petitioner was without fault in failing to present the newly discovered evidence at the appropriate time; and (4)
the relief sought by the petitioner. Freshwater v. State, 160 S.W.3d 548,553(Tenn.Crim.App.1995)(citing State v. Hart, 911 S.W,2d
 371, 374-75 (Tenn.Crim.App.1995)). The record reflects that petitioner complied with the initial requirements in her petition for relief.
 Next, a petition for writ of error coram nobis must generally be filed within one year after the judgment becomes final. Tenn.Code
Ann.§ 27-7-103(2000). When a petition is filed outside of the statute of limitations, the coram nobis court must determine whether
due process requires tolling. State v. Harris, 301 S.W.3d 141, 145 (Tenn.2010). In doing so, the "court must weigh the petitioner's
interest in obtaining a hearing to present a later-arising ground for relief against the State's interest in preventing stale and
groundless claims." Id. (citing Workman v. State, 41 S.W.3d 100, 103(Tenn.2001)). A court should utilize the following three-step
analysis to balance the competing interests:
*3(1)determine when the limitations period would normally have begun to run;
(2) determine whether the grounds for relief actually arose after the limitations period would normally have commenced; and




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 (3) if the grounds are later-arising," determine if, under the facts of the case, a strict application of the limitations period would
 effectively deny the petitioner a reasonable opportunity to present the claim.
 Id. (citing Sands v. State, 903 S.W.2d 297, 301 (Tenn.1995)).
 As previously noted, the coram nobis court held a hearing on the sole issue of whether the statute of limitations should be tolled in
 this case. The court held that there was an "unreasonable delay" in petitioners filing of her petition for relief and that the period
 "exceed[ed]the reasonable opportunity afforded by due process," thus denying her the opportunity for a hearing on the merits.
 Our analysis of the coram nobis court's ruling involves application of the factors set forth in Harris, supra. It is undisputed that the
 one-year statute of limitations began on April 28, 2003, and expired on April 28, 2004. Petitioner fded her petition on March 26,
 2010, and argued in the coram nobis court that the statute of limitations should be tolled in the interest of due process. We find, from
 our review of the record, that petitioner's asserted grounds for relief arose after the limitations period would have commenced. The
news reporter did not interview co-defendant Mills until August 24, 2009. From the information available in
the record, the August 24, 2009 interview was the first statement given by
Mills in which he recanted the testimony he gave at his guilty plea hearing.
Petitioner filed her petition for coram nobis relief on March 26, 2010. Thus,
there was no unreasonable delay in filing the petition after the newly
discovered evidence became known. Finally, we conclude that "a strict
application of the limitations period would effectively deny the petitioner a
reasonable opportunity to present the claim." Id. Accordingly, we reverse
the coram nobis court's ruling that petitioner's later-arising claim is barred
by the statute of limitations and remand for a hearing on the merits of her
claim.
We recognize that co-defendant Mills did not testify at petitioner's trial and
that any statement or testimony he offers at the coram nobis hearing would
be largely impeaching in nature because it would refute much of the
testimony of the State's primary material witness, Faglier. However,"whether the
testimony qualifies as impeachment evidence may be relevant in the determination but is not controlling." Vasques, 221 S.W.3d at
527. Our supreme court has noted that "a complete restriction on the availability of coram nobis relief in the case of any newly
discovered impeachment evidence would be inconsistent with the discretion afforded to our trial courts." Id. Thus, on remand, the
ultimate question is the effect of the newly discovered evidence on the outcome of petitioner's case when viewed under the
standards set forth by the court in Mixon, Workman, and Vasques. Id.
CONCLUSION
'4 Upon review of the record and the prevailing legal authorities, we reverse the judgment of the coram nobis court summarily
dismissing the petition and remand for a merits hearing on the petition for a writ of error coram nobis.
Footnotes
1 Petitioner's appeal from the denial ofpost-conviction relief was resolved unfavorably to petitioner on August 9, 2012. Brenda
Holliman v. State, No. W2011-00201—CCA—R3—PC,2012 WL 3249606(Tenn.Crim.App. Aug. 9, 2012).




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                                          EBLEN v. STATE,
                    2013 WL 4677619(Tenn. Crim.App.8/28/2013)
                                            CCA No. E2012-01117—CCA—R3—CO

  OPINION
  D. KELLY THOMAS, JR., J.
  *1 The Petitioner, William Paul Eblen, appeals from the Knox County Criminal Court's denial of his petition for writ of error coram
  nobis. The Petitioner contends that the coram nobis court erred in concluding that testimony from two witnesses alleging that the
  victim later recanted her allegations against the Petitioner was not credible. Following our review, we affirm the judgment of the
  coram nobis court.
  FACTUAL BACKGROUND
  In 2001, the Petitioner was convicted of two counts of aggravated rape and one count of aggravated kidnapping, and he received an
  effective sentence of twenty-four years. State v. William Paul Eblen, No. E2002-01221-CCA-R3-CD,2003 WL 22225636
 (Tenn.Crim.App. Sept.26, 2003), perm. app. denied,(Tenn. Mar. 8, 2004). At trial, the victim testified that on the evening of August
  31, 1998, the Petitioner entered her car, pulled out a gun, and had her drive to a secluded area. The Petitioner then forced the victim
  out of her car, sliced the front of her dress open with a knife, and raped her vaginally. During the rape, the victim tried to push away
 from the Petitioner, and he hit her in the face three times, Id. at * 1.
  After the Petitioner ejaculated, he forced the victim back into the car and had her drive him to an alley. The victim testified that the
  Petitioner had her get out of the car and bend over the hood. The Petitioner then raped the victim anally. The victim testified that she
  could "feel it ripping" as the Petitioner raped her. When he was finished, the Petitioner shoved a ten-dollar bill in the victim's mouth,
 told her,'Thanks for a good time," and left. The victim testified that she drove home and told one of her friends about what
  happened. Eblen, 2003 WL 22225636, at *1-2.
 The friend testified at trial that she heard the victim's "laying on" her car horn and eventually went outside to check on the victim.
  When she got outside, she found the victim in her car, crying and upset with a "black eye" and a torn dress. According to the friend,
 the victim then told her that she had just been raped. The friend flagged down a police officer, and the victim was taken to the
  hospital. Two police officers testified that they observed injuries to the victim's face and upper lip and that these injuries appeared to
  be "consistent with injuries that occurred immediately after an assault.' Another officer testified that the victim's dress appeared to
  have been cut with a knife and torn. Eblen, 2003 WL 22225636, at *2-3.
 The examining doctor testified that the victim had bruising and swelling on her right check, that the injury appeared to have occurred
 in the previous two hours, and that the injury was consistent with having been inflicted by a fist. There was also a cut on the victim's
  upper lip. The examining doctor testified that he observed irritation on the victim's labia and that the victim's rectal area "appeared to
 be traumatized." The doctor observed that the area was "diffusely swollen ... and there was a small tear" most likely caused by some
 type of penetrating trauma. A rape kit was performed and subsequent testing revealed the presence of sperm in samples taken from
 the victim's vagina and rectum. DNA testing of the samples determined that it was the Petitioner's sperm. Eblen, 2003 WL
 22225636, at *2.
 "2 At trial, the Petitioner testified that he had consensual sex with the victim and that the victim was lying, but that he did not'have a
 clue" why she was lying. However, the Petitioner claimed that he only had vaginal sex with the victim and that he did not know how
 the victim injured her rectal area. The Petitioner's counsel theorized at trial that the injuries to the victim's face had been caused the
 previous night by the victim's boyfriend. The Petitioner presented testimony at trial from the police officer who responded to "a
 domestic call" the night before the alleged rape. The officer testified that the victim told him that her boyfriend had hit her with his fist
 and that he observed the victim to have a split lower lip. However, the Petitioner claimed that he did not notice any injuries to the
 victim's face, that she did not complain about a hurt lip, and that her dress was not torn when he left her. Eblen, 2003 WL 22225636,
 at "3-4.
 Prior to his direct appeal of his convictions, the Petitioner filed a writ of error coram nobis claiming that the victim had told three
 people that the Petitioner had not raped her. The trial court held a hearing on the petition during which the Petitioner presented
 testimony from two of the victim's ex-boyfriends. Both men claimed that the victim told them that she lied about the Petitioner's
 raping her because she was afraid that her boyfriend would beat her if he learned that she had consensual sex with the Petitioner.
 Both men admitted that they did not tell anyone about the victim's alleged statements until after the Petitioner's trial and after they
 had been incarcerated with the Petitioner. The Petitioner also presented the testimony of the mother of one of the men who claimed
 that the victim had made similar statements to her. The victim testified at the hearing that the witnesses were lying and reiterated
that the Petitioner had raped her. Eblen, 2003 WL 22225636, at "9-10.
 The trial court denied the petition for writ of error coram nobis, concluding that the witnesses were not credible. The trial court noted
that both of the men were former boyfriends of the victim and did not come forward until after they had been incarcerated with the
 Petitioner. The trial court found that the testimony of the trial witnesses, along with the medical and physical evidence, corroborated
the victim's claims and that it was not convinced that the victim had testified falsely at trial. On direct appeal, this court affirmed the
Petitioner's convictions and concluded that the proof of the Petitioner's guilt was "overwhelming." This court also affirmed the trial
court's denial of the Petitioner's petition for writ of error coram nobis, concluding that the trial court did not abuse its discretion in
finding that the three witnesses were not credible. Our supreme court declined to review this court's opinions. Eblen, 2003 WL
22225636, at "4-10.
On May 5, 2011, the Petitioner filed a second petition for writ of error coram nobis, asserting that the victim's ex-boyfriend, Terry
Norris, and her brother, B.P.,' had recently come forward to claim that the victim had told them that she had falsely accused the
Petitioner of rape. The Petitioner also submitted affidavits from Mr. Norris and B.P.2 The coram nobis court determined that the
petition was not barred by the statute of limitations and held a hearing, at which both Mr. Norris and B.P. testified. The victim did not
testify at this hearing, and B.P. claimed that the victim was "on the run from parole." Mr. Norris testified that he had not seen the
victim in years and did not know where she was.
"3 At the hearing, B.P. claimed that sometime in the winter of 2001, he was at a party with the victim, and she was upset and
intoxicated. B.P. testified that he asked the victim why she was upset, and she told him that the Petitioner "did not rape her." B.P.



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  claimed that the victim said that "she went along with the rape thing" because she was afraid of Mr. Norris. According to B.P., the
  victim told him that she and the Petitioner had gone out 'riding around, smoking, drinking, and they had sex." B.P. claimed that the
  victim told him that Mr. Norris discovered that she had sex with the Petitioner, and when she got home, Mr. Norris pulled her out of
  the car and 'beat the s--t out of[her]." B.P. testified that the victim told him that she said she was raped in order to get Mr. Norris to
  stop beating her. B.P. also testified that the victim did not tell him how Mr. Norris found out that she and the Petitioner had sex.
  B.P. admitted that he told no one about what the victim said to him until after he was incarcerated with the Petitioner. B.P. testified
  that he spoke with the Petitioner in the prison yard and that Mr. Norris was present during their conversation. B.P. claimed that he
  only talked to the Petitioner once3 about what he knew and that the Petitioner asked him to have the prison's "legal Clerk" type an
  affidavit for him to sign. B.P. testified that he wrote his statement himself and gave it to the clerk to type. However, B.P. later
  admitted that he only wrote out a brief outline of the facts, that the clerk "prettied [sic]them up," and that the affidavit actually
  contained the clerk's words and not his. B.P. also admitted that the affidavit stated that his alleged conversation with the victim
  occurred in 2009, that it stated that Mr. Norris only hit the victim in her face when he recalled the victim's saying that Mr. Norris beat
  her "all over," and that it stated that the victim told him the Petitioner did not have a weapon when he actually did not recall the
  victim's making such a statement.
  B.P. testified that he had prior convictions for possession of cocaine with intent to sell,'weapons charges," criminal impersonation,
  and violation of the terms of his probation. B.P. also testified that he was close to the victim and that she had always "confided" in
  him. However, B.P. later admitted that he had not spoken to the victim in years. B.P. further admitted that he knew very little about
 the details of the alleged rape because he did not live with the victim when it occurred, that he rarely spoke to her at that time, and
 that he did not attend the Petitioner's trial. B.P. also admitted that outside of two brief periods of time when he lived with his sister,
  he hardly ever spoke to her.
  Mr. Norris testified that he did not hit the victim on the night she alleged the Petitioner had raped her and that he did not see any
  blood on her face. Mr. Norris instead claimed that the night before the victim had "fell in the floor" and had "busted her lips and
  bruised her face." Mr. Norris claimed that when the victim returned home, he "[ran] up on" her and pulled her out of the car by her
 dress. Mr. Norris testified that he did not know if he tore the victim's dress when he grabbed her but that it was possible. Mr. Norris
 claimed that the victim did not act like someone who had just been raped and that she did not start crying until after she told him the
 Petitioner had raped her. Mr. Norris also claimed that the victim did not want to call the police, but that "the neighbors" had crowded
 around while they were talking and one of them was "already on the phone" with the police.
 *4 According to Mr. Norris, in 2009, he was at a party with the victim, and he described their relationship at the time as being "just
 friends." Mr. Norris claimed that the victim started crying and told him that she "had someone put in prison for something they didn't
 do." Mr. Norris testified that the victim told him that she "had always had [an]interest in" the Petitioner and that she had consensual
 sex with the Petitioner. Mr. Norris claimed that the victim told him that claiming the Petitioner raped her was "the first thing that
[came]to her mind to say" when Mr. Norris "grabbed her and started wigging out on her." Mr. Norris also claimed that despite his
 relationship with the victim, that was the first time she had ever talked to him about the rape.
 Mr. Norris testified that he told no one about the victim's alleged statements to him until after he had been incarcerated with the
 Petitioner. Mr. Norris admitted that the Petitioner's counsel had previously represented him in criminal court but that he did not say
 anything to counsel about the victim's alleged statements. Mr. Norris testified that he spoke to the Petitioner only once about the
 victim's alleged statements in the prison gym. Mr. Norris admitted that his affidavit contained factual inconsistencies with his
 testimony, such as incorrectly stating that he met with the Petitioner on the prison "ball field." Mr. Norris testified that he had no "ax
 to grind" with the victim. However, he admitted that in 2001, he was arrested and convicted of assault and aggravated burglary
 against the victim.
The coram nobis court, after reviewing the transcript of the Petitioner's trial, denied the petition. The coram nobis court concluded
that the witnesses were not credible, noting that both men were convicted felons who did not come forward with this information until
after they had been incarcerated with the Petitioner. The coram nobis court found the testimony of both witnesses to be inconsistent
 with the evidence at trial. The coram nobis court noted that the testimony at trial established that the victim told her friend about the
alleged rape before she told Mr. Norris and that there was no evidence that Mr. Norris was present when she came home. The
coram nobis court also noted the testimony at trial that the victim's injuries appeared to be very recent and that she had trauma to
 her anal region. The Petitioner now appeals the decision of the coram nobis court.
ANALYSIS
The Petitioner contends that the coram nobis court erred by denying his petition. The Petitioner argues that "the new evidence is
trustworthy" given that several witnesses have alleged that the victim recanted her allegations against the Petitioner and that "had
the jury heard [this new evidence], it might well have reached a different decision." The State responds that the Petitioner's claim
should have been barred by the statute of limitations. The State further responds that the coram nobis court did not abuse its
discretion in determining that the witnesses were not credible.
*5 A writ of error coram nobis is an extraordinary remedy available only under very narrow and limited circumstances. State v.
Mixon, 983 S.W.2d 661,666(Tenn.1999). A writ of error coram nobis lies "for subsequently or newly discovered evidence relating to
matters which were litigated at the trial if the judge determines that such evidence may have resulted in a different judgment, had it
been presented at the trial." Tenn.Code Ann. § 40-26-105 (2006); see State v. Hart, 911 S.W.2d 371, 374 (Tenn.Crim.App.1995).
The purpose of a writ of error coram nobis "is to bring to the court's attention a previously unknown fact that, had it been known,
would have resulted in a different judgment." Wilson v. State, 367 S.W.3d 229, 234-35 (Tenn.2012). The decision to grant or deny
the writ rests within the discretion of the trial court. Teague v. State, 772 S.W.2d 915, 921 (Tenn.CrimApp.1988). "A court abuses its
discretion when it applies an incorrect legal standard or its decision is illogical or unreasonable, is based on a clearly erroneous
assessment of the evidence, or utilizes reasoning that results in an injustice to the complaining party." Wilson, 367 S.W.3d at 235.
A petition for writ of error coram nobis must be filed within one year
of the date thejudgment of the trial court becomes final. See
Tenn.Code Ann.§§ 27-7-103,40-26-105. Mixon, 983 S.W.2d at 671.
The one-year limitations period may be tolled only when required by


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due process concerns. See Workman v. State, 41 S.W.3d 100, 103
(Tenn.2001). Courts must "balance the petitioner's interest in having a
hearing with the interest of the State in preventing a claim that is stale
and groundless"in determining whether due process tolls the statute
oflimitations. Wilson, 367 S.W.3d at 234. To do so, courts perform the
following steps:
(1) determine when the limitations period would normally have begun
to run;
(2) determine whether the grounds for relief actually arose after the
limitations period would normally have commenced; and(3) if the
grounds are "later-arising," determine if, under the facts of the case a
strict applications of the limitations period would effectively deny the
petitioner a reasonable opportunity to present the claim.
  Id. (quoting Sands v. State, 903 S.W.2d 297, 301 (Tenn.1995)).
  Here, the limitations period would have begun upon the entry of the trial court's order denying the Petitioner's motion for new trial in
 2002. B.P. and Mr. Norris both testified that they did not tell anyone about the victim's alleged statements until they spoke with the
  Petitioner in 2010. A strict application of the limitations period would 'effectively deny [the] Petitioner a reasonable opportunity to
  present his claim." Wilson, 367 S.W.3d at 234. The State argues that the Petitioner's claim should be barred because he did not file
  his petition until a little over thirteen months after Mr. Norris spoke with him. However, our supreme court has previously held in a
  capital case that a petition filed thirteen months after the petitioner became aware of new evidence did not exceed the reasonable
 opportunity afforded by due process. Workman,41 S.W.3d at 103; see also Sample v. State, 82 S.W.3d 267, 276(Tenn.2002)
 (concluding that a petition filed sixteen months after the new evidence was discovered was not per se unreasonable). Accordingly,
 we conclude that the coram nobis court did not err by determining that due process principles tolled the statute of limitations in this
 case.
 *6 Recanted testimony may qualify as newly discovered evidence and justify the granting of a writ of error coram nobis. Mixon, 983
 S.W.2d at 672. However, newly discovered recanted testimony will only justify the granting of a writ of error coram nobis and a new
 trial if:
(1)the trial court is reasonably well satisfied that the testimony given by the material witness was false and the new testimony is
 true;(2)the defendant was reasonably diligent in discovering the new evidence, or was surprised by the false testimony, or was
 unable to know of the falsity of the testimony until after trial; and (3)the jury might have reached a different conclusion had the truth
 been told.
 Id. at 673 n. 17. This court has previously held that this test applies when the newly discovered evidence is a material witness'
 statements that are inconsistent with her trial testimony. Eblen, 2003 WL 22225636, at *10 n. 3.
 There is no evidence in the record that the trial court abused its discretion in determining that it was not reasonably well satisfied
 that the testimony given by the victim at trial was false and that the testimony of the witnesses was true. As both the trial and coram
 nobis courts found, the testimony of the other witnesses at trial, along with the medical and physical evidence, corroborated the
 victim's claims. The victim had injuries to her anal region consistent with a rape, the injuries to her face appeared to be recent and
inconsistent with the description of the injuries she had sustained the night before, and the victim's dress appeared to have been cut
with a knife. The testimony of B.P. and Mr. Norris was inconsistent with the testimony at trial regarding what occurred when the
 victim returned home. There was no evidence that Mr. Norris was present, and it was established at trial that the victim's friend
flagged down a police officer, not that the police were called as Mr. Norris claimed. The testimony of both B.P. and Mr. Norris was
inconsistent with statements made in their affidavits and with the other's testimony. Both men were inconsistent in their
                                                                                                                                    descriptions
of where, when, and how they informed the Petitioner about the alleged newly discovered evidence. Furthermore, both men are
convicted felons who told no one about the victim's alleged statements until after they had been incarcerated with the Petitioner.
Accordingly, we conclude that the coram nobis court did not abuse its discretion in denying error coram nobis relief on the basis
                                                                                                                                               that
the witnesses were not credible.
CONCLUSION
In consideration of the foregoing and the record as a whole, the judgment of the coram nobis court is affirmed.
Footnotes
1 It is the policy of this court to identify victims ofrape by their initials_ In order to protect the privacy of the victim we
                                                                                                                                 will refer to her
brother by his initials as well.
2 These affidavits were not included in the appellate record. However, the State on cross-examination of
                                                                                                                    both witnesses read
extensive portions of the affidavits into the record.
3 B.P. admitted that he had separate conversations with Mr. Norris about the alleged conversation he had
                                                                                                                      with the victim.




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           IN THE CRIMINAL COURT FOR DAVIDSON COUNTY,TENNESSEE
                               AT NASHVILLE
                                 DIVISION I


FREDERICK BRAXTON
Petitioner,

V.                                                                   CASE NO. 2007-A-732
                                                                     (Error Coram Nobis)
STATE OF TENNESSEE,
Respondent.


                                             ORDER

        This cause came to be heard on a petition for writ of error coram nobis. On October 15,

2008, the Petitioner was convicted by a jury of attempted second degree murder. The Petitioner

received a nineteen (19) year sentence to be served as a Range II offender. The Court denied the

Petitioner's motion for a new trial on August 4, 2009. Subsequently, the Tennessee Court of

Criminal Appeals affirmed the judgments of the Court. See State v. Braxton, 2011 WL 3809773

(Tenn. Crim. App. Aug. 26, 2011) perm. app. denied (Tenn. Jan. 10, 2012). No petition for post-

conviction relief was ever filed. The Petitioner, by and through counsel Gregory Smith, now

moves this Court to set aside his conviction and dismiss the case with prejudice on the basis that

the victim of the attempted murder, Mr. James Williams, has recanted his prior testimony

implicating the Petitioner and now states that neither individual who shot at him was the

Petitioner. The Petitioner submitted a sworn affidavit from Mr. Williams to that end.


       After reviewing the allegations set forth in the instant petition, the Court does find that an

evidentiary hearing should be held for the Court to hear live testimony from the victim of the

case, Mr. James Williams, who allegedly has recanted his identification of the Petitioner.




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Accordingly, the matter is set for healing on January 5, 2018. Any written respOnse by the State

must be filed by the date ofthe hearing.




Entered this       day of November, 2017.


                                                                ,644,
                                                                  Steve R. Dozier, Ju
                                                                  Criminal Court, Division I


cc:    Honorable Gregory Smith,
       Attorney for the Petitioner;
       Honorable J. Wesley King,
       Assistant District Attorney General.




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          IN THE CRIMINAL COURT FOR DAVIDSON COUNTY,TENNESSEE
                                DIVISION I


FREDERICK BRAXTON
          Petitioner
                                                                                  Date
VS.                                               NO:2007-A-732


STATE OF TENNESSEE
           Respondent


       MOTION TO DISMISS PETITION FOR WRIT OF ERROR CORAM NOBIS

       Comes the State ofTennessee,and moves the Court to dismiss the Petition of Writ ofError

Coram Nobis. In support thereofthe State would show the following:

       A writ of error coram nobis is an extraordinary remedy by which the court may provide

relief from a judgment under only narrow and limited circumstances. State v. Mixon,983 S.W.2d

661,666(Tenn. 1999). Tennessee Code Annotated § 40-26-105 provides this remedy to criminal

defendants:

       Upon a showing by the defendant that the defendant was without fault in failing to present

       certain evidence at the proper time, a writ of error coram nobis will lie for subsequently or

       newly discovered evidence relating to matters which were litigated at the trial if the judge

       determines that such evidence may have resulted in a different judgment, had it been

       presented at the trial. The issue shall be tried by the court without the intervention of a

      jury, and if the decision be in favor of the petitioner, the judgment complained of shall be

       set aside and the defendant shall be granted a new trial in that cause. Tenn. Code Ann.§

       40-26-105(b),(c)(2012).




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          The statute oflimitations for filing a petition for writ of error coram nobis is one year from

the date the judgment becomes final in the trial court. See Tenn, Code Ann. § 27-7-103; Mixon,

983 S.W.2d at 667. A judgment becomes final, for purposes ofcoram nobis relief, thirty days after

the entry ofthe judgment in the trial court if no post-trial motion is filed, or upon entry of an order

disposing of a timely filed post-trial motion. Mixon, 983 S.W.2d at 670-71. The State bears the

burden of raising the bar ofthe statute oflimitations as an affirmative defense. Sands v. State, 903

S.W.2d 297, 299 (Tenn. 1995). However, due process considerations may toll the limitations

period. Workman v. State, 41 S.W,3d 100, 103 (Tenn. 2001). To determine whether due process

tolling applies, courts should examine:(1) when the limitations period would normally have begun

to run;(2) whether the grounds for relief arose after the limitations period normally would have

commenced; and (3) if the grounds are later-arising, would a strict application of the limitations

period deny the petitioner a reasonable opportunity to present the claim. Sands, 903 S.W.2d at

301.

          The petitioner in this case was convicted on October 15, 2008, His Motion for New Trial

was denied on August 4, 2009. Therefore, the judgment became final in the trial court on or about

September 5, 2009. The instant Petition for Writ of Error Coram Nobis was filed on November

13,2017, over eight(8) years following the expiration of the statute of limitations.

          The Petitioner requests the Court grant his Petition and dismiss the case based upon the

argument that there is now recanted testimony. As a preliminary matter,the State submits the only

possible remedy available to Petitioner should the Court grant his Petition is the granting of a new

trial. A new trial should not be granted on the basis of "newly discovered recanted testimony"

unless:

       (l) the trial court is reasonably well satisfied that the testimony given by the material

          witness was false and the new testimony is true;


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       (2)the petitioner was reasonably diligent in discovering the new evidence, or was surprised

        by the false testimony, or was unable to know ofthe falsity of the testimony until after the

        trial; and

       (3)the jury might have reached a different conclusion had the truth been told.

        Mixon, 983 S. W.2d at 673 n.17.

The State submits the proposed testimony of Mr. Williams lacks sufficient indicia of

trustworthiness necessary for consideration by the Court. The State further submits that the

Petitioner was not "reasonably diligent in discovering" what he contends to be new evidence

and/or false testimony, as these allegations are surfacing over nine (9) years after Mr. Williams

testified under oath in front of a jury.

       The State would therefore submit that the Petition for Writ of Error Coram Nobis should

be dismissed without further hearing. Should the Court allow the matter to proceed to hearing, the

State denies the factual allegations contained in the petition and demands strict proof thereof.



                                                 Respeptfully subrnitte


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                                                           ng
                                                   enn.Sup.Ct.Reg.#24137
                                                ,beputy District Attorney General
                                                 Washington Square, Suite 500
                                                 222 Second Avenue North
                                                 Nashville, TN 37201-1649
                                                 (615) 862-5500




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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and exact copy ofthe foregoing has been forwarded to Gregory

Smith, Counsel for Frederick Braxton, via facsimile to(931)647-2850 and e-mail, on this-414e-4th

day of January, 2018.
                                                                        •




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                IN THE CRIMINAL COURT OF DAVIDSON COUNTY,TENNESSEE,DIVISION I
                MINUTES,JANUARY 8, 2018

                STATE OF TENNESSEE

                VS.                  CASE NO.2007-A-732

                FREDERICK EDWARD BRAXTON

2007-A-732
                CAME THE ATTORNEY GENERAL WHO PROSECUTES FOR THE STATE AND THE
PETITION FOR
WRIT OF ERROR   DEFENDANT IN PERSON,BEING REPRESENTED BY COUNSEL.
CORAM NOBIS
TAKEN UNDER     THEREUPON,THIS CAUSE CAME ON TO BE HEARD BY THE COURT UPON A PETITION
ADVISEMENT      FOR WRIT OF ERROR CORAM NOBIS; AFTER A HEARING,DUE CONSIDERATION
                AND ALL THE EVIDENCE INTRODUCED,SAID MOTION IS TAKEN UNDER
                ADVISEMENT WITH AN ORDER TO BE ENTERED.

                GREGORY SMITH , ATTORNEY FOR DEFENDANT

                J. WESLEY KING ,ASSISTANT DISTRICT ATTORNEY




                ORDERED THAT COURT STAND ADJOURNED UNTIL IN ME MORNING AT NINE
                O'CLOCK.


                                     STEVE DOZIER,JUDGE


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          IN THE CRIMINAL COURT FOR DAVIDSON COUNTY,TENNESSEE
                              AT NASHVILLE
                                DIVISION I


FREDERICK BRAXTON
Petitioner,

V.                                                                CASE NO. 2007-A-732
                                                                  (Error Coram Nobis)
STATE OF TENNESSEE,
Respondent


                                            ORDER

       This cause came before the Court on January 5, 2018, for a hearing on the Petitioner's

petition for writ of error coram nobis. On October 15, 2008, the Petitioner was convicted by a

jury of attempted second degree murder. The Petitioner received a nineteen (19) year sentence to

be served as a Range II offender. The Court denied the Petitioner's motion for a new trial on

August 4, 2009. Subsequently, the Tennessee Court of Criminal Appeals affirmed the judgments

of the Court. See State v. Braxton, 2011 WL 3809773 (Tenn. Crim. App. Aug. 26, 2011) perm.

app. denied (Tenn. Jan. 10, 2012). No petition for post-conviction relief was ever filed. On

November 13, 2017, the Petitioner, by and through counsel Gregory Smith, filed the instant

petition. The Petitioner requests the Court set aside his conviction and dismiss the case with

prejudice on the basis that the victim ofthe attempted murder, Mr. James Williams, has recanted

his prior testimony implicating the Petitioner. The Court conducted the instant evidentiary

hearing on January 5, 2018. At the conclusion of the hearing, the Court took the matter under

advisement, and now issues this Order regarding the requested relief.




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                                            Testimony

       At the instant hearing, the Court first heard testimony from Mr. James Williams, the

victim in the instant case. Mr. Williams testified as to the following: He contacted the family of

the Petitioner around the beginning of October, 2017, and subsequently met with the Petitioner's

attorney, Mr. Gregory Smith. He testified in the trial in this case that the Petitioner was the man

who shot at him. However, he now recants that testimony, and states that the Petitioner was

neither present nor involved in the shooting. He deliberately lied and said the Petitioner was one

of the shooters because he was upset with the Petitioner and wanted the Petitioner to get in

trouble. In 2010, he was convicted of a crime that he believed he should not have been convicted

for, and started feeling bad about what he did to the Petitioner. He met with Mr. Smith about his

recantation. At his request, Mr. Smith provided him with copies of statutes related to aggravated

perjury and the statute of limitations for that offense. He believed the statute of limitations for

aggravated perjury had expired. Mr. Smith was clear when he provided the statutes that he was

not advising him about whether the statute of limitations actually had expired. He has not hired

an attorney to represent him, and declined to continue the hearing to have the opportunity to

consult with an attorney. He wished to testify about his false testimony at trial because he has

experienced bad karma since the original trial in this case. Before making contact with the family

in October of 2017, he had not told anyone he had lied about his testimony.

       On cross-examination by Assistant District Attorney Wesley King on behalf of the State,

Mr. Williams testified as to the following: His conviction in 2010 was out of Davidson County

Criminal Court, Division V, before Judge Monte Watkins. He served four years of that sentence

in the custody of the Tennessee Department of Correction before his release. He never

encountered the Petitioner while incarcerated. He did encounter Mr. Leonard Harris, the co-



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defendant in this case, once when they were both at the courthouse for court dates while he

himself was incarcerated. This incident has been "eating [him] up" since the day the Petitioner

was convicted. Later in the hearing, he stated he realized what he did was wrong after his

conviction in 2010. He was arrested in that case after selling drugs to a confidential informant.

He was upset because he felt like someone "snitched" on him in that case. That arrest led him to

realize that he should not have testified falsely against the Petitioner. He has known the

Petitioner since the 1990s. He and the Petitioner began to have conflict with each other in 2005.

The Petitioner was angry with him because the Petitioner thought that he shot the Petitioner's

brother. He did not shoot the Petitioner's brother, but the Petitioner thought he did. In the instant

case, he was shot multiple times and suffered extensive injuries. The shooting took place on

Dickerson Pike at approximately 5:00 P.M. It was still daylight when the incident occurred, and

he got a good look at the two men who shot at him. He was driving down the street when the

vehicle the shooters were in pulled up beside him from behind him and the two shooters opened

fire. He was struck by six shots, and there were nineteen shots into the car. Mr. Harris was one of

the shooters, but the other shooter was not the Petitioner. He knew who the other shooter was,

but was "not at liberty" to say who he was. He had previously shot the other shooter. Since this

incident, he has made peace with that individual, so he does not wish to implicate him in the

shooting at this time. Before he made contact with the Petitioner's family about recanting, a

cookout had taken place. He was not at the cookout because he was in prison at the time. His

uncle was at the cookout, as were several members of the Petitioner's family. Someone at the

cookout gave his uncle the phone number of one of the Petitioner's brothers (not the one the

Petitioner believed he had shot) and indicated that the Petitioner's family wanted to talk to Mr.

Williams. He knew that brother as "Li!' Roe." His uncle gave him that message to him after he



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was released from prison. He had not told anyone that he had testified falsely against the

Petitioner, but everyone in his community knew that he did. He thought his uncle gave him the

message so that he could make peace with the Petitioner and the Petitioner's family. Based on

his uncle giving him "Lil' Roe's" phone number, he called "Lil' Roe," and that ultimately led to

him meeting with the Petitioner's attorney and recanting. He has wanted to recant since he was

convicted in 2010, but did not do so until recently because of pride and where he was in his life.

After he was shot, he was transported to Vanderbilt University Medical Center, and that was

where he first spoke with the police. At first, he did not want to identify the shooters, because he

wanted to take revenge himself. He told his mother that was why he would not identify the

shooters. His mother urged him to not take matters into his own hands. After that conversation,

he told the police Mr. Harris and the Petitioner were the men who shot him The Petitioner bound

over his case without a preliminary hearing. However, a preliminary hearing was conducted in

Mr. Harris's case, and he testified under oath in that hearing. Everything he testified to in that

hearing was true except for his identification of the Petitioner as one of the shooters. He

identified the Petitioner as a shooter because he was upset with the Petitioner. He was upset with

the Petitioner because he believed the Petitioner was responsible for his sister and her children

being shot at when they were driving on the interstate. This case remained pending for two years

before it went to trial. He remained in contact with General King and Ms. Cathy Harrison, the

victim witness coordinator in the case, while the trial was pending. Mr. Harris tried to contact

him while the case was pending and threatened him, but be still wanted to go to trial. He did not

want to let Mr. Harris bully him into not testifying. He met with the prosecutors handling the

case of his own volition, and he was never coerced or bullied into testifying. The only thing the

prosecutors ever asked him to do was tell the truth. He had a prior criminal history at the time of



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the trial, and he was open and honest about that. He testified at trial while under oath that the

Petitioner was one of the individuals who shot him. He also never gave any indication that the

Petitioner was not the shooter in the sentencing hearing, and asked for the Petitioner to receive

the maximum sentence the Court could give him. He never testified on the Petitioner's behalf

before a parole board or anything like that. When he met with the Petitioner's attorney in relation

to the instant proceeding, he was initially concerned about the possibility he could be charged

with perjury. After he saw the statutes Mr. Smith provided to him, he believed he was beyond the

statute of limitations. He has an extensive criminal history. In addition to his conviction in 2010

in Division V, he has prior convictions for one aggravated burglary, two aggravated assaults,

felony tampering with evidence, alteration of a serial number, unlawful possession of a weapon,

and a number of lesser offenses. He received a call shortly before the instant hearing from

another of the Petitioner's brothers, who he knows as "Big Roe," who wanted to make sure he

was coming.

        On re-direct examination, he testified to the following: He has not received any payment

or inducement from the Petitioner or the Petitioner's family to testify. He lied when he identified

the Petitioner in this case originally, but is telling the truth at this time,

                                                Analysis

The statute that governs the writ of error coram nobis in Tennessee provides as follows:

       Upon a showing by the defendant that the defendant was without fault in failing to
       present certain evidence at the proper time, a writ of error coram nobis will lie for
       subsequently or newly discovered evidence relating to matters which were
       litigated at the trial if the judge determines that such evidence may have resulted
       in a different judgment, had it not been presented at the trial.

Tenn. Code Ann. § 40-26-105 (2010). The statute further provides that "[t]he relief obtainable

by this proceeding shall be confined to errors dehors the record and to matters that were not or


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could not have been litigated on the trial ofthe case, on a motion for a new trial, on appeal in the

nature of a writ of error, on writ of error, or in a habeas corpus proceeding." Tenn. Code Ann. §

40-26-105 (2010). Tennessee courts have consistently recognized that the writ of error coram

nobis "is an extraordinary procedural remedy... [that] fills only a slight gap into which few cases

fall." State v. Mixon,983 S.W.2d 661,672(1999).

        While recanted testimony can qualify as "newly discovered evidence" that can form the

basis of coram nobis relief, the trial court is only to grant relief on the basis of recanted

testimony where:

       (1) the trial court is reasonably well satisfied that the testimony given by the

       material witness was false and the new testimony is true; (2) the defendant was

       reasonably diligent in discovering the new evidence, or was surprised by the false

       testimony, or was unable to know of the falsity of the testimony until after the

       trial; and (3) the jury might have reached a different conclusion had the truth been

       told.

State v. Vasques, 221 S.W.3d 514, 525 (Tenn. 2007)(quoting State v. Mixon, 983 S.W.2d 661,

673 n.17(Tenn. 1999)).

       Turning to the matter at hand, while Mr. Williams' testimony would clearly satisfy the

second and third elements of the test set forth in Vasques, the Court finds that it is not

"reasonably well satisfied" by the truthfulness of Mr. Williams' recantation, as the Court is of

the opinion that Mr. Williams' recantation is not credible.

       First, the Court notes that Mr. Williams only came forward with his purported recantation

after being contacted by the Petitioner's family. Additionally, the Court is concerned by Mr.

Williams' narrative about when he realized he was wrong to have testified falsely against the



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        Additionally, the Court also finds Mr. Williams' criminal record of crimes of dishonesty,

weighs against his credibility.

        Finally, and most critical to the Court's finding on Mr. Williams' credibility, is the fact

that Mr. Williams refused to provide the name of the individual who actually shot him. The

Court finds that Mr. Williams' explanation of why he could not identify the purported actual

shooter—that he had made his peace with the purported actual shooter after Mr. Williams had

shot the other individual, and the other individual shot Mr. Williams in this case--is simply not

believable. Mr. Williams testified in several instances about his belief and desire, at least around

the time of the shooting in this case, in retaliating on his own rather than involving law

enforcement. He even admitted that he did not disclose the names of the shooters to the police at

first because he planned to exact vengeance on his own. In light of this, the Court simply cannot

accept that Mr. Williams went from planning to shoot the purported actual shooter to deciding to

ignore that individual's actions and instead implicate the Petitioner in a situation in which the

Petitioner was not even involved.

       Accordingly, in light of the foregoing analysis, the Court is unable to find that it is

"reasonably well satisfied" by the truthfulness of Mr. Williams recantation. Thus, the Court must

hold that the Petitioner is not entitled to relief on his petition for a writ of error coram nobis, and

the Petitioner's request is hereby denied.

Entered this         day of February, 2018.


                                                                       Steve R. Dozier, Judge
                                                                       Criminal Court, Division I

cc:    Honorable Gregory Smith,
       Attorney for the Petitioner;
       Honorable J. Wesley King,
       Assistant District Attorney General,


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Petitioner. At one point in the hearing, Mr. Williams testified that he was "eaten up" by his false

testimony as soon as the Petitioner was convicted. Yet, he also admitted that at the sentencing

hearing, he still asked the Court to impose the maximum sentence it could upon the Petitioner.

However, at another point in the hearing, Mr. Williams testified that he only truly realized his

false testimony had been wrong when he himself was convicted in 2010. While the Court is

concerned by these inconsistencies, the Court is even more concerned by the fact that it took the

passage of at least seven additional years and the Petitioner's family contacting Mr. Williams

before he came forward and recanted. Not only did Mr. Williams not formally recant until after

the Petitioner's family had reached out, but he had never even admitted to anyone that he lied in

the instant case. The Court also notes with suspicion that Mr. Williams appeared concerned

about the statute of limitations for aggravated perjury, and made sure to check the limitations

period himself before he agreed to testify.

        In addition to these concerns about the timing of Mr. Williams' recantation, the Court

also notes that there is nothing surrounding the trial of the case that indicates Mr. Williams

testified falsely at the time. Mr. Williams admitted that he was not pressured by the State to

testify against the Petitioner and that the Petitioner had never threatened him (which could have

steeled his resolve to testify against the Petitioner, as had occurred with the co-defendant, Mr.

Harris). Further, Mr. Williams' testimony was corroborated by the testimony of another

eyewitness as to the majority of the facts of the case except the identity of the shooters. While

the Court recognizes that the fact Mr. Williams is the only witness who identified the Petitioner

as one of the shooters is a key piece of the Petitioner's request, the Court is of the opinion that

the fact that Mr. Williams' trial testimony was truthful in all other aspects weighs against his

position now that he lied about the identity ofthe Petitioner.



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        Additionally, the Court also finds Mr. Williams' criminal record of crimes of dishonesty,

weighs against his credibility.

        Finally, and most critical to the Court's finding on Mr. Williams' credibility, is the fact

that Mr. Williams refused to provide the name of the individual who actually shot him. The

Court finds that Mr. Williams' explanation of why he could not identify the purported actual

shooter—that he had made his peace with the purported actual shooter after Mr. Williams had

shot the other individual, and the other individual shot Mr. Williams in this case—is simply not

believable. Mr. Williams testified in several instances about his belief and desire, at least around

the time of the shooting in this case, in retaliating on his own rather than involving law

enforcement. He even admitted that he did not disclose the names of the shooters to the police at

first because he planned to exact vengeance on his own. In light of this, the Court simply cannot

accept that Mr. Williams went from planning to shoot the purported actual shooter to deciding to

ignore that individual's actions and instead implicate the Petitioner in a situation in which the

Petitioner was not even involved.

       Accordingly, in light of the foregoing analysis, the Court is unable to find that it is

"reasonably well satisfied" by the truthfulness of Mr. Williams recantation. Thus,the Court must

hold that the Petitioner is not entitled to relief on his petition for a writ of error coram nobis, and

the Petitioner's request is hereby denied.

Entered this (:)     day ofFebruary, 2018.


                                                                      Steve R. Dozier, Judge
                                                                      Criminal Court, Division I

cc:    Honorable Gregory Smith,
       Attorney for the Petitioner;
       Honorable J. Wesley King,
       Assistant District Attorney General.


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                                       NOTICE OF APPEAL
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         `State of Tennessee
Notice

         Notice is given that   Frederick E. Braxton
                                F
                                [List name(s)of all appealing party(ies) on separate
                                sheet if necessary]

appeals the final judgment(s) of the   Criminal                       Court of    Davidson
                                       [List the circuit, criminal,               [List the County]
                                       chancery or juvenile court]

County filed on 02/0612018 to the            Court of Criminal Appeals
               [List the date(s) the           [Name the Court of Appeals (civil), Court of
                final judgment(s)              Criminal Appeals (criminal), or Supreme Court
                was filed in the               (Workers' Compensation)]
                trial court clerk's
                office]

Additional Information

         Type of Case [Check the most appropriate item)

                 El    Civil                                  Habeas Corpus
                       Criminal                               Juvenile
                       Post Conviction                        Dependent and Neglect
                       Workers's Compensation                 Other (Specifiy: Patti°n for Writ of C°rarn Nth'1)
                       Death Penalty
                       Parental Termination

      Trial Court Number               2007-A-732


      Trial Court Judge                Steve R. Dozier


      Civil Appeal Cost Bond [Check the most appropriate item]

                       Filed in trial court with copy attached
                       Indigent with copy of indigency order or affidavit attached
                       Cash bond filed in trial court with copy attached




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       Criminal Appeal Appearance Bond [Check the most appropriate item]

                            Order appointing counsel with copy attached
                            Appearance bond with copy attached
                            Incarcerated pending appeal

       TDOC Number ]Appellant is an inmate] 332561

List of Parties

       Appellant: Frederick E. Braxton                                     At trial0Plaintiff°Defendant
       Party's Address: Wldlev Ae Conectionre Facility, 1440 Onion Sprinos None, P O. Dos 679, Weteville, TN 36075
       Party's Telephone: (731) 254-9400
       Attorney's Name:          Gregory D. Smith                                                               BPR#: 013420
       Attorney's Address: 331 Franklin Street, Suite 1, Clarksville, TN 37040                                 Phone: (931)547-1299

                     * Attach an additional sheetfor each additional Appellant *

                                                             Appellee(s)
       Appellee: state of Tenne8see                                  At trial:OPlaintiff°Defendant
       Appellee's Address: [Myles= County CA.222 Second Avenue, North, Suite 500, Nashvele, TN 37201-1649
       Attorney's Name:      Glenn R. Funk                                                            BPR#: 011492
       Attorney's Address:             00.000n County A,Zit Setan0 Avenue, Nv0h. 5u0 500,Nuh,0 ,IN31101.76/9   ph6ne:   (615)662-5500

                      * Attach an additional sheetfor each additional Appellee *


                                          CERTIFICATE OF SERVICE

       1, Gregory D. Smith                              , certify that I have forwarded a true and exact copy of

this Notice of Appeal by First Class, United States Mail, postage prepaid, to all parties and/or

their attorneys in this case in accordance with Rule 20 of the Tennessee Rules of Appellate

Procedure on this the 7141 day of                      M P.C                            ,20,_5
                                                                                           -
                                                                                           [Signature of appellant or attorney
                                                                                           for appellant]


[Revised: 5-22-09]




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                IN THE CRIMINAL COURT FOR DAVIDSON COUNTY,TENNESSEE



    FREDERICK E. BRAXTON

    VS.                                                    NO. 2007-A-732

    STATE OF TENNESSEE

                           CERTIFICATE OF APPELLATE RECORD

           Criminal Court Clerk of Davidson County, Tennessee, do hereby certify that the following

    items herewith transmitted to the Court of Appeals are originals or true and correct copies of all of

    the designated papers on file in my office in the captioned case.

                   1. Technical record attached to this record and consisting of400) pages contained

                      in(1)volume(s).

                   2. (1)volume(s) oftranscript authenticated by the Trial Judge or automatically

                      authenticated under T.R.A.P. Rule 24(f).

                  3. Exhibits filed in my office and authenticated by the Trial Judge or as provided

                      by T.R.A.P. Rule 24(f) and described as follows:

                      Petition for Writ of Error Coram Nobis (1-5-18)

                      Exhibit 1: Copy ofPetition for Writ ofError Coram Nobis




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